      Case 4:23-cv-00841-ALM                  Document 1-2           Filed 09/21/23          Page 1 of 126 PageID #: 10




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 26253226
Notice of Service of Process                                                                            Date Processed: 01/23/2023

Primary Contact:           Legal Department
                           American Family Mutual Insurance
                           6000 American Pkwy
                           Madison, WI 53783-0001

Electronic copy provided to:                   Halley Walton
                                               Lauren Johnson (MIC)
                                               Shauna Pike

Entity:                                       Midvale Indemnity Company
                                              Entity ID Number 2031490
Entity Served:                                Midvale Indemnity Company
Title of Action:                              International Institute Of Aesthetic Arts & Beauty, LLC vs. Midvale Indemnity
                                              Company
Matter Name/ID:                               International Institute Of Aesthetic Arts & Beauty, LLC vs. Midvale Indemnity
                                              Company (13512064)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Collin County Court, TX
Case/Reference No:                            006-0090-2023
Jurisdiction Served:                          Texas
Date Served on CSC:                           01/23/2023
Answer or Appearance Due:                     10:00 A.M. Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           The Cedrick D. Forrest Law Firm
                                              832-945-1900

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




           Exhibit B
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                                                                                 Page 2 of 126 PageID #:  11          5ery
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     THE STATE OF TEXAS
     COUNTY OF COLLIN
                                                 CITATION
                                               006-00090-2023
                                                                                     ~
     TO:    Midvale Indemnity Company
            Registered Agent for Sersice Listed With The
            Texas Dept of Insurance Corporation Service Company
            211 E 7th St Ste 620
            Austin TX 78701-3218

     NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or
     your attorney does_not file a written answer with tlie clerk who issued this citation by 10:00 a.m.
     on the Monday next following the expiration of tweiity (20) days after you were served this
     citation and petition, a default judgment may be taken against you. In addition to filing a written
     answer with the clerk, you may be required to make initial disclosures to the other parties of this
     suit. These disclosures generally liiust be made no later than 30 days after you file your answer
     with the clerk. Find out more at TexasLawHelp.org."

     GREETINGS:
          You are commanded to appear by filing a written aiiswer to the PLAINTIFF'S
          ORIGINAL PETITION on or before 10:00 a:m. of the Monday next after the expiration
          of twenty (20) days after the date of service hereof, before the Hoiiorable Jay Beiider in
          the Cotmty Court at Law 6, of Collin County at the Courthouse in McKinney, Texas.

     Said PLAINTIFF'S ORIGINAL PETITION was filed on this the 12th day of January, 2023.
     A copy of said documeiit accompanies this citation.

     REQUESTED BY:           Cedrick Forrest
                             The Cedrick D Forrest Law Finn
                             100 Glenborough Dr Suite 422
                             Houston TX 77060

     The file number of said suit beiiig: 006-00090-2023

     INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY, LLC V.
     MIDVALE INDEMNITY COMPANY GALLAGIIER BASSETT SERVICES, INC.

     GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Collin County,
     McKinney, Texas, on this the 19th day of Jaiivary, 2023.


                                                ATTEST: STACEY KEMP, COUNTY CLERK
                                                Co11in County, Texas
                                                2100 Bloomdale Road, Suite 12165
                                                McKinney, Texas 75071
                                                972-548-6423, METRO 972-424-1460 EXT. 6423
                                                                    Signed: 1/19/2023 2:30:45 PM



                                                Issued By:           ~~ L~ j                       ,Deputy
                                                                   Danyelle Turiier




 Exhibit B
Case 4:23-cv-00841-ALM             Document 1-2           Filed 09/21/23                                 tlectronically
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     THE STATE OF TEXAS
     COUNTY OF COLLIN
                                             Officer's IZeturn
                                       STACEY KEMP, COUNTY CLERK

                                                    -CITATION-
                                                   006-00090-2023
          INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY, LLC V. MIDVALE
                 INDEMNITY COMPANY GALLAGHER BASSETT SERVICES, INC.


     Came to hand on the _              day of                          , 20_,                  o'clock
     _.m., and executed in                                     County, Texas, by delivering to within
     Respondent, to Wit:
     Name:
     At              o' clock             m., on                           day of
     20
     Address:

     Each in person, a true copy of this citation with a true and correct copy of the petition
     attached thereto having first endorsed on such copy of said citation the date of delivery.

     The distance actually traveled by me in serving such process was
     miles, and my fees are as follows:

             For Serving this citation.........................................$
             ForMileage........... . ..... . .. .......... .................. ..... ..$
             TOTAL FEES ....................................................$

     To certify which witness my hand officially
     Sheriff
     Of                                                                    County, Texas
     By                                                                    Deputy, Authorized Person

     Before me, the undersigned authority, personally appeared
     who on oath said:
             "I affirm that I am the person serving process in this case and that the contents of
     the foregoing are true and correct."

                                                                                                     Affiant
     Sworn to and signed before me, the undersigned authority, this                       day of
                           , 20
     Seal

                                                                             Notary Public or Other Officer




 Exhibit B
                                                                                  Electronically Filed 1/12/2023 12:38 PM
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                                                                                  Stacey Kemp County Clerk
                                                                                      Collin County, Texas
                                                                                      By: Bennetta Hughes, Deputy
                                                                                      Envelope ID: 71741188

                                                 006-00090-2023
                                         CAUSE NO.
  International Institute of                        §           IN THE COUNTY COURT
  Aesthetic Arts & Beauty, LLC                      §
  Plaintiff,                                        §
                                                    §                           OF
  V.                                                §

                                                    §
  Midvale Indemnity Company                         §
  Gallagher Bassett Services, Inc.                  §
  Defendants.                                       §           COLLIN COUNTY, TEXAS


                              PLAINTIFF'S ORIGINAL PETITION


  TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff, International Institute of Aesthetic Arts & Beauty, LLC.,

  hereinafter referred to by name or as "Plaintiff," and files this Original Petition against defendant

  Midvale Indemnity Company hereinafter referred by name or as "Defendant," and for cause of

  action would respectfully show unto the Court as follows:

                                             I.
                                  DISCOVERY CONTROL PLAN

  1.     Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the TExAs

  RULES OF CIVIL PROCEDURE.

                                                II.
                                              PARTIES

  2.     Plaintiff is an individual residing in Collin County County, Texas.

  3.     Defendant Gallagher Bassett Service, Inc. is a corporation organized under the laws of the

  State of Texas and may be served process through its registered agent, CT Corporation System,

  1999 Bryan St., Suite 900, Dallas, TX 75201.




  PLAINTIFF'S ORIGiNAL PETITONT


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  4.     Defendant, Midvale Indemnity Company is engaged in the business of insurance in the

  State of Texas. Midvale Indemnity Company may be served through its registered agent for service

  listed with the Texas Department of Insurance: Corporation Service Company 211 E 7th St Ste

  620 Austin, TX 78701-3218. Issuance of citation is hereby reguested.

                                                IV.
                                           JURISDICTION

  5.     This Court has subject matter jurisdiction of this cause of action because it involves an

  amount in controversy within the jurisdictional limits of this Court.

  6.     This case is not removable to federal court because no federal interest exists. See 28 U.S.C.

  § 1447(c). Consequently, removal would have no basis in law or fact, and an improper removal

  would subject Defendants to an award of costs, expenses, and fees, including but limited to,

  attorneys' fees under 28 U.S.C. § 1447 (c).

  7.     This Court has personal jurisdiction over defendant Midvale Indemnity Company because

  it engages in the business of insurance in the State of Texas and Plaintiff's causes of action arise

  out of and is related to Defendant's business activities in the State of Texas. This Court otherwise

  has personal jurisdiction over Defendant Midvale Indemnity Company because it conducts

  substantial amounts of business in Texas, has purposefully availed itself of the rights, benefits, and

  obligations of conducting business in Texas, have continuous, systematic contacts with Texas, and

  are otherwise at home in Texas.

  8.     In accordance with Rule 47 of the Texas Rules of Civil Procedure, Pursuant to Rule 47

  CPRC, Plaintiff seeks monetary relief of $250,000 or less, excluding interest, statutory or punitive

  damages and penalties, and attorney's fees and costs.

                                                  V.
                                                VENUE



  PLf1INTIFF'S ORIGINAL PETITOT                                                                      2


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  9.     Venue is proper in Collin County County because all or a substantial part of the events

  giving rise to the lawsuit occurred in Collin County County, and the policyholder instituting the

  suit resided in Collin CountyCounty, Texas at the time the cause of action accrued. TEx. CIV.

  PRAC. & REIvI. CODE § 15.002(a)(1); TEX. CIV. PRAC. & REM. CODE § 15.032.

                                         VI.
                           AGENCY AND RESPONDEAT SUPERIOR

  10.    Whenever in this Petition it is alleged that Defendants did any act or thing, it is meant that

  Defendants or their agents, officers, servants, employees, or representatives did such a thing. It

  was also done with full authorization or ratification of the Defendant or done in the normal routine,

  course and scope of the agency or employment of the Defendant or its agents, officers, servants,

  employees, or representatives.

                                            VII.
                                   CONDITIONS PRECEDENT

  11.    All conditions precedent to recovery.have been performed, waived, or have occurred.

                                            VIII.
                                    FACTUAL BACKGROUND

  12.    Plaintiff, International Institute of Aesthetic Arts & Beauty, LLC., is the owner of a

  Midvale Indemnity Company Policy number BPP1092982, issued by Defendant, Midvale

  Indemnity Company (the "Policy"). ExhibitA

  13.    Plaintiff, International Institute of Aesthetic Arts & Beauty, LLC. owns the insured

  business personal property, which is specifically located at 1022 South Greenville Avenue, Allen,

  TX 75002 (the "Properry")

  14.    Midvale Indemnity Company, or its agent(s), sold the Policy, insuring and covering the

  Property against damages from theft to Plaintiff.



  PLAINTIFF'S ORIGINAL PETITON                                                                     3


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  15.    On or about October 22, 2021, Plaintiff experienced a theft resulting in loss of covered

  business personal property which was promptly reported to police authorities.

  16.    Plaintiff timely submitted a claim to Midvale Indemnity Company. Midvale Indemnity

  Company assigned claim number 005097-016384-RC-01 to Plaintiff's claim. Midvale Indemnity

  Company assigned Gallagher Bassett Claims Services, Inc. to adjust the claim. However, Midvale

  Indemnity Company, through its agent Gallagher Bassett Claims Services, Inc. has refused to

  cover the loss.

  17.    To date, Defendants have improperly denied the claim by applying erroneous interpretation

  of policy provisions solely to deny Plaintiff coverage under the Policy. Specifically, Defendants

  stated in its most recent July 21, 2022 reservation of rights letter denying coverage that Plaintiff's

  claims were denied because the following provisions of the Policy excluded coverage: Exhibit B

            SECTION I — PROPERTY
            A. Couerage
            Wa wiii pay ₹or direct physical loss of or damage to Covered Pnoperry at the premises desced   dt~ in the Declaratians
            cau"secl t3y or"tesuit3ng froni any Covered Catrse of Loss.
            4. Limitations
            (3} Property that Is rnissing, aari?ere the oniy evidence o₹ the foss or damage ts a shortage dsclosed on taking
            inventory, or other instances where there is no physicai e~~idence to show ~atsat happened tp.the property. Thla
            iimita₹ian does not appiy to the Opt'sor•.ai Coverage tor Money and 5ecurities.

            SECTION Ili — COMMC)N POI.iCY CL`tNDITiONB (APPLICASLE TO SECTION I-- PROPEd:tTY
            ANd SECTION il — LIASILITY)
            C. Concealment, Misrepresentation Or Fraud
            This policy is vold in any case o₹ ₹raud by you as it relates to this poiioyrat anytime. tt is aiso void if you or any other
            insured, at any time, intentionaily conceais or misrepresents a matenai fact conceming:
            1.This poiicy;
            2. The Covered Property;
            3.Your ;nterest in the CoVered Property; or
            4. A ciaim under this policy.


  18.     Despite Plaintiff filing a police report with the Allen Police Department, providing

  photographs to Defendant showing item in disarray indicating a break-in, informing Defendants

  of witnesses of the potential suspects, and emails of the building owner confirming a break-in at

  the property; Defendants continue to deny Plaintiffls insurance claim.




  PLAINTIFF'S ORIGTNEIL PETIT0NT                                                                                                           4


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  19.     Further, the adjusters Defendant Gallagher Bassett Claims Services, Inc. has assigned on

  the claim have conducted a substandard investigation and inspection of the property and prepared

  a report that failed to include all the losses that were observed or reported during the investigation.

  20.     The adjusters' unreasonable investigation led to the baseless denial of Plaintiff's claim.

  21.     Moreover, Midvale Indemnity Company through Gallagher Bassett Claims Services, Inc.

  has performed an outcome-oriented investigation of Plaintiff's claim, which resulted in a biased,

  unfair, and inequitable evaluation of Plaintiffs losses on the property.

                                    IX.
           CAUSES OF ACTION AND REQUEST FOR DECLARATORY RELIEF

  22.     Each of the foregoing paragraphs is incorporated by reference in the following:

  23.     Pursuant to Texas Civil Practice and Remedies Code section 37.004, Plaintiff requests a

  declaration of the rights of the parties with regard to the written Insurance Policy. Specifically,

  Plaintiffs request a declaration that physical evidence does exist in the form of photographs, police

  reports, and witness statement to show what happened to the property being claimed by Plaintiff

  and that the following provision of the Policy does not apply to Plaintiff's claim; SECTION I-

  PROPERTY(A)(4):

                    SECTIORI i —PROPERTY

                      A Coverage
                      We Wii pay Por direct physical loss of or damage to Covered Property a t the premises
                      described in the Deciarations caused by or resulting from any Covered Cause of Loss.

                                4. Limitations
                                     (3) Property that 9s missing> u,here the only evidence oP the loss or damage
                                    is a shortage disclosed on taking inventory, or other instances where there is
                                    no physical evidence to showwhat happened to the property. This iirr:atallon
                                    does not apply to the Optional Coverage for Money and Securities.



  24.    Further, Plaintiff seeks a declaration that PlaintifEs actions in reporting the claim has not

  voided the Policy as alleged by Defendants as there is no evidence of concealment,

  misrepresentation, or fraud:



  PLf1INTIFF'S ORIGINt1L PETITON                                                                                     5


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                     SECTION 111— COi1flMON POLICY CONDffIONS (APPLICABLE TO SECTIOtd 1—PROPERTY
                     AND SECTION II — (.IABILITY)

                          C. Concealment, Misrepresentation Or Fraud
                          This policy is void in any case ot fraud byyou as it relates to this po[icy at any time. It
                          is also void if you or any other insured, at any time, intentiona[ty conceaEs or
                          misrepresents a material fact concerning:
                                  1.This poficy;
                                  2.The Covered Property;
                                  3.Your interest in the Covered Property; or
                                  A. A claim under this policy.



  A.     BREACH OF CONTRACT

  25.    At the time of the loss, Plaintiff had a valid, enforceable insurance contract in place, issued

  by Defendant. Plaintiff was the insured of the contract. Plaintiff fully performed its contractual

  obligations as required by the insurance contract, and at all times complied fully with all material

  provisions of the Policy.

  26.    According to the Policy that Plaintiff purchased, Defendant Midvale Indemnity Company

  had the duty to investigate and pay Plaintiff's policy benefits for claims made for covered damages,

  including additional benefits under the Policy, resulting from the damages. As a result of these

  damages, which result from covered perils under the Policy, the Plaintiff's home has been

  damaged.

  27.    Defendant Midvale Indemnity Company's failure to properly investigate, and refusal, as

  described above, to pay the adequate compensation as it is obligated to do under the terms of the

  Policy in question and under the laws of the State of Texas, constitutes a material breach of

  Defendant Midvale Indemnity Company's contract with Plaintiff. As a result of this breach of

  contract, Plaintiff has suffered the damages that are described in this Petition, the producing cause

  of which is Defendant's actions.

  B.     PROMPT PAYMENT OF CLAIMS; VIOLATIONS OF TEXAS INSURANCE

  CODE § 542, ET. SEQ




  PLAINTIFF'S ORIGINAL PETIT0N'                                                                                             6


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 28.     The failure of Midvale Indemnity Company to pay for the losses and/or follow the statutory

 time guidelines for accepting or denying coverage constitutes a violation of 542.051 et seq. of the

 Texas Insurance Code.

 29.     All of the above-described acts, omissions, and failures of Defendant are a producing cause

 of Plaintiff's damages that are described in this Petition. Defendant Midvale Indemnity Company

 is therefore liable under Chapter 542 for penalty interest at the rate set forth in the statute, and

 attorney's fees taxed as costs of this suit.

 30.     Additionally, if it is determined that Defendant Midvale Indemnity Company owes

 Plaintiff any additional money on Plaintiff's claim, the Defendant has automatically violated

 Chapter 542 in this case.

 C.   UNFAIR INSURANCE PRACTICES; VIOLATION OF TEXAS INSURANCE
 CODE § 541, ET. SEQ.

 31.     As an insurer, Defendant Midvale Indemnity Company owes statutory duties to Plaintiff

 as its insured. Specifically, the Texas Insurance Code prohibits Defendant Midvale Indemnity

 Company from engaging in any unfair or deceptive act or practice in the business of insurance.

 32.     By its acts, omissions, failures, and conduct, Defendant Midvale Indemnity Company has

 engaged in unfair and deceptive acts or practices in the business of insurance in violation of 541

 of the Texas Insurance Code. Such violations include, without limitation, all conduct described in

 this Petition, plus Defendant's unreasonable delays and under-scoping in the investigation,

 adjustment, and resolution of Plaintiff s claim, plus Defendant's failure to pay for the proper repair

 of the Plaintiff's home on which liability had become reasonably clear. They further include

 Defendant's failure to give Plaintiff the benefit of the doubt. Specifically:

         a.      Defendant violated § 541.051 of the Texas Insurance Code by:




 PLAINTiFF'S ORIGINAL PETITON                                                                       7


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              i.      Making statements misrepresenting the terms and/or benefits of the policy.

       b.     Defendant violated § 541.060 by:

              i.      Misrepreseriting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;

              ii.     failing to attempt in good faith to effectuate a prompt, fair, and equitable

                      settlement of a claim with respect to which the insurer's liability has become

                      reasonably clear;

              iii.    failing to promptly provide to Plaintiff a reasonable explanation of the basis

                      in the policy, in relation to the facts or applicable law, for the insurer's

                      denial of a claim or offer of a compromise settlement of a claim;

              iv.     failing within a reasonable time to affirm or deny coverage of a claim to

                      Plaintiff of submit a reservation of rights to Plaintiff; and

              V.      refusing to pay the claim without conducting a reasonable investigation with

                      respect to the claim;

       C.     Defendant violated § 541.061 by:

              i.      making an untrue statement of material fact;

               ii.    failing to state a material fact necessary to make other statements made not

                      misleading considering the circumstances under which the statements were

                      made;

               iii.   making a statement in a manner that would mislead a reasonably prudent

                      person to a false conclusion of a material fact;

               iv.    making a material misstatement of law; and

               V.     failing to disclose a matter required by law to be disclosed.



 PLAINTIFF'S ORIGINAL PETITOI~T                                                                  8


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 33.     Defendant's violations of Chapter 541 of the Texas Insurance Code enumerated above

 caused damages to Plaintiff in at least the amount of the Policy benefits wrongfully withheld.

 34.     Moreover, Defendant Gallagher Bassett Claims Services, Inc. is liable for damages under

 §541.060 Tex. Ins. Code.

                                               X.
                                         ATTORNEYS' FEES

 35.     Plaintiff engaged the undersigned attorney(s) to prosecute this lawsuit against Defendant

 and Plaintiff agreed to pay reasonable attorneys' fees and expenses through trial and any appeal.

 36.     Plaintiff is entitled to costs and reasonable and necessary attorney's fees pursuant to Texas

 Civil Practices and Remedies Code §37.009.

 37.     Additionally, Plaintiff is entitled to reasonable and necessary attorney's fees incurred in

 prosecuting its cause of action through trial and any appeal pursuant to §§ 541.152 and 542.060

 Tex. Ins. Code.

                                                  X.
                                                PRAYER

         WHEREFORE, PREMISES CONSIDERED, International Institute of Aesthetic Arts &

 Beauty, LLC. prays that Defendants, Midvale Indemnity Company and Gallagher Bassett Claims

 Services, Inc. be cited to appear and answer herein, and that upon trial hereof, said Plaintiff have

 and recover such sums as would reasonably and justly compensate Plaintiff in accordance with the

 rules of law and procedure, as to economic damages, actual damages, consequential damages, and

 statutory penalty.. interest. In addition, Plaintiff requests the award of attorneys' fees for the

 prosecution of this case, the trial, and any appeal of this case, for all costs of court, for prejudgment

 and post judgment interest, at the highest rate allowed by law, and for any other and further relief,

 at law or in equity, to which Plaintiff may show itself to be justly entitled.



 PLAINTIFF'S ORIGINAL PETITON                                                                         9


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                                                  Respectfully Submitted;

                                                  THE CEDRICK D. FORREST LAW FIRM



                                            By:         .
                                                  Cedrick D. Forrest
                                                  Texas Bar No.: 24100188
                                                  service@cdforrestlaw.com
                                                  100 Glenborough Dr., Suite 422
                                                  Houston, Texas 77060
                                                  Phone: (832) 945-1900
                                                  Facsimile: (713) 583-1202
                                                  ATTORNEYS FOR PLAINTIFF




 PLAINTIFF'S ORICINAL PETITO-NT                                                         10


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      ,5~Pm4..       i   Ht1YiBeSIEw                                   23
                                                                                   Progressive Advantage Business Program
PO Box 5316                                                                        Underwritten by: Midvale Indemnity Company
Binghamton, NY 13902                                                                               A Wisconsin Stock Company
                                                                                                              Tel: 844-306-4926
ASHLEY BONDS'                                                                     Policy Number:          BPP1092982
INTERNATIONAL INSTITUTE OF AESTHETIC ARTS &                                                Date:          07/30/2021
BEAUTY LLC
1022 SOUTH GREENVILLE AVENUE
ALLEN, TX 75002




Dear ASHLEY BONDS,

Progressive Advantage Business Program is pleased to be of service to you. Our objective is to provide you with
comprehensive and professional products for all of your insurance needs.

Please find the enclosed policy documents.

If you have any questions, please contact your agent or our Service Center at 844-306-4926.

Sincerely,


Customer Care Department




Policies are underwritten and issued by member companies and affiliates of Homesite Group Incorporated. Policies are underwritten by
Midvale Indemnity Company (California Certificate of Authority Number 2224-4).

BID COVL 0001 12 17



         Exhibit B
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PROOREfff          J/ H   t                              Progressive Advantage Business Program
              ~~       ~~ ~                              Underwritten by: Midvale Indemnity Company
                                                         A Wisconsin Stock Company
Send policy correspondence to:
PO Box 5316
Binghamton, NY 13902
844-306-4926
                                                                                    Information as of: 07/01 /2021
                                      ::~          j;         ..;•f;,   r~


This document and your policy contract define our insuring agreement. In return for payment of premium and
subject to all the terms of this policy, we agree to provide you insurance as stated in the policy.



Policy Information
Named Insured:       INTERNATIONAL              Policy Number:          BPP1092982
                     INSTITUTE OF
                     AESTHETIC ARTS &
                     BEAUTY LLC
E-mail Address:                                 Policy Type:            Business Owner's Policy (BOP)
glammeupgiro@aol.com                            Policy Period:          07/01/2021 to 07/01/2022 12:01AM
Phone:           (469) 615-8993                                         Standard Time at Primary Location


Location Information
Location #1 (primary location)
Address:                1022. SOUTH GREENVILLE AVENUE
                        ALLEN, TX 75002

Coverage Information (applies to all buildings at Location #1 )
Business Personal Property Limit:                   $50,000
Deductible (applies per location, per occurrence):           $500
Windstorm or Hail Percentage Deductible (applies
per location, per occurrence):                               Not Applicable



P011cy Coverage (limits & deductibles shown are non-stackable across locations)
                                                                        Limit of Insurance      Deductible
Liability Coverage
Business Liability (per-occurrence limit/annual aggregate limit):       $1,000,000/$2,000,000   None
Damage to Premises Rented to You                                        $50,000                 None
Medical Expenses (per person)                                           $5,000                  None

Property Coverage
Business Income & Extra Expense                                         12 months actual loss   None
                                                                        sustained
Personal Property OfF-Premises                                          $10,000                 $500
Business Income from Dependent Properties                               $5,000                  None
Business Income - Payroll Expense                                       60 days                 None
Business Income - Extended Period of Indemnity                          60 days                 None

Other Coverage

 BID BP 1001 07 17                                                                              Page 1 of 3
   Exhibit B
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Accounts Receivable (on-premises/off-premises)                 $10,000/$5,000        $500
Valuable Papers & Records (on-premises/off-premises)           $10,000/$5,000        $500 .
Electronic Data                                                $10,000               $500
Interruption of Computer Operations                            $10,000               $500
Fire Department Service Charge                                 $10,000               None
Forgery or Alteration                                          $5,000                $500
Employee Dishonesty                                            $5,000                $500
Equipment Breakdown Coverage                                   See policy form       See policy form
Cyber Suite Without Business Income                            See policy form       See policy form


 Policv Premium

Premium Taxes, Surcharges and Fees (note: included in Policy Premium above)
 Cyber Claim Support and Risk Management Fee                                        $7.00

Discounts Applied to This Policy:
 Loss-Free
 Responsible Shopper


Policy Forms and Endorsements

 BP_00_03_07_13 BUSINESSOWNERS COVERAGE FORM
 BP_01_18_11_14 TEXAS CHANGES
 BP_02_04_01_06 TEXAS CHANGES - AMENDMENT OF CANCELLATION PROVISIONS OR COVERAGE
 CHANGE
 BP_04_17_0110 EMPLOYMENT-RELATED PRACTICES EXCLUSION
 BP_04_48_07__13 ADDITIONAL INSURED - DESIGNATED PERSON OR ORGANIZATION
 BP_04_83_01_10 REMOVAL OF INSURANCE-TO-VALUE-PROVISION
 BP_05_01_07_02 CALCULATION OF PREMIUM
 BP_05_15_01_15 DISCLOSURE PURSUANT TO TERRORISM RISK INSURANCE ACT
 BP_05_17_01_06 EXCLUSION - SILICA OR SILICA-RELATED DUST
 BP_05_23_01_15 CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
 BP_05_77_01_06 FUNGI OR BACTERIA EXCLUSION (LIABILITY)
 BP_12_03_01_10 LOSS PAYABLE CLAUSES
 BP_15_04_05_14 EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL
 INFORMATION AND DATA-RELATED LIABILITY - WITH LIMITED BODILY INJURY EXCEPTION
 BP_77_01_07_16 EQUIPMENT BREAKDOWN COVERAGE
 BP_77_93_07_16 TEXAS CHANGES - EQUIPMENT BREAKDOWN
 BP_IN_01_07_13 BUSINESSOWNERS COVERAGE FORM INDEX
 CYB_00_01_06_19 CYBER COVERAGE INSURANCE
 CYB_TX_77_00_06_19 TEXAS CHANGES
 IL_N_001_09_03 FRAUD STATEMENT
 IL_N_102_09_19 TEXAS FLOOD INSURANCE DISCLOSURE NOTICE
 IL_N_178_03_13 TEXAS PERIOD TO FILE A CLAIM OR BRING LEGAL ACTION AGAINST US NOTICE -
 WINDSTORM OR HAIL - CATASTROPHE AREA




                                                                                     Page 2 of 3
   Exhibit B
 BID BP 1001 07 17
  Case 4:23-cv-00841-ALM             Document 1-2           Filed 09/21/23     Page 17 of 126 PageID #:
                                                       26




In witness whereof, we have caused this policy to be signed by our authorized officers.


Home OfPice
MIDVALE INDEMNITY COMPANY
6000 American Parkway
Madison, WI 53783




 a, ,I, /-~O- a '-
Andrew A. McElwee, Jr.                             David Holman
President                                          Secretary




 BID BP 1001 07 17                                                                         Page 3 of 3
   Exhibit B
 Case 4:23-cv-00841-ALM Document 1-2 Filed 09/21/23 Page 18 of 126 PageID #:
                                    27
A166.~
      RO       CERTIFICATE OF LIABILITY          INSURANCE DA07/30/2021~)
 THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
 CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES BELOW.
 THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
 REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
 IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed. If
 SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on this
 certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
PRODUCER                                                                   CONTACT
                                                                           NAME:         PCO ressive Advanta e Business Pro ram
 Progressive Advantage Business Program                                    PHONE                                           FAX
 PO Box 5316                                                               (A/C, No; Ext): 844-306-4926                    (A/C, No):
 Binghamton, NY 13902                                                      E-MAIL
                                                                           ADDRESS:      commercialservice@homesite.com
                                                                                           INSURER(S) AFFORDING"COVERAGE                           NAIC #
                                                                           INSURERA:     Midvale Irldemrllty Company                          27138
INSURED                                                                    INSURER B :
 INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY LLC                    INSURER C:
 1022 SOUTH GREENVILLE AVENUE                                              INSURER D:
 ALLEN TX 75002                                                            INSURER E:
                                                                           INSURER F :
COVERAGES                                        CERTIFICATE NUMBER: 252569202843566                              REVISION NUMBER:
 THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE
 POLICY PERIOD INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH
 RESPECT TO WHICH THIS CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN
 IS SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID
 CLAIMS.
INSR                                             ADDL SUBR                         POLICY EFF POLICY EXP
 LTR            TYpE OF INSURANCE                INSR WVD      pOLICY NUMBER       MMIDDYYY                                      LIMITS
                                                                                        IY    MM/DD/YYYY
       COMMERCIAL GENERAL LIABILITY                                                                        EACH OCCURRENCE               $1,000,000

 /~             CLAIMS-MADE ❑X          OCCUR                                                          DAMAGE TO RENTED
                                                  N    N     BPP1092982          07/01/2021 07/01/2022 PREMISES Ea occurrence            $50,000

                                                                                                           MED EXP (Any one person)      $5,000

                                                                                                           PERSONAL & ADV INJURY
                                                                                                                                         $1,000,000
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                  GENERAL AGGREGATE             $2,000,000
                                   ❑      LOC                                                              PRODUCTS - COMPlOP AGG        $2,000,000
        X
             POLICY 1- 1    JECT
                            PRO
             OTHER:

       AUTOMOBILE LIABILITY                                                                                COMBINED SINGLE LIMIT
                                                                                                           Ea accident
            ANY AUTO                                                                                       BODILY INJURY (Per person)
            OWNED               SCHEDULED                                                                  BODILY INJURY
            AUTOS ONLY          AUTOS                                                                       Per accident)
            HIRED               NON-OWNED                                                                  PROPERTY DAMAGE
            AUTOS ONLY          AUTOS ONLY                                                                 (Per accident)



            UMBRELLA LIAB          OCCUR                                                                   EACH OCCURRENCE

            EXCESS LIAB            CLAIMS-MADE                                                             AGGREGATE
             DED           RETENTION $
       WORKERS COMPENSATION                                                                                    PER               OTH-
       AND EMPLOYERS' LIABILITY          YM                                                                    STATUTE            ER
       ANY PROPRIETORIPARTNER/EXECU
       -TIVE OFFICER/MEMBER EXCLUDED7            N/A                                                       E.L. EACH ACCIDENT

       (Mandatory in NH)                                                                                   E.L. DISEASE - EA
                                                                                                           EMPLOYEE
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                     E.L. DISEASE - POLICY LIMIT

       PROFESSIONAL LIABILITY                                                                              OCCURRENCE
                                                                                                           AGGREGATE
DESCRIPTION OF OPERATIONS I LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space Is required)

Cosmetology School


 CERTIFICATE HOLDER                                                       CANCELLATION
 INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY LLC                   SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED
                                                                          BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                          ACCORDANCE WITH THE POLICY PROVISIONS.
                                                                          AUTHORIZED REPRESENTATIVE




                                                                                                                                                  rese



      Exhibit B
ACORD 25 (2016/03)                                           The ACORD name and logo are registered marks of ACORD
  Case 4:23-cv-00841-ALM                               Document 1-2             Filed 09/21/23              Page 19 of 126 PageID #:
                                                                           28
        ~®                     CERTIFICATE OF LIABILITY INSURANCE                                                                          DA07/30/202N1 Y)
 THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
 CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES BELOW.
 THIS CERTIFICATE            OF    INSURANCE      DOES NOT CONSTITUTE A            CONTRACT      BETWEEN    THE   ISSUING      INSURER(S), AUTHORIZED
 REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
 IMPORTANT: If the certifcate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed. If
 SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on this
 certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
PRODUCER                                                                   CONTACT
                                                                           NAME:          Pr0   ressive Advanta e Business Pro ram
 Progressive Advantage Business Program                                    PHONE                                            FAX
 PO Box 5316                                                               (A/C, Na, Exe): 844-306-4926                     (A/C, No):
 Binghamton, NY 13902                                                      E-MAIL
                                                                           ADDRESS:       cotilmercialservice@homesite.com
                                                                                            INSURER(S) AFFORDING COVERAGE                          NAIC #
                                                                          INSURERA:       Midvale Indemnity Company                           27138
INSURED                                                                   INSURER B :
 INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY LLC                   INSURER C:
 1022 SOUTH GREENVILLE AVENUE                                             INSURER D:
 ALLEN TX 75002                                                           INSURER E:
                                                                          INSURER F :
COVERAGES                         CERTIFICATE NUMBER: 2525692039300                     REVISION NUMBER:
 THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE
 POLICY PERIOD INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH
 RESPECT TO WHICH THIS CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN
 IS SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID
 CLAIMS.
INSR                                             ADDL SUBR                         POLICY EFF POLICY EXP
 LTR            TypE OF INSURANCE                INSR WVD      pOLICY NUMBER       MM/DD/YYYY MM/DD/YYYY                          LIMITS
       COMMERCIAL GENERAL LIABILITY                                                                        EACH OCCURRENCE               $1,000,000
                CLAIMS-MADE       X     OCCUR                                                              DAMAGE TO RENTED
 A                                                N    N     BPP1092982         07/01/2021 07/01/2022      PREMISES Eaoccurrence         $50,000
                                                                                                           MED EXP (Any one person)      $5,000

                                                                                                           PERSONAL & ADV INJURY
                                                                                                                                         $1,000,000
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                  GENERAL AGGREGATE             $2,000,000
                            PRO-                                                                           PRODUCTS - COMPIOP AGG
        X    POLICY              ❑         LOC                                                                                           $2,000,000
                            JECT
             OTHER:

       AUTOMOBILE LIABILITY                                                                                COMBINED SINGLE LIMIT
                                                                                                           Ea accident
            ANY AUTO                                                                                       BODILY INJURY (Per person)
            OWNED                 SCHEDULED                                                                BODILYINJURY
            AUTOS ONLY            AUTOS                                                                     Per accidenl
            HIRED                 NON-OWNED                                                                PROPERTY DAMAGE
            AUTOS ONLY            AUTOS ONLY                                                               (Per accident)



            UMBRELLA LIAB          OCCUR                                                                   EACH OCCURRENCE

            EXCESS LIAB            CLAIMS-MADE                                                             AGGREGATE
             DED           RETENTION $
       WORKERS COMPENSATION                                                                                    PER                OTH-
       AND EMPLOYERS' LIABILITY           Y/N                                                                  STATUTE     I    I ER
       ANY PROPRIETOR/PARTNER/EXECU
       -TIVE OFFICER/MEMBER EXCLUDED?            N/A                                                       E.L. EACH ACCIDENT

       (Mandatory in NH)                                                                                   E.L. DISEASE - EA
                                                                                                           EMPLOYEE
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                     E.L. DISEASE - POLICY LIMIT

       PROFESSIONAL LIABILITY                                                                              OCCURRENCE
                                                                                                           AGGREGATE
DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additlonal Remarks Schedule, may be attached if more space is required)

Cosmetology School


 CERTIFICATE HOLDER                                                       CANCELLATION
 TIME PAYMENT                                                             SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED
                                                                          BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                          ACCORDANCE WITH THE POLICY PROVISIONS. .
 1600 DISTRICT AVE #200                                                   AUTHORIZED REPRESENTATIVE
 BURLINGTON MA 01803



                                                                                     ©1                                               AII riahts reserved




     Exhibit B
ACORD 25 (2016/03)                                           The ACORD name and logo are registered marks of ACORD
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                                                                                                                               (MMIDD
AC'OR~                                                                    29
  ^®
 ~1                            CERTIFICATE OF LIABILITY INSURANCE                                                                         DA07/301202~1 Y)
 THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
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 REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
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 SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on this
 certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
PRODUCER                                                                 CONTACT
                                                                         NAME:         Pr0 ressive Advanta e Business Pro ram
 Progressive Advantage Business Program                                  PHONE                                    FAX
 PO Box 5316                                                             (A/C, No, Ext): 844-306-4926                      (A/C, No):
 Binghamton, NY 13902                                                    E-MAIL
                                                                         ADDRESS:      commercialservice@homesite.com
                                                                                          INSURER(S) AFFORDING COVERAGE                            NAIC ft
                                                                         INSURERA:     Midvale Indemnity Company                              27138
INSURED                                                                  INSURER B :
 INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY LLC                  INSURER C:
 1022 SOUTH GREENVILLE AVENUE                                            INSURER D:
 ALLEN TX 75002                                                          INSURER E:
                                                                         INSURER F :
COVERAGES                         CERTIFICATE NUMBER: 2525692010281784                  REVISION NUMBER:
 THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE
 POLICY PERIOD INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH
 RESPECT TO WHICH THIS CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN
 IS SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID
 CLAIMS.
INSR                                            ADDL SUBR                       POLICY EFF POLICY EXP
 LTR            TYPE OF INSURANCE               INSR WVD     POLICY NUMBER      MMIDDIYYYY MM/DDIYYYY                            LIMITS
       COMMERCIAL GENERAL LIABILITY                                                                        EACH OCCURRENCE               $1,000,000
                CLAIMS-MADE             OCCUR                                                        DAMAGETORENTED
 A                               X               Y    N     BPP1092982         07/01/2021 07/01/2022 pREMISES Eaoccurrence               $50,000
                                                                                                           MED EXP (Any ane person)      $5,000

                                                                                                           PERSONAL & ADV INJURY
                                                                                                                                         $1,000,000
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                  GENERAL AGGREGATE             $2,000,000

        X                         ❑       LOC                                                              PRODUCTS - COMP/OPAGG $2,000,000
                        JECT
            POLICY 1- 1 PRO
             OTHER:

       AUTOMOBILE LIABILITY                                                                                COM8INED SINGLE LIMIT
                                                                                                           Ea accident
            ANY AUTO                                                                                       BODILY INJURY (Per person)
            OWNED               SCHEDULED                                                                  BODILY INJURY
            AUTOS ONLY          AUTOS                                                                       Per accident
            HIRED               NON-OWNED                                                                  PROPERTY DAMAGE
            AUTOS ONLY          AUTOS ONLY                                                                 (Per accident)


            UMBRELLA LIAB        OCCUR                                                                     EACH OCCURRENCE
            EXCESS LIAB          CLAIMS-MADE                                                               AGGREGATE
             DED           RETENTION $
       WORKERS COMPENSATION                                                                                    PER              OTH-
       AND EMPLOYERS' LIABILITY          YM                                                                    STATUTE           ER
       ANY PROPRIETOR/PARTNER/EXECU
       -TIVE OFFICER/MEMBER EXCLUDED?           N/A                                                        E.L. EACH ACCIDENT
       (Mandatory in NH)                                                                                   E.L. DISEASE - EA
                                                                                                           EMPLOYEE
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                     E.L. DISEASE - POLICY LIMIT

       PROFESSIONAL LIABILITY                                                                              OCCURRENCE
                                                                                                           AGGREGATE
DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
 Cosmetology School


 CERTIFICATE HOLDER                                                      CANCELLATION
 VIOLA BLUE RIDGE, LP                                                    SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED
                                                                         BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                         ACCORDANCE WITH THE POLICY PROVISIONS.
 C/O TIG REAL ESTATE                                                     AUTHORIZED REPRESENTATIVE
 4350 BELTLANE DR
 ADDISON TX 75001


                                                                                  G 1asts-zuTS ACUKU cORPORATION. AII rights reserved.




     Exhibit B
ACORD 25 (2016/03)                                          The ACORD name and logo are registered marks of ACORD
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                                                                                                ILN1020919


       TEXAS FLOOD INSURANCE DISCLOSURE .NOTICE

"Flood Insurance: You may also need to consider the purchase of flood insurance. Your insurance policy does not
include coverage for damage resulting from a flood even if hurricane winds and rain caused the flood to occur.
Without separate flood insurance coverage, you may have uncovered losses caused by a flood. Please discuss
the need to purchase separate flood insurance coverage with your insurance agent or insurance company, or visit
www.floodsmart.gov."




   Exhibit B
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                                      IMPORTANT NOTICE



    To obtain information or make a complaint:




    Please call Progressive Advantage Business Program:

                                             844-306-4926




    You may also call Midvale Indemnity Company:

                                             866-908-0623




    You may call the Texas Department of Insurance to obtain information on companies, coverages,
    rights or complaints:

                                            1-800-252-3439




    You may also write the Texas Department of Insurance:

            P.O. Box 149104 Austin, TX 78714-9104 Fax: (512) 475-1771
            Web: http://www.tdi.texas.gov E-mail: ConsumerProtection(c~tdi.texas.gov




    PREMIUM OR CLAIM DISPUTES: If you have a dispute concerning your premium or about a
    claim you should contact Progressive Advantage Business Program. If the dispute is not
    resolved, you may contact the Texas Department of Insurance.

    ATTACH THIS NOTICE TO YOUR POLICY: This notice is for information only and does not
    become a part or condition of your insurance policy.




Exhibit B
    NOT-01 TX 10-13
  Case 4:23-cv-00841-ALM             Document 1-2              Filed 09/21/23     Page 23 of 126 PageID #:
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                                                                                               BUSINESSOWNERS
                                                                                                   BP 00 03 07 13

                  BUSINESSOWNERS COVERAGE FORM
Various provisions in this policy restrict coverage.                    (5) Personal property owned by you that is
Read the entire policy carefully to determine rights,                       used to maintain or service the buildings
duties and what is and is not covered.                                      or structures or the premises, including:
Throughout this Coverage Form, the words "you" and                          (a) Fire extinguishing equipment;
"your" refer to the Named Insured shown in the                              (b) Outdoor furniture;
Declarations. The words "we", "us" and "our" refer to
the company providing this insurance.                                       (c) Floor coverings; and
In Section II — Liability, the word "insured" means any                     (d) Appliances used for refrigerating,
person or organization qualifying as such under                                 ventilating, cooking, dishwashing or
Paragraph C. Who Is An Insured.                                                 laundering;
Other words and phrases that appear in quotation                        (6) If not covered by other insurance:
marks have special meaning. Refer to Paragraph H.                           (a) Additions      under     construction,
Property Definitions in Section I— Property and                                 alterations and repairs to the
Paragraph F. Liability And Medical Expenses                                     buildings or structures;
Definitions in Section II — Liability.                                      (b) Materials, equipment, supplies and
SECTION I — PROPERTY                                                            tempo,rary structures, on or within
A. Coverage                                                                     100 feet of the described premises,
                                                                                used      for    making      additions,
   We will pay for direct physical loss of or damage to                         alterations or repairs to the buildings
   Covered Property at the premises described in the                            or structures.
   Declarations caused by or resulting from any
   Covered Cause of Loss.                                             b. Business Personal Property located in or on
                                                                         the buildings or structures at the described
   1. Covered Property                                                   premises or in the open (or in a vehicle)
      Covered Property includes Buildings as                             within 100 feet of the buildings or structures
      described under Paragraph a. below, Business                       or within 100 feet of the premises described
      Personal Property as described under                               in the Declarations, whichever distance is
      Paragraph b. below, or both, depending on                          greater, including:
      whether a Limit Of Insurance is shown in the                      (1) Property you own that is used in your
      Declarations for that type of property.                                business;
      Regardless of whether coverage is shown in
      the Declarations for Buildings, Business                          (2) Property of others that is in your care,
      Personal Property, or both, there is no                               custody or control, except as otherwise
      coverage for property described under                                 provided in Loss Payment Property Loss
      Paragraph 2. Property Not Covered.                                    Condition Paragraph E.5.d.(3)(b);
       a. Buildings, meaning the buildings and                          (3) Tenant's         improvements       and
          structures at the premises described in the                       betterments.       Improvements     and
          Declarations, including:                                          betterments are fixtures, alterations,
                                                                            installations or additions:
         (1) Completed additions;
                                                                           (a) Made a part of the building or
         (2) Fixtures, including outdoor fixtures;                             structure you occupy but do not own;
         (3) Permanently installed:                                            and
             (a) Machinery; and                                            (b) You acquired or made at your
                                                                               expense but cannot legally remove;
             (b) Equipment;
                                                                        (4) Leased personal property which you
         (4) Your personal property in apartments,
                                                                            have a contractual responsibility to
              rooms or common areas furnished by
                                                                            insure, unless otherwise provided for
              you as landlord;
                                                                            under Paragraph 1.b.(2); and




   Exhibit B
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        (5) Exterior building glass, if you are a                    i. "Electronic data", except as provided under
            tenant and no Limit Of Insurance is                         Additional Coverages — Electronic Data.
            shown in the Declarations for Building                      This Paragraph i. does not apply to your
            property. The glass must be owned by                        "stock" of prepackaged software or to
            you or in your care, custody or control.                    "electronic data" which is integrated in and
   2. Property Not Covered                                              operates or controls the building's elevator,
                                                                        lighting, heating, ventilation, air conditioning
      Covered Property does not include:                                or security system; or
      a. Aircraft, automobiles, motortrucks and other                j. Animals, unless owned by others and
         vehicles     subject   to   motor    vehicle                   boarded by you, or if owned by you, only as
         registration;                                                  "stock" while inside of buildings.
      b. "Money" or "securities" except as provided              3. Covered Causes Of Loss
         in the:
                                                                    Direct physical loss unless the loss is excluded
        (1) Money    And       Securities   Optional                or limited under Section I— Property.
            Coverage; or
                                                                 4. Limitations
        (2) Employee        Dishonesty      Optional
            Coverage;                                               a. We will not pay for loss of or damage to:
      c. Contraband, or property in the course of                     (1) Steam boilers, steam pipes, steam
         illegal transportation or trade;                                 engines or steam turbines caused by or
                                                                          resulting from any condition or event
      d. Land (including land on which the property                       inside such equipment. But we will pay
         is located), water, growing crops or lawns                       for loss of or damage to such equipment
         (other than lawns which are part of a                            caused by or resulting from an explosion
         vegetated roof);                                                 of gases or fuel within the furnace of any
      e. Outdoor fences, radio or television                              fired vessel or within the flues or
         antennas (including satellite dishes) and                        passages through which the gases of
         their lead-in wiring, masts or towers, signs                     combustion pass.
         (other than signs attached to buildings),                    (2) Hot water boilers or other water heating
         trees, shrubs or plants (other than trees,                       equipment caused by or resulting from
         shrubs or plants which are part of a                             any condition or event inside such
         vegetated roof), all except as provided in                       boilers or equipment, other than an
         the:                                                             explosion.
        (1) Outdoor Property Coverage Extension;                      (3) Property that is missing, where the only
             or                                                           evidence of the loss or damage is a
         (2) Outdoor Signs Optional Coverage;                             shortage disclosed on taking inventory,
       f. Watercraft (including motors, equipment                         or other instances where there is no
          and accessories) while afloat;                                  physical evidence to show what
                                                                          happened to the property. This limitation
      g. Accounts, bills, food stamps, other                              does not apply to the Optional Coverage
         evidences of debt, accounts receivable or                        for Money and Securities.
         "valuable papers and records"; except as
         otherwise provided in this policy;                           (4) Property that has been transferred to a
                                                                          person or to a place outside the
      h. "Computer(s)" which are permanently                              described premises on the basis of
         installed or designed to be permanently                          unauthorized instructions.
         installed in any aircraft, watercraft,
         motortruck or other vehicle subject to motor                 (5) The interior of any building or structure,
         vehicle registration. This paragraph does                        or to personal property in the building or
         not apply to "computer(s)" while held as                         structure, caused by or resulting from
         "stock"; -                                                       rain, snow, sleet, ice, sand or dust,
                                                                          whether driven by wind or not, unless:
                                                                         (a) The building or structure first
                                                                              sustains damage by a Covered
                                                                              Cause of Loss to its roof or walls
                                                                              through which the rain, snow, sleet,
                                                                              ice, sand or dust enters; or




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           (b) The loss or damage is caused by or                    5. Additional Coverages
               results from thawing of snow, sleet                      a. Debris Removal
               or ice on the building or structure.
                                                                          (1) Subject to Paragraphs (2), (3) and (4),
       (6)  Lawns,  trees, shrubs or plants which are                         we will pay your expense to remove
            part of a vegetated roof, caused by or                            debris of Covered Property and other
            resulting from:                                                   debris that is on the described premises,
           (a) Dampness or dryness of atmosphere                              when such debris is caused by or
               or of soil supporting the vegetation;                          results from a Covered Cause of Loss
           (b) Changes in or extremes -of                                     that occurs during the policy period. The
               temperature;                                                   expenses will be paid only if they are
                                                                              reported to us in writing within 180 days
           (c) Disease;                                                       of the date of direct physical loss or
           (d) Frost or hail; or                                              damage.
           (e) Rain, snow, ice or sleet.                                  (2) Debris Removal does not apply to costs
                                                                              to:
     b. We will not pay for loss of or damage to the
        following types of property unless caused                            (a) Remove debris of property of yours
        by the "specified causes of loss" or building                             that is not insured under this policy,
        glass breakage:                                                           or property in your possession that is
                                                                                  not Covered Property;
       (1) Animals, and then only if they are killed
             or their destruction is made necessary.                         (b) Remove debris of property owned by
                                                                                  or leased to the landlord of the
       (2) Fragile articles such as glassware,
                                                                                  building where your described
             statuary,     marble,     chinaware      and
                                                                                  premises are located, unless you
             porcelain, if broken. This restriction does
                                                                                  have a contractual responsibility to
             not apply to:
                                                                                  insure such property and it is insured
            (a) Glass that is part of the exterior or                             under this policy;
                 interior of a building or structure;
                                                                             (c) Remove any property that is
           (b) Containers of property held for sale;                              Property Not Covered, including
               or                                                                 property addressed under the
           (c) Photographic or scientific instrument                              Outdoor        Property     Coverage
               lenses.                                                            Extension;
     c. For loss or damage by theft, the following                           (d) Remove property of others of a type
        types of property are covered only up to the                              that would not be Covered Property
        limits shown (unless a higher Limit Of                                    under this policy; •
        Insurance is shown in the Declarations):                              (e) Remove deposits of mud or earth
       (1) $2.,500 for furs, fur garments and                                     from the grounds of the described
           garments trimmed with fur.                                             premises;
       (2) $2,500 for jewelry, watches, watch                                  (f) Extract "pollutants" from land or
           movements, jewels, pearls, precious                                     water; or
           and semiprecious stones, bullion, gold,                            (g) Remove, restore or replace polluted
           silver, platinum and other precious                                    land or water.
           alloys or metals. This limit does not
           apply to jewelry and watches worth                              (3) Subject to the exceptions in Paragraph
                                                                               (4), the following provisions apply:
           $100 or less per item.
                                                                              (a) The most that we will pay for the
       (3) $2,500 for patterns, dies, inolds and
                                                                                   total of direct physical loss or
           forms.
                                                                                   damage       plus    debris   removal
                                                                                   expense is the Limit of Insurance
                                                                                   applicable to the Covered Property
                                                                                   that has sustained loss or damage.




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           (b) Subject to Paragraph (3)(a) above,                        The debris removal expense is less than
               the amount we will pay for debris                         25% of the sum of the loss payable plus
               removal expense is limited to 25% of                      the deductible. The sum of the loss
               the sum of the deductible plus the                        payable and the debris removal expense
               amount that we pay for direct                             ($49,500 + $10,000 = $59,500) is less
               physical loss or damage to the                            than the Limit of Insurance. Therefore,
               Covered Property that has sustained                       the full amount of debris removal
               loss or damage. However, if no                            expense is payable in accordance with
               Covered Property has sustained                            the terms of Paragraph (3).
               direct physical loss or damage, the                       Example 2
               most we will pay for removal of
               debris of other property (if such                          Limit of Insurance          $ 90,000
               removal is covered under this                              Amount of Deductible        $    500
               Additional Coverage) is $5,000 at                          Amount of Loss              $ 80,000
               each location.
                                                                          Amount of Loss Payable      $ 79,500
        (4) We will pay up to an additional $25,000                                            ($80,000 — $500)
            for debris removal expense, for each
            location, in any one occurrence of                            Debris Removal Expense      $ 40,000
            physical loss or damage to Covered                            Debris Removal Expense
            Property, if one or both of the following                     Payable
            circumstances apply:
                                                                                 Basic Amount         $ 10,500
           (a) The total of the actual debris removal                            Additional Amount    $ 25,000
                expense plus the amount we pay for
                direct physical loss or damage                           The basic amount payable for debris
                exceeds the Limit of Insurance on                        removal expense under the terms of
                the Covered Property that has                            Paragraph (3) is calculated as follows:
                sustained loss or damage.                                $80,000 ($79,500 + $500) x .25 =
                                                                         $20,000; capped at $10,500. The cap
           (b) The actual debris removal expense                         applies because the sum of the loss
                exceeds 25% of the sum of the                            payable ($79,500) and the basic amount
                deductible plus the amount that we                       payable for debris removal expense
                pay for direct physical loss or                          ($10,500) cannot exceed the Limit of
                damage to the Covered Property that                      Insurance ($90,000).
                has sustained loss or damage.
                                                                         The additional amount payable for
            Therefore, if Paragraphs (4)(a) and/or                       debris removal expense is provided in
            (4)(b) apply, our total payment for direct                   accordance with the terms of Paragraph
            physical loss or damage and debris                           (4), because the debris removal
            removal expense may reach but will                           expense ($40,000) exceeds 25% of the
            never exceed the Limit of Insurance on                       loss payable plus the deductible
            the Covered Property that has sustained                      ($40,000 is 50% of $80,000), and
            loss or damage, plus $25,000.                                because the sum of the loss payable
        (5) Examples                                                     and debris removal expense ($79,500 +
               Example 1                                                 $40,000 = $119,500) would exceed the
                                                                         Limit of Insurance ($90,000). The
               Limit of Insurance           $ 90,000
                                                                         additional amount of covered debris
               Amount of Deductible         $     500                    removal expense is $25,000, the
               Amount of Loss               $ 50,000                     maximum payable under Paragraph (4).
               Amount of Loss Payable . $ 49,500                         Thus, the total payable for debris
                                                                         removal expense in this example is
                                     ($50,000 — $500)                    $35,500; $4,500 of the debris removal
               Debris Removal Expense       $ 10,000                     expense is not covered.
               Debris Removal Expense
               Payable                      $ 10,000
               ($10,000 is 20% of $50,000)




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     b. Preservation Of Property                                             (b) Insect or vermin damage that is
        If it is necessary to move Covered Property                              hidden from view, unless the
        from the described premises to preserve it                               presence of such damage is known
        from loss or damage by a Covered Cause                                   to an insured prior to collapse;
        of Loss, we will pay for any direct physical                         (c) Use of defective material or methods
        loss of or damage to that property:                                      in construction, remodeling or
       (1) While it is being moved or while                                      renovation if the abrupt collapse
             temporarily stored at another location;                             occurs during the course of the
             and                                                                 construction,      remodeling      or
                                                                                 renovation.
       (2) Only if the loss or damage occurs within
             30 days after the property is first moved.                      (d) Use of defective material or methods
                                                                                 in construction, remodeling or
     c. Fire Department Service Charge                                           renovation if the abrupt collapse
        When the fire department is called to save                               occurs after the construction,
        or protect Covered Property from a                                       remodeling     or      renovation  is
        Covered Cause of Loss, we will pay up to                                 complete, but only if the collapse is
        $2,500 for service at each premises                                      caused in part by:
        described in the Declarations, unless a                                    (i) A cause of loss listed         in
        different limit is shown in the Declarations.                                  Paragraph (2)(a) or (2)(b);
        Such limit is the most we will pay
        regardless of the number of responding fire                                (ii) One or more of the "specified
        departments or fire units, and regardless of                                    causes of loss";
        the number or type of services pen`ormed.                                 (iii) Breakage of building glass;
        This Additional Coverage applies to your                                  (iv) Weight of people or personal
        liability for fire department service charges:                                 property; or
        (1) Assumed by contract or agreement prior                                 (v) Weight of rain that collects on a
            to loss; or                                                                roof.
        (2) Required by local ordinance.                                  (3) This Additional Coverage — Collapse
      d. Collapse                                                             does not apply to:
         The coverage provided under this                                    (a) A building or any part of a building
         Additional Coverage — Collapse applies                                  that is in danger of falling down or
         only to an abrupt collapse as described and                             caving in;
         limited in Paragraphs d.(1) through d.(7).                          (b) A part of a building that is standing,
        (1) For the purpose of this Additional                                   even if it has separated from another
             Coverage — Collapse, abrupt collapse                                part of the building; or
             means an abrupt falling down or caving                          (c) A building that is standing or any part
             in of a building or any part of a building                          of a building that is standing, even if
             with the result that the building or part of                        it shows evidence of cracking,
             the building cannot be occupied for its                             bulging, sagging, bending, leaning,
             intended purpose.                                                   settling, shrinkage or expansion.
        (2) We will pay for direct physical loss or                       (4) With respect to the following property:
             damage to Covered Property, caused by                           (a) Awnings;
             abrupt collapse of a building or any part
             of a building that is insured under this                        (b) Gutters and downspouts;
             policy or that contains Covered Property                        (c) Yard fixtures;
             insured under this policy, if such
                                                                             (d) Outdoor swimming pools;
             collapse is caused by one or more of the
             following:                                                      (e) Piers, wharves and docks;
            (a) Building decay that is hidden from                            (f) Beach or diving platforms or
                 view, unless the presence of such                                appurtenances;
                 decay is known to an insured prior to                       (g) Retaining walls; and
                  collapse;
                                                                             (h) Walks, roadways and other paved
                                                                                  surfaces;




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            if an abrupt collapse is caused by a                       We will not pay the cost to repair any defect
            cause of loss listed in Paragraphs (2)(a)                  that.caused the loss or damage, but we will
            through (2)(d), we will pay for loss or                    pay the cost to repair or replace damaged
            damage to that property only if such loss                  parts of fire extinguishing equipment if the
            or damage is a direct result of the abrupt                 damage:
            collapse of a building insured under this                 (1) Results in discharge of any substance
            policy and the property is Covered                            from an automatic fire protection
            Property under this policy.                                   system; or
        (5) If personal property abruptly falls down                  (2) Is directly caused by freezing.
            or caves in and such collapse is not the
            result of abrupt collapse of a building,                f. Business Income
            we will pay for loss or damage to                         (1) Business Income
            Covered Property caused by such
                                                                         (a) We will pay for the actual loss of
            collapse of personal property only if:
                                                                              Business Income you sustain due to
           (a) The collapse of personal property                              the necessary suspension of your
               was caused by a cause of loss listed                           "operations" during the "period of
               in Paragraphs (2)(a) through (2)(d)                            restoration". The suspension must
               of this Additional Coverage;                                   be caused by direct physical loss of
           (b) The    personal      property    which                         or damage to property at the
               collapses is inside a building; and                            described premises. The loss or
                                                                              damage must be caused by or result
           (c) The property which collapses is not                            from a Covered Cause of Loss. With
               of a kind listed in Paragraph (4),                             respect to loss of or damage to
               regardless of whether that kind of                             personal property in the open or
               property is considered to be personal                          personal property in a vehicle, the
               property or real property.                                     described premises include the area
            The coverage stated in this Paragraph                             within 100 feet of such premises.
            (5) does not apply to personal property if                        With respect to the requirements set
            marring and/or scratching is the only                             forth in the preceding paragraph, if
            damage ' to that personal property                                you occupy only part of a building,
            caused by the collapse.                                           your premises mean:
        (6) This Additional Coverage — Collapse                                (i) The portion of the building which
            does not apply to personal property that                               you rent, lease or occupy;
            has not abruptly fallen down or caved in,
            even if the personal property shows                               (ii) The area within 100 feet of the
            evidence of cracking, bulging, sagging,                                building or within 100 feet of the
            bending, leaning, settling, shrinkage or                               premises described in the
            expansion.                                                             Declarations, whichever distance
                                                                                   is greater (with respect to loss of
        (7) This Additional Coverage — Collapse will                               or damage to personal property
            not increase the Limits of Insurance                                   in the open or personal property
            provided in this policy.                                               in a vehicle); and
        (8) The term Covered Cause of Loss                                    (iii) Any area within the building or at
            includes the Additional Coverage —                                      the described premises, if that
            Collapse as described and limited in                                    area services, or is used to gain
            Paragraphs d.(1) through d.(7).                                         access to, the portion of the
      e. Water Damage, Other Liquids, Powder                                        building which you rent, lease or
         Or Molten Material Damage                                                  occupy.
         If loss or damage caused by or resulting
         from covered water or other liquid, powder
         or molten material occurs, we will also pay
         the cost to tear out and replace any part of
         the building or structure to repair damage to
         the system or appliance from which the
         water or other substance escapes. '




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           (b) We will only pay for loss of Business                  (2) Extended Business Income
                Income that you sustain during the                       (a) If the necessary suspension of your
                "period of restoration" and that                              "operations" produces a Business
                occurs within 12 consecutive months                           Income loss payable under this
                after the date of direct physical loss                        policy, we will pay for the actual loss
                or damage. We will only pay for                               of Business Income you incur during
                ordinary payroll expenses for 60                              the period that:
                days following the date of direct
                physical loss or damage, unless a                             (i) Begins on the date property
                greater number of days is shown in                                except finished stock is actually
                the Declarations.                                                 repaired, rebuilt or replaced and
                                                                                  "operations" are resumed; and
           (c) Business Income means the:
                                                                             (ii) Ends on the earlier of:
               (i) Net Income (Net Profit or Loss
                    before income taxes) that would                                i. The date you could restore
                    have been earned or incurred if                                   your     "operations",     with
                    no physical loss or damage had                                    reasonable speed, to the level
                    occurred, but not including any                                   which would generate the
                    Net Income that would likely have                                 Business Income amount that
                    been earned as a result of an                                     would have existed if no direct
                    increase in the volume of                                         physical loss or damage had
                    business due to favorable                                         occurred; or
                    business conditions caused by                               ii. 60 consecutive days after the
                    the impact of the Covered Cause                                 date determined in Paragraph
                    of Loss on customers or on other                                (a)(i) above, unless a greater
                    businesses; and                                                 number of consecutive days is
               (ii) Continuing normal       operating                               shown in the Declarations.
                    expenses incurred, including                             However,       Extended     Business
                    payroll.                                                 Income does not apply to loss of
           (d) Ordinary payroll expenses:                                    Business Income incurred as a result
                                                                             of unfavorable business conditions
                (i) Means payroll expenses for all                           caused by the impact of the Covered
                    your employees except:                                   Cause of Loss in the area where the
                     I. Officers;                                            described premises are located.
                     ii. Executives;                                     (b) Loss of Business Income must be
                    iii. Department Managers;                                caused by direct physical loss or
                                                                             damage at the described premises
                    iv. Employees under contract;                            caused by or resulting from any
                        and                                                  Covered Cause of Loss.
                     v. Additional Exemptions shown                   (3) With respect to the coverage provided in
                        in the Declarations as:                           this Additional Coverage, suspension
                         •   Job Classifications; or                      means:
                          • Employees.                                   (a) The partial slowdown or complete
                 (ii) Include:                                               cessation of your business activities;
                                                                             or ,
                      i. Payroll;
                                                                         (b) That a part or all of the described
                     ii. Employee benefits, if directly                       premises is rendered untenantable, if
                         related to payroll;                                  coverage for Business Income
                    iii. FICA payments you pay;                               applies.
                    iv. Union dues you pay; and                       (4) This Additional Coverage is not subject
                     v. Workers'       compensation                       to the Limits of Insurance of Section I—
                        premiums.                                         Property.




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      g. Extra Expense                                                   (c) To:
        (1) We will pay necessary Extra Expense                               (i) Repair or replace any property; or
            you incur during the "period of                                  (ii) Research, replace or restore the
            restoration" that you would not have                                  lost information on damaged
            incurred if there had been no direct                                  "valuable papers and records";
            physical loss or damage to property at
            the described premises. The loss or                               to the extent it reduces the amount
            damage must be caused by or result                                of loss that otherwise would have
            from a Covered Cause of Loss. With                                been payable under this Additional
            respect to loss of or damage to personal                          Coverage or Additional Coverage f.
            property in the open or personal                                  Business Income.
            property in a vehicle, the described                      (3) With respect to the coverage provided in
            premises include the area within 100                          this Additional Coverage, suspension
            feet of such premises.                                        means:
               With respect to the requirements set                      (a) The partial slowdown or complete
               forth in the preceding paragraph, if you                      cessation of your business activities;
               occupy only part of a building, your                          or
               premises mean:
                                                                         (b) That a part or all of the described
           (a) The portion of the building which you                         premises is rendered untenantable, if
               rent, lease or occupy;                                        coverage for Business Income
           (b) The area within 100 feet of the                               applies.
               building or within 100 feet of the                    (4) We will only pay for Extra Expense that
               premises       described     in    the                    occurs within 12 consecutive months
               Declarations, whichever distance is                       after the date of direct physical loss or
               greater (with respect to loss of or                       damage. This Additional Coverage is
               damage to personal property in the                        not subject to the Limits of Insurance of
               open or personal property in a                            Section I — Property.
               vehicle); and
                                                                   h. Pollutant Clean-up And Removal
           (c) Any area within the building or at the
                                                                      We will pay your expense to extract
               described premises, if that area
                                                                      "pollutants" from land or water at the
               services, or is used to gain access
                                                                      described premises if the discharge,
               to, the portion of the building which
                                                                      dispersal, seepage, migration, release or
               you rent, lease or occupy.
                                                                      escape of the "pollutants" is caused by or
        (2) Extra     Expense     means      expense                  results from a Covered Cause of Loss that
            incurred:                                                 occurs during the policy period. The
           (a) To avoid or minimize the suspension                    expenses will be paid only if they are
               of business and to continue                            reported to us in writing within 180 days of
               "operations":                                          the date on which the Covered Cause of
                                                                      Loss occurs.
                  (i) At the described premises; or
                                                                      This Additional Coverage does not apply to
              (ii) At replacement premises or at                      costs to test for, monitor or assess the
                   temporary locations, including                     existence, concentration . or effects of
                   relocation expenses, and costs to                  "pollutants". But we will pay for testing
                   equip      and    operate     the                  which is performed in the course of
                   replacement     or     temporary                   extracting the "pollutants" from the land or
                   locations.                                         water.
           (b) To minimize the suspension of                          The most we will pay for each location
               business if you cannot continue                        under this Additional Coverage is $10,000
               "operations".                                          for the sum of all such expenses arising out
                                                                      of Covered Causes of Loss occurring
                                                                      during each separate 12-month period of
                                                                      this policy.




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       i. Civil Authority                                              j. Money Orders And "Counterfeit Money"
         When a Covered Cause of Loss causes                             We will pay for loss resulting directly from
         damage to property other than property at                       your having accepted in good faith, in
         the described premises, we will pay for the                     exchange for merchandise, "money" or
         actual loss of Business Income you sustain                      services:
         and necessary Extra Expense caused by
         action of civil authority that prohibits access                 (1) Money orders issued by any post office,
         to the described premises, provided that                            express company or bank that are not
         both of the following apply:                                        paid upon presentation; or
        (1) Access to the area immediately                               (2) "Counterfeit money" that is acquired
            surrounding the damaged property is                              during the regular course of business.
             prohibited by civil authority as a result of                 The most we will pay for any loss under this
            the damage, and the described                                 Additional Coverage is $1,000.
            premises are within that area but are not                 k. Forgery Or Alteration
            more than one mile from the damaged
            property; and                                               (1) We will pay for loss resulting directly
                                                                            from forgery or alteration of any check,
        (2) The action of civil authority is taken in                       draft, promissory note, bill of exchange
            response      to   dangerous      physical                      or similar written promise of payment in
            conditions resulting from the damage or                         "money" that you or your agent has
            continuation of the Covered Cause of                            issued, or that was issued by someone
            Loss that caused the damage, or the                             who impersonates you or your agent.
            action is taken to enable a civil authority
            to have unimpeded access to the                             (2) If you are sued for refusing to pay the
            damaged property.                                               check, draft, promissory note, bill of
                                                                            exchange or similar written promise of
         Civil Authority Coverage for Business                              payment in "money", on the basis that it
         Income will begin 72 hours after the time of                       has been forged or altered, and you
         the first action of civil authority that prohibits                 have our written consent to defend
         access to the described premises and will                          against the suit, we will pay for any
         apply for a period of up to four consecutive                       reasonable legal expenses that you
         weeks from the date on which such                                  incur in that defense.
         coverage began.
                                                                        (3) For the purpose of this coverage, check
         Civil Authority Coverage for necessary                             includes a substitute check as defined in
         Extra Expense will begin immediately after                         the Check Clearing for the 21st Century
         the time of the first action of civil authority                    Act and will be treated the same as the
         that prohibits access to the described                             original it replaced.
         premises and will end:
                                                                         (4) The most we will pay for any loss,
        (1) Four consecutive weeks after the date                            including legal expenses, under this
            of that action; or                                               Additional Coverage is $2,500, unless a
        (2) When your Civil Authority Coverage for                           higher Limit Of Insurance is shown in
            Business Income ends;                                            the Declarations.
         whichever is later.                                           I. Increased Cost Of Construction
         The definitions of Business Income and                         (1) This Additional Coverage applies only to
         Extra Expense contained in the Business                            buildings insured on a replacement cost
         Income and. Extra Expense Additional                               basis.
         Coverages also apply to this Civil Authority                   (2) In the event of damage by a Covered
         Additional Coverage. The Civil Authority                           Cause of Loss to a building that is
         Additional Coverage is not subject to the                          Covered Property, we will pay the
         Limits of Insurance of Section I— Property.                        increased costs incurred to comply with
                                                                            the minimum standards of an ordinance
                                                                            or law in the course of repair, rebuilding
                                                                            or replacement of damaged parts of that
                                                                            property, subject to the limitations stated
                                                                            in Paragraphs (3) through (9) of this
                                                                            Additional Coverage.




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        (3) The ordinance or law referred to in                      (7) With respect to this Additional
            Paragraph (2) of this Additional                             Coverage:
            Coverage is an ordinance or law that                        (a) We will not pay for the Increased
            regulates the construction or repair of                         Cost of Construction:
            buildings or establishes zoning or land
            use requirements at the described                               (i) Until the property is actually
            premises and is in force at the time of                             repaired or replaced, at the same
            loss.                                                               or another premises; and
        (4) Under this Additional Coverage, we will                        (ii) Unless the repair or replacement
            not pay any costs due to an ordinance                               is made as soon as reasonably
            or law that:                                                        possible after the loss or
                                                                                damage, not to exceed two
           (a) You were required to comply with                                 years. We may extend this period
                before the loss, even when the                                  in writing during the two years.
                building was undamaged; and
                                                                        (b) If the building is repaired or replaced
           (b) You failed to comply with.                                    at the same premises, or if you elect
        (5) Under this Additional Coverage, we will                          to rebuild at another premises, the
            not pay for:                                                     most we will pay for the Increased
           (a) The enforcement of or compliance                              Cost of Construction is the increased
               with any ordinance or law which                               cost of construction at the same
               requires        demolition,      repair,                      premises.
               replacement,            reconstruction,                  (c) If the ordinance or law requires
               remodeling      or    remediation of                          relocation to another premises, the
               property due to contamination by                              most we will pay for the Increased
               "pollutants" or due to the presence,                          Cost of Construction is the increased
               growth, proliferation, spread or any                          cost of construction at the new
               activity of "fungi", wet rot or dry rot;                      premises.
               or                                                    (8) This Additional Coverage is not subject
           (b) Any costs associated with the                             to the terms of the Ordinance Or Law
               enforcement of or compliance with                         Exclusion, to the extent that such
               an ordinance or law which requires                        exclusion would conflict with the
               any insured or others to test for,                        provisions of this Additional Coverage.
               monitor, clean up, remove, contain,                   (9) The costs addressed in the Loss
               treat, detoxify or neutralize, or in any                  Payment Property Loss Condition in
               way respond to, or assess the                             Section I— Property do not include the
               effects of "pollutants", "fungi", wet rot                 increased      cost      attributable   to
               or dry rot.                                               enforcement of or compliance with an
        (6) The most we will pay under this                              ordinance or law. The amount payable
            Additional Coverage, for each described                      under this Additional Coverage, as
            building insured under Section I—                            stated in Paragraph (6) of this Additional
            Property, is $10,000. If a damaged                           Coverage, is not subject to. such
            building(s) is covered under a blanket                       limitation.
            Limit of Insurance which applies to more              m. Business Income From Dependent
            than one building or item of property,                   Properties
            then the most we will pay under this
            Additional Coverage, for each damaged                    (1) We will pay for the actual loss of
            building, is $10,000.                                        Business Income you sustain due to
                                                                         physical loss or damage at the premises
            The amount payable under this                                of a dependent property or secondary
            Additional Coverage is additional                            dependent property caused by or
            insurance.                                                   resulting from any Covered Cause of
                                                                         Loss.




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            However, this Additional Coverage does                    (b) Accepts materials or services from a
            not apply when the only loss at the                             dependent pr.operty, which in turn
            premises of a dependent property or                             accepts your materials or services.
            secondary dependent property is loss or                    A road, bridge, tunnel, waterway,
            damage to "electronic data", including                     airfield, pipeline or any other similar area
            destruction or corruption of "electronic                   or structure is not a secondary
            data". If the dependent property or                        dependent property.
            secondary dependent property sustains
            loss or damage to "electronic data" and                    Any property which delivers any of the
            other property, coverage under this                        following services is not a secondary
            Additional Coverage will not continue                      dependent property with respect to such
            once the other properry is repaired,                       services:
            rebuilt or replaced.                                            (i) Water supply services;
            The most we will pay under this                                (ii) Wastewater removal services;
            Additional Coverage is $5,000 unless a
                                                                           (iii) Communication supply services;
            higher Limit Of Insurance is indicated in
                                                                                 or
            the Declarations.
                                                                           (iv) Power supply services.
        (2) We will reduce the amount of your
            Business Income loss, other than Extra                     The secondary dependent property must
            Expense, to the extent you can resume                      be located in the coverage territory of
            "operations", in whole or in part, by                      this policy.
            using any other available:                             (6) The coverage period for Business
           (a) Source of materials; or                                 Income under this Additional Coverage:
           (b) Outlet for your products.                              (a) Begins 72 hours after the time of
                                                                           direct physical loss or damage
        (3) If you do not resume "operations", or do
                                                                           caused by or resulting from any
            not resume "operations" as quickly as
                                                                           Covered Cause of Loss at the
            possible, we will pay based on the
                                                                           premises of the dependent property
            length of time it would have taken to
                                                                           or secondary dependent property;
            resume "operations" as quickly as
                                                                           and
            possible.
                                                                      (b) Ends on the date when the property
        (4) Dependent property means property
                                                                           at the premises of the dependent
            owned by others whom you depend on
                                                                           property or secondary dependent
            to:                                                            property should be repaired, rebuilt
           (a) Deliver materials or services to you,                       or replaced with reasonable speed
                or to others for your account. But                         and similar quality.
                services does not mean water supply
                                                                   (7) The Business Incorrie coverage.period,
                services,    wastewater      removal
                                                                       as stated in Paragraph (6), does not
                services, communication supply
                                                                       include any increased period required
                services or power supply services;
                                                                       due to the enforcement of or compliance
           (b) Accept your products or services;                       with any ordinance or law that:
           (c) Manufacture your products for                          (a) Regulates the construction, use or
               delivery to your customers under                            repair, or requires the tearing down
               contract for sale; or                                       of any property; or
           (d) Attract customers to your business.                    (b) Requires any insured or others to
            The dependent property must be located,                        test for, monitor, clean up, remove,
            in the coverage territory of this policy.                      contain, freat, detoxify or neutralize,
                                                                           or in any way. respond to, or assess
        (5) Secondary. dependent property means                            the efFects of "pollutants".
            an,entity which is not owned or operated
            by a dependent property and which;                         The expiration date of this policy will not
                                                                       reduce the Business Income coverage
           (a) Delivers materials or services to a                     period.
                dependent property, which in turn
                are used by the dependent property
                in providing materials or services to
                you; or




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              (8) The definition of Business Income                       (2) The Covered Causes of Loss applicable
                  contained in the Business Income                            to Business Personal Property include a
                  Additional Coverage also applies to this                    computer virus, harmful code or similar
                  Business Income From Dependent                              instruction introduced into or enacted on
                  Properties Additional Coverage.                             a computer system (including "electronic
    1
        .   n. Glass Expenses                                                 data") or a network to which it is
                                                                              connected, designed to damage or
              (1) We will pay for expenses incurred to put                    destroy any part of the system or disrupt
                  up temporary plates or board up                             its normal operation. But there is no
                  openings if repair or replacement of                        coverage for loss or damage caused by
                  damaged glass is delayed.                                   or resulting from manipulation of a
              (2) We will pay for expenses incurred to                        computer system (including "electronic
                  remove or replace obstructions when                         data") by any employee, including a
                  repairing or replacing glass that is part                   temporary or leased employee, or by an
                  of a building. This does not include                        entity retained by you, or for you, to
                  removing or replacing window displays.                      inspect, design, install, modify, maintain,
                                                                              repair or replace that system.
            o. Fire Extinguisher Systems Recharge
               Expense                                                    (3) The most we will pay under this
                                                                              Additional Coverage — Electronic Data
              (1) We will pay:
                                                                              for all loss or damage sustained in any
                 (a) The cost of recharging or replacing,                     one policy year, regardless of the
                      whichever is less, your fire                            number of occurrences of loss or
                      extinguishers and fire extinguishing                    damage or the number of premises,
                      systems        (including   hydrostatic                 locations or computer systems involved,
                      testing if needed) if they are                          is $10,000, unless a higher Limit Of
                      discharged on or within 100 feet of                     Insurance is shown in the Declarations.
                      the described premises; and                             If loss payment on the first occurrence
                 (b) For loss or damage to Covered                            does not exhaust this amount, then the
                      Property if such loss or damage is                      balance is available for subsequent loss
                      the result of an accidental discharge                   or damage sustained in, but not after,
                      of chemicals from a fire extinguisher                   that policy year. With respect to an
                      or a fire extinguishing system.                         occurrence which begins in one policy
                                                                              year and continues or results in
              (2) No coverage will apply if the fire
                                                                              additional loss or damage in a
                  extinguishing system is discharged
                                                                              subsequent policy year(s), all loss or
                  during installation or testing.
                                                                              damage is deemed to be sustained in
              (3) The most we will pay under this                             the policy year in which the occurrence
                  Additional Coverage is $5,000 in any                        began.
                  one occurrence.
                                                                          (4) This Additional Coverage does not apply
            p. Electronic Data                                                to your "stock" of prepackaged software,
              (1) Subject to the provisions of this                           or to "electronic data" which is
                  Additional Coverage, we will pay for the                    integrated in and operates or controls a
                  cost to replace or restore "electronic                      building's elevator, lighting, heating,
                  data" which has been destroyed or                           ventilation, air conditioning or security
                  corrupted by a Covered Cause of Loss.                       system.
                  To the extent that "electronic data" is not           q. Interruption Of Computer Operations
                  replaced or restored, the loss will be
                                                                          (1) Subject to all provisions of this
                  valued at the cost of replacement of the
                                                                              Additional Coverage, you may extend
                  media on which the "electronic data"
                                                                              the insurance that applies to Business
                  was stored, with blank media of
                                                                              Income and Extra Expense to apply to a
                  substantially identical type.
                                                                              suspension of "operations" caused by
                                                                              an interruption in computer operations
                                                                              due to destruction or corruption of
                                                                              "electronic data" due to a Covered
                                                                              Cause of Loss.




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        (2) With respect to the coverage provided                 (3) The most we will pay under Ahis
            under this Additional Coverage, the                       Additional Coverage — Interruption Of
            Covered Causes of Loss are subject to                     Computer Operations for all loss
            the following:                                            sustained and expense incurred in any
           (a) Coverage under this Additional                         one policy year, regardless of the
               Coverage      —    Interruption Of                     number of interruptions or the number of
               Computer Operations is limited to                      premises,     locations      or computer
               the "specified causes of loss" and                     systems involved, is $10,000 unless a
               Collapse.                                              higher Limit Of Insurance is shown in
                                                                      the Declarations. If loss payment
           (b) If the Businessowners Coverage                         relating to the first interruption does not
               Form is endorsed to add a Covered                      exhaust this amount, then the balance is
                Cause of Loss, the additional                         available for loss or expense sustained
                Covered Cause of Loss does not                        or incurred as a result of subsequent
               apply to the coverage provided                         interruptions in that policy year. A
               under this Additional Coverage.                        balance remaining at the end of a policy
           (c) The Covered Causes of Loss include                     year does not increase the amount of
               a computer virus, harmful code or                      insurance in the next policy year. With
               similar instruction introduced into or                 respect to any interruption which begins
               enacted on a computer system                           in one policy year and contiriues or
               (including "electronic data") or a                     results in additional loss or expense in a
               network to which it is connected,                      subsequent policy year(s), all loss and
               designed to damage or destroy any                      expense is deemed to be sustained or
               part of the system or disrupt its                      incurred in the policy year in which the
               normal operation.. But there is no                     interruption began.
               coverage for an interruption related               (4) This Additional Coverage — Interruption
               to manipulation of a computer                          Of Computer Operations does not apply
               system (including "electronic data")                   to loss sustained or expense incurred
               by any employee, including a                           after the end of the "period of
               temporary or leased employee, or by                    restoration", even if the amount of
               an entity retained by you, or for you,                 insurance stated in (3) above has not
               to inspect, design, install, modify,                   been exhausted.
               maintain, repair or replace that
               system.                                            (5) Coverage for Business Income does not
                                                                      apply when a suspension of "operations"
                                                                      is caused by destruction or corruption of
                                                                      "electronic data", or any loss or damage
                                                                      to "electronic data", except as provided
                                                                      under Paragraphs (1) through (4) of this
                                                                      Additional Coverage.




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        (6) Coverage for Extra Expense does not                      (3) The coverage described under this
            apply when action is taken to avoid or                       Limited Coverage is limited to $15,000.
            minimize a suspension of "operations"                        Regardless of the number of claims, this
            caused by destruction or corruption of                       limit is the most we will pay for the total
            "electronic data", or any loss or damage                     of all Ioss or damage arising out of all
            to "electronic data", except as provided                     occurrences of "specified causes of
            under Paragraphs (1) through (4) of this                     loss" (other than fire or lightning) which
            Additional Coverage.                                         take place in a 12-month period (starting
        (7) This Additional Coverage does not apply                      with the beginning of the present annual
            when loss or damage to "electronic                           policy period). With respect to a
            data" involves only "electronic data"                        particular occurrence of loss which
            which is integrated in and operates or                       results in "fungi", wet rot or dry rot, we
            controls a building's elevator, lighting,                    will not pay more than the total of
            heating, ventilation, air conditioning or                    $15,000 even if the "fungi", wet rot or
            security system.                                             dry rot continues to be present or active,
                                                                         or recurs, in a later policy period.
      r. Limited Coverage For "Fungi", Wet Rot
         Or Dry Rot                                                  (4) The coverage provided under this
                                                                         Limited Coverage does not increase the
        (1) The coverage described in Paragraphs                         applicable Limit of Insurance on any
            r.(2) and r.(6) only applies when the                        Covered Property. If a particular
            "fungi", wet rot or dry rot is the result of                 occurrence results in loss or damage by
            a"specified cause of loss" other than                        "fungi", wet rot or dry rot, and other loss
            fire or lightning that occurs during the                     or damage, we will not pay more, for the
            policy period and only if all reasonable                     total of all loss or damage, than the
            means were used to save and preserve                         applicable Limit of Insurance on the
            the property from further damage at the                      affected Covered Property.
            time of and after that occurrence.
                                                                         If there is covered loss or damage to
            This Additional Coverage does not apply                      Covered Propen`y, not caused by
            to lawns, trees, shrubs or plants which                      "fungi", wet rot or dry rot, loss payment
            are part of a vegetated roof.                                will not be limited by the terms of this
        (2) We will pay for loss or damage by                            Limited Coverage, except to the extent
            "fungi", wet rot or dry rot. As used in this                 that "fungi", wet rot or dry rot causes an
            Limited Coverage, the term loss or                           increase in the loss. Any such increase
            damage means:                                                in the loss will be subject to the terms of
           (a) Direct physical loss or damage to                         this Limited Coverage.
                Covered Property caused by "fungi",                  (5) The terms of this Limited Coverage do
                wet rot or dry. rot, including the cost                  not increase or reduce the coverage
                of removal of the "fungi", wet rot or                    provided under the Water Damage,
                dry rot;                                                 Other Liquids, Powder Or Molten
           (b) The cost to tear out and replace any                      Material Damage or Collapse Additional
                part of the building or other property                   Coverages.
                as needed to gain access to the
                "fungi", wet rot or dry rot; and
           (c) The cost of testing perFormed after
                removal, repair, replacement or
                restoration of the damaged property
                is completed, provided there is a
                reason to believe that "fungi", wet rot
                or dry rot is present.




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         (6) The following applies only if Business                       The most we will pay for loss or damage
             Income and/or Extra Expense Coverage                         under this Extension is $250,000 at
             applies to the described premises and                        each building.
             only if the suspension of "operations"                   (2) Business Personal Property
             satisfies all the terms and conditions of
             the applicable Business Income and/or                        If this policy covers Business Personal
             Extra Expense Additional Coverage:                           Property, you may extend that insurance
                                                                          to apply to:
            (a) If the loss which resulted in "fungi",
                 wet rot or dry rot does not in itself                   (a) Business       Personal      Property,
                 necessitate      a    suspension      of                     including such property that you
                 "operations", but such suspension is                         newly acquire, at any location you
                 necessary due to loss or damage to                           acquire; or
                 property caused by "fungi", wet rot or                  (b) Business       Personal      Property,
                 dry rot, then our payment under the                          including such property that you
                 Business Income and/or Extra                                 newly acquire, located at your newly
                 Expense Additional Coverages is                              constructed or acquired buildings at
                 limited to the amount of loss and/or                         the location described in the
                 expense sustained in a period of not                         Declarations. '
                 more than 30 days. The days need
                                                                          This Extension does not apply to
                 not be consecutive.
                                                                          personal property that you temporarily
            (b) If a       covered suspension of                          acquire in the course of installing or
                 "operations" was caused by loss or                       performing work on such property or
                 damage other than "fungi", wet rot or                    your wholesale activities.
                 dry rot, but remediation of "fungi",
                                                                          The most we will pay for loss or damage
                 wet rot or dry rot prolongs the "period
                                                                          under this Extension is $100,000 at
                 of restoration", we will pay for loss
                                                                          each building.
                 and/or expense sustained during the
                 delay (regardless of when such a                     (3) Period Of Coverage
                 delay occurs during the "period of                        With respect to insurance provided
                 restoration"), but such coverage is                       under this Coverage Extension for
                 limited to 30 days. The days need                         Newly      Acquired     Or    Constructed
                 not be consecutive.                                       Property, coverage will end when any of
   6. Coverage Extensions                                                  the following first occurs:
      In addition to the Limits of Insurance of Section                   (a) This policy expires;
      I— Property, you may extend the insurance                           (b) 30 days expire after you acquire the
      provided by this policy as provided below.                              property or begin construction of that
      Except as otherwise provided, the following                             part of the building that would qualify
      extensions apply to property located in or on                           as Covered Property; or
      the building described in the Declarations or in                    (c) You report values to us.
      the open (or in a vehicle) within 100 feet of the
      described premises:                                                 We will charge you additional premium
                                                                          for values reported from the date you
      a. Newly Acquired Or Constructed                                    acquire      the     property   or   begin
          Property                                                        construction of that part of the building
         (1) Buildings                                                    that would qualify as Covered Property.
             If this policy covers Buildings, you may               b. Personal Property Off-premises
             extend that insurance to apply to:                        You may extend the insurance provided by
            (a) Your new buildings while being built                   this policy to apply to your Covered
                  on the described premises; and                       Property, other than "money" and
                                                                       "securities", "valuable papers and records"
            (b) Buildings you acquire at premises
                                                                       or accounts receivable, while it is in the
                  other than the one described,
                                                                       course of transit or at a premises you do
                  intended for:
                                                                       not own, lease or operate. The most we will
                  (i) Similar use as the building                      pay for loss or damage under this
                      -described in the Declarations; or               Extension is $10,000.
                 (ii) Use as a warehouse.




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      c. Outdoor Property                                        e. Valuable Papers And Records
         You may extend the insurance provided by                  (1) You may extend the insurance that
         this policy to apply to your outdoor fences,                  applies to Business Personal Property
         radio and television antennas (including                      to apply to direct physical loss or
         satellite dishes), signs (other than signs                    damage to "valuable papers and
         attached to buildings), trees, shrubs and                     records" that you own, or that are in
         plants (other than trees, shrubs or plants                    your care, custody or control, caused by
         which are part of a vegetated roof),                          or resulting from a Covered Cause of
         including debris removal expense. Loss or                     Loss. This Coverage Extension includes
         damage must be caused by or result from                       the cost to research, replace or restore
         any of the following causes of loss:                          the lost information on "valuable papers
        (1) Fire;                                                      and records" for which duplicates do not
                                                                       exist.
        (2) Lightning;
                                                                   (2) This Coverage Extension does not apply
        (3) Explosion;                                                 to:
        (4) Riot or Civil Commotion; or                               (a) Property held as samples or for
        (5) Aircraft.                                                      delivery after sale; and -
         The most we will pay for loss or damage                      (b) Property in storage away from the
         under this Extension is $2,500, unless a                          premises shown in the Declarations.
         higher Limit Of Insurance for Outdoor                     (3) The most we will pay under this
         Property is shown in the Declarations, but                    Coverage Extension for loss or damage
         not more than $1,000 for any one tree,                        to "valuable papers and records" in any
         shrub or plant.                                               one occurrence at the described
         Subject to all aforementioned terms and                       premises is $10,000, unless a higher
         limitations of coverage, this Coverage                        Limit Of Insurance for "valuable papers
         Extension includes the expense of                             and records" ' is shown in the
         removing from the described premises the                      Declarations.
         debris of trees, shrubs and plants which are                  For "valuable papers and records" not at
         the property of others, except in the                         the described premises, the most we will
         situation in which you are a tenant and such                  pay is $5,000.
         property is owned by the landlord of the
         described premises.                                       (4) Loss or damage to "valuable papers and
                                                                       records" will be valued at the cost of
      d. Personal Effects                                              restoration or replacement of the lost or
         You may extend the insurance that applies                     damaged information. To the extent that
         to Business Personal Property to apply to                     the contents of the "valuable papers and
         personal effects owned by you, your                           records" are not restored, the "valuable
         officers, your partners or "members", your                    papers and records" will be valued at
         "managers" or your employees, including                       the cost of replacement with blank
         temporary or leased employees. This                           materials of substantially identical type.
         extension does not apply to:                              (5) Paragraph B. Exclusions in Section I—
        (1) Tools or equipment used         in your                    Property does not apply to this
            business; or                                               Coverage Extension except for:
        (2) Loss or damage by theft.                                  (a) Paragraph B.1.c., , Governmental
         The most we will pay for loss or damage                           Action;
         under this Extension is $2,500 at each                       (b) Paragraph B.1.d., Nuclear Hazard;
         described premises.                                          (c) Paragraph B.1.f., War And Military
                                                                          Action;




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           (d) Paragraph B.2.f., Dishonesty;                        g. Business Personal Property Temporarily
           (e) Paragraph B.2.g., False Pretense;                       In Portable Storage Units
            (f) Paragraph B.2.m.(2),       Errors   Or                 (1) You may extend 'the insurance that
                Omissions; and                                             applies to Business Personal Property
                                                                           to apply to such property while
           (g)Paragraph B.3.                                               temporarily stored in a portable storage
       f. Accounts Receivable                                              unit (including a detached trailer)
        (1) You may extend the insurance that                              located within 100 feet of the buildings
            applies to Business Personal Property                          or    structures   described    in   the
            to apply to accounts receivable. We will                       Declarations or within 100 feet of the
            pay:                                                           described premises, whichever distance
                                                                           is greater.
           (a) AII   amounts   due  from   your
               customers that you are unable to                        (2) The limitation under Paragraph A.4.a.(5)
               collect;                                                    also applies to property in a portable
                                                                           storage unit.
           (b) Interest charges on any loan
               required to offset amounts you are                      (3) Coverage under this Extension:
               unable to collect pending our                              (a) Will end 90 days after the Business
               payment of these amounts;                                      Personal Property has been placed
           (c) Collection expenses in excess of                               in the storage unit;
               your normal collection expenses that                       (b) Does not apply if the storage unit
               are made necessary by loss or                                  itself has been in use at the
               damage; and                                                    described premises for more than 90
           (d) Other reasonable expenses that you                             consecutive days, even if the
               incur to reestablish your records of                           Business Personal Property has
               accounts receivable;                                           been stored there for 90 or fewer
                                                                              days as of the time of loss or
            that result from direct physical loss or                            damage.
            damage by any Covered Cause of Loss
            to your records of accounts receivable.                    (4) Under this ~Extension, the most we will
                                                                           pay for the total of all loss or damage to
        (2) The most we will pay under this                                Business Personal Property is $10,000
            Coverage Extension for loss or damage                          (unless a higher limit is indicated in the
            in any one occurrence at the described                         Declarations     for    such     Extension)
            premises is $10,000, unless a higher                           regardless of the number of storage
            Limit of Insurance for accounts                                units.
            receivable is shown in the Declarations.
                                                                      (5) This Extension does not apply to loss or
            For accounts receivable not at the                            damage otherwise covered under this
            described premises, the most we will                          Coverage Form or any endorsement to
            pay is $5,000.                                                this Coverage Form, and does not apply
        (3) Paragraph B. Exclusions in Section I—                         to loss or damage to the storage unit
            Property does not apply to this                               itself.
            Coverage Extension except for:                    B. Exclusions
           (a) Paragraph    B.1.c.,     Governmental             1. We will not pay for loss or damage caused
               Action;                                              directly or indirectly by any of the following.
           (b) Paragraph B.1.d., Nuclear Hazard;                    Such loss or damage is excluded regardless of
                                                                    any other cause or event that contributes
           (c) Paragraph B.1.f., War And Military
                                                                    concurrently or in any sequence to the loss.
               Action;
                                                                    These exclusions apply whether or not the loss
           (d) Paragraph B.2.f., Dishonesty;                        event results in widespread damage or affects
           (e) Paragraph B.2.g., False Pretense;                    a substantial area.
           (f) Paragraph B.3.; and                                  a. Ordinance Or Law
           (g) Paragraph       B.6.,         Accounts                 (1) The enforcement of or compliance with
               Receivable Exclusion.                                      any ordinance or law:
                                                                          (a) Regulating the construction, use or
                                                                              repair of any property; or




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           .(b) Requiring the tearing down of any                          With respect to coverage for volcanic
                property, including the cost of                            action as set forth in 5(a), (5)(b) and
                removing its debris.                                       5(c), all volcanic eruptions that occur
        (2) This exclusion, Ordiriance Or Law,                             within any 168-hour period will constitute
             applies whether the loss results from:                        a single occurrence.
           (a) An ordinance or law that is enforced                        Volcanic action does not include the
                even if the property has not been                          cost to remove ash, dust or particulate
                damaged; or                                                matter that does not cause direct
                                                                           physical loss of or damage to Covered
           (b) The increased costs incurred to                             Property.
               comply with an ordinance or law in
               the course of construction, repair,                      This exclusion applies regardless of
               renovation, remodeling or demolition                     whether any of the above, in Paragraphs
               of property or removal of its debris,                    (1) through (5), is caused by an act of
               following a physical loss to that                        nature or is otherwise caused.
               property.                                             c. Governmental Action
      b. Earth Movement                                                 Seizure or destruction of property by order
        (1) Earthquake, including tremors and                           of governmental authority.
             aftershocks and any earth sinking, rising                  But we will pay for loss or damage caused
             or shifting related to such event;                         by or resulting from acts of destruction
        (2) Landslide, including any earth sinking,                     ordered by governmental authority and
             rising or shifting related to such event;                  taken at the time of a fire to prevent its
                                                                        spread, if the fire would be covered under
        (3) Mine subsidence, meaning subsidence                         this policy.
             of a man-made mine, whether or not
             mining activity has ceased;                             d. Nuclear Hazard
        (4) Earth sinking (other than sinkhole                          Nuclear reaction or radiation, or radioactive
             collapse), rising or shifting including soil               contamination, however caused.
             conditions      which     cause     settling,              But if nuclear reaction or radiation, or
             cracking or other disarrangement of                        radioactive contamination, results in fire, we
             foundations or other parts of realty. Soil                 will pay for the loss or damage caused by
             conditions        include       contraction,               that fire.
             expansion, freezing, thawing, erosion,                  e. Utility Services
             improperly compacted soil and the
             action of water under the ground                           The failure of power, communication, water
             surface.                                                   or other utility service supplied to the
                                                                        described premises, however caused, if the
         But if Earth Movement, as described in
                                                                        failure:
         Paragraphs (1) through (4) above, results in
         fire or explosion, we will pay for the loss or                 (1) Originates away from the described
         damage caused by that fire or explosion.                           premises; or
        (5) Volcanic eruption, explosion or effusion.                   (2) Originates at the described premises,
             But if volcanic eruption, explosion or                         but only if such failure involves
             effusion results in fire, building glass                       equipment used to supply the utility
             breakage or volcanic action, we will pay                       service to the described premises from
             for the loss or damage caused by that                          a source away from the described
             fire, building glass breakage or volcanic                      premises.
             action.                                                    Failure of any utility service includes lack of
            Volcanic action means direct loss or                        sufficient capacity and reduction in supply.
            damage resulting from the eruption of a                     Loss or damage caused by a surge of
            volcano when the loss or damage is                          power is also excluded, if the surge would
            caused by:                                                  not have occurred but for an event causing
           (a) Airborne volcanic blast or airborne                      a failure of power.
                shock waves;
           (b) Ash, dust or particulate matter; or
           (c) Lava flow.




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         But if the failure or surge of power, or the                This exclusion applies regardless of
         failure of communication, water or other                    whether any of the above, in Paragraphs
         utility service, results in a Covered Cause of              (1) through (5), is caused by an act of
         Loss, we will pay for the loss or damage                    nature or is otherwise caused. An example
         caused by that Covered Cause of Loss.                       of a situation to which this exclusion applies
         Communication services include but are not                  is the situation where a dam, levee, seawall
         limited to service relating to Internet access              or other boundary or containment system
         or access to any electronic, cellular or                    fails in whole or in part, for any reason, to
         satellite network.                                          contain the water.
         This exclusion does not apply to loss or                    But if any of the above, in Paragraphs (1)
         damage to "computer(s)" and "electronic                     through (5), results in fire, explosion or
         data".                                                      sprinkler leakage, we will pay for the loss or
                                                                     damage caused by that fire, explosion or
      f. War And Military Action                                     sprinkler leakage.
        (1) War, including undeclared or civil war;               h. Certain Computer-related Losses
        (2) Warlike action by a military force,                     (1) The failure, malfunction or inadequacy
            including action in hindering or                            of:
            defending against an actual or expected
            attack, by any government, sovereign or                    (a) Any of the following, whether
            other authority using miiitary personnel                       belonging to any insured or to
            or other agents; or                                            others:
        (3) Insurrection,   rebellion,    revolution,                        (i) "Computer" hardware, including
            usurped power, or action taken by                                    microprocessors        or    other
            governmental authority in hindering or                               electronic    data      processing
            defending against any of these.                                      equipment as may be described
                                                                                 elsewhere in this policy;
      g. Water
                                                                            (ii) "Computer" application software
        (1) Flood, surFace water, waves (including                               or other "electronic data" as may
            tidal wave and tsunami), tides, tidal                                be described elsewhere in this
            water, overFlow of any body of watec, or                             policy;
            spray from any of these, all whether or
            not driven by wind (including storm                             (iii) "Computer" operating systems
            surge);                                                               and related software;
        (2) Mudslide or mudflow;                                            (iv) "Computer" networks;
        (3) Water that backs up or overHows or is                            (v) Microprocessors        ("computer"
            otherwise discharged from a sewer,                                    chips) not part of any "computer"
            drain, sump, sump pump br related                                     system; or
            equipment;                                                      (vi) Any other computerized          or
        (4) Water under the ground surface                                       electronic    equipment         or
            pressing on, or flowing or seeping                                   components; or
            through:                                                   (b) Any other products, and any
           (a) Foundations, walls, floors or paved                          services, data or functions that
               surfaces;                                                    directly or indirectly use or rely upon,
                                                                           in any manner, any of the items
           (b) Basements, whether paved or not; or                         listed in Paragraph (a) above;
           (c) Doors, windows or other openings;                        due to the inability to correctly
               or                                                       recognize, distinguish, interpret or
        (5) Waterborne      material   carried    or                    accept one or more dates or times. An
            otherwise moved by any of the water                         example is the inability of computer
            referred to in Paragraph (1), (3) or (4),                   software10 recognize the year 2000.
            or material carried or otherwise moved
            by mudslide or mudflow.




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        (2) Any advice, consultation, design,                    2. We will not pay for loss or damage caused by
             evaluation,     inspection,    installation,           or resulting from any of the following:
             maintenance, repair, replacement or                    a. Electrical Apparatus
             supervision provided or done by you or
             for you to determine, rectify or test for,                 Artificially generated electrical, magnetic or
             any potential or actual problems                            electromagnetic energy that damages,
             described in Paragraph (1) above.                          'disturbs, disrupts or otherwise interferes
                                                                        with any:
         However, if excluded loss or damage, as
         described in Paragraph (1) above, results in                  (1) Electrical or electronic wire, device,
         a"specified cause of loss" under Section I—                        appliance, system or network; or
         Propen`.y, we will pay only for the loss or                   (2) Device, appliance, system or network
         damage caused by such "specified cause                             utilizing cellular or satellite technology.
         of loss".
                                                                        For the purpose of this exclusion, electrical,
         We will not pay for repair, replacement or                     magnetic or electromagnetic energy
         modification of any items in Paragraph                         includes but is not limited to:
         (1)(a) or (1)(b) to correct any deficiencies or
                                                                       (1) Electrical current, including arcing;
         change any features.
                                                                       (2) Electrical charge produced or conducted
      i. "Fungi", Wet Rot Or Dry Rot
                                                                           by a magnetic or electromagnetic field;
         Presence, growth, proliferation, spread or
                                                                       (3) Pulse of electromagnetic energy; or
         any activity of "fungi", wet rot or dry rot.
                                                                       (4) Electromagnetic waves or microwaves.
         But if "fungi", wet rot or dry rot results in a
         "specified cause of loss", we will pay for the                 But if fire results, we will pay for the loss or
         loss or damage caused by that "specified                       damage caused by fire.
         cause of loss".                                                We will pay for loss or damage to
         This exclusion does not apply:                                 "computer(s)" due to artificially generated
                                                                        electrical, magnetic or electromagnetic
        (1) When "fungi", wet. rot or dry rot results
                                                                        energy if such loss or damage is caused by
            from fire or lightning; or
                                                                        or results from:
        (2) To the extent that coverage is provided
                                                                       (1) An occurrence that took place within
            in the Limited Coverage For "Fungi",
                                                                           100 feet of the described premises; or
            Wet Rot Or Dry Rot Additional
            Coverage, with respect to loss or                          (2) Interruption of electric power supply,
            damage by a. cause of loss other than                          power surge, blackout or brownout if the
            fire or lightning.                                             cause of such occurrence took place
                                                                           within 100 feet of the described
      j. Virus Or Bacteria
                                                                           premises.
        (1) Any     virus,   bacterium or    other
                                                                    b. Consequential Losses
            microorganism that induces or is
            capable of inducing physical distress,                      Delay, loss of use or loss of market.
            illness or disease.                                     c. Smoke, Vapor, Gas
        (2) However, the exclusion in Paragraph (1)                     Smoke, vapor or gas from agricultural
            does not apply to loss or damage                            smudging or industrial operations.
            caused by or resulting from "fungi", wet
            rot or dry rot. Such loss or damage is
            addressed in Exclusion i.
        (3) With respect to any loss or damage
            subject to the exclusion in Paragraph
            (1), such exclusion supersedes any
            exclusion relating to "pollutants".




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      d. Steam Apparatus                                          g. False Pretense
         Explosion of steam boilers, steam pipes,                    Voluntary parting with any property by you
         steam engines or steam turbines owned or                    or anyone else to whom you have entrusted
         leased by you, or operated under your                       the property if induced to do so by any
         control. But if explosion of steam boilers,                 fraudulent scheme, •trick, device or false
         steam pipes, steam engines or steam                         pretense.
         turbines results in fire or combustion                   h. Exposed Property
         explosion, we will pay for the loss or
         damage caused by that fire or combustion                    Rain, snow, ice or sleet to personal
         explosion. We will also pay for loss or                     property in the open.
         damage caused by or resulting from the                   i. Collapse
         explosion of gases or fuel within the furnace
                                                                    (1) Collapse, including any of the following
         of any fired vessel or within the flues or
                                                                         conditions of property or any part of the
         passages through which the gases of
                                                                         property:
         combustion pass:
                                                                       (a) An abrupt falling down or caving in;
      e. Frozen Plumbing
                                                                       (b) Loss of structural integrity, including
         Water, other liquids, powder or molten
                                                                           separation of parts of the property or
         material that leaks or flows from plumbing,
                                                                           property in danger of falling down or
         heating, air conditioning or other equipment
                                                                           caving in; or
         (except fire protective systems) caused by
         or resulting from freezing, unless:                           (c) Any cracking, bulging, . sagging,
                                                                           bending, leaning, settling, shrinkage
        (1) You do your best to maintain heat in the
                                                                           or expansion as such condition
             building or structure; or
                                                                           relates to Paragraph i.(1)(a) or
        (2) You drain the equipment and shut off                           i.(1)(b).
            the supply if the heat is not maintained.
                                                                     But if collapse results in a Covered Cause
      f. Dishonesty                                                  of Loss at the described premises, we will
         Dishonest or criminal acts (including theft)                pay for the loss or damage caused by that
         by you, anyone else with an interest in the                 Covered Cause of Loss.
         property, or any of your or their partners,                (2) This Exclusion I. does not apply:
         "members",         officers,      "managers",
                                                                       (a) To the extent that coverage is
         employees (including temporary or leased
                                                                           provided under the Additional
         employees),      directors,     trustees   or
                                                                           Coverage — Collapse; or
         authorized representatives, whether acting
         alone or in collusion with each other or with                 (b) To collapse caused by one or more
         any other party; or theft by any person to                        of the following:
         whom you entrust the property for any                              (i) The "specified causes of loss";
         purpose, whether acting alone or in
         collusion with any other party.                                    (ii) Breakage of building glass;
         This exclusion:                                                    (iii) Weight of rain that collects on a
                                                                                  roof; or
        (1) Applies whether or not an act occurs
            during your normal hours of operation;                        (iv) Weight of people or personal
                                                                               property.
        (2) Does not apply to acts of destruction by
            your employees (including temporary or                j. Pollution
            leased employees) or authorized                          We will not pay for loss or damage caused
            representatives; but theft by your                       by or resulting from the discharge,
            employees (including temporary or                        dispersal, seepage, migration, release or
            leased employees) or authorized                          escape of "pollutants" unless the discharge,
            representatives is not covered.                          dispersal, seepage, migration, release or
         With respect to accounts receivable and                     escape is itself caused by any of the
         "valuable papers and records", this                         "specified causes of loss". But if the
         exclusion does not apply to carriers for hire.              discharge, dispersal, seepage, migration,
                                                                     release or escape of "pollutants" results in a
         This exclusion does not apply to coverage                   "specified cause of loss", we will pay for the
         that is provided under the Employee                         loss or damage caused by that "specified
         Dishonesty Optional Coverage.                               cause of loss".




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      k. Neglect                                                 n. Installation, Testing, Repair
         Neglect of an insured to use all reasonable                Errors or deficiency in design, installation,
         means to save and preserve property from                   testing, maintenance, modification or repair
         further damage at and after the time of loss.              of your "computer" system including
      I. Other Types Of Loss                                        "electronic data".
        (1) Wear and tear;                                          However, we will pay for direct physical loss
                                                                    or damage caused by resulting fire or
        (2) Rust or other corrosion, decay,                         explosion if these causes of loss would be
             deterioration, hidden or latent defect or              covered by this Coverage Form.
             any quality in property that causes it to
             damage or destroy itself;                           o. Electrical Disturbance
        (3) Smog;                                                   Electrical or magnetic injury, disturbance or
                                                                    erasure of "electronic data", except as
        (4) Settling,     cracking,    shrinking    or              provided for under the Additional
             expansion;                                             Coverages of Section I— Property.
        (5) Nesting or infestation, or discharge or                 However, we will pay for direct loss or
             release of waste products or secretions,               damage caused by lightning.
             by insects, birds, rodents or other
                                                                 p, Continuous Or Repeated Seepage Or
             animals;
                                                                     Leakage Of Water
        (6) Mectianical      breakdown,    including
            rupture or bursting caused by centrifugal                Continuous or repeated seepage or
            force.                                                   leakage of water, or the presence or
                                                                     condensation of humidity, moisture or
             This exclusion does not apply with                      vapor, that occurs over a period of 14 days
             respect   to    the     breakdown     of                or more.
             "computer(s)';
                                                              3. We will not pay for loss or damage caused by
       (7) The following causes of loss to personal              or resulting from any of the following
             property:                                           Paragraphs a. through c. But if an excluded
            (a) Dampness        or     dryness     of            cause of loss that is listed in Paragraphs a.
                atmosphere;                                      through c. results in a Covered Cause of Loss,
           (b) Changes in or extremes of                         we will pay for the loss or damage caused by
                temperature; or                                  that Covered Cause of Loss.
           (c) Marring or scratching.                            a. Weather Conditions
        But if an excluded cause of loss that is                     Weather conditions. But this exclusion only
        listed in Paragraphs (1) through (7) above                   applies if weather conditions contribute in
        results in a"specified cause of loss" or                     any way with a cause or event excluded in
        building glass breakage, we will pay for the                 Paragraph B.I. above to produce the loss
        loss or damage caused by that "specified                     or damage.
        cause of loss" or building glass breakage.               b. Acts Or Decisions
     m. Errors Or Omissions                                         Acts or decisions, including the failure to act
        Errors or omissions in:                                     or decide, of any person, group,
                                                                    organization or governmental body.
        (1) Programming, processing or storing
            data, as described under "electronic                 c. Negligent Work
            data" or in any "computer" operations; or               Faulty, inadequate or defective:
        (2) Processing or copying "valuable papers                 (1) Planning,       zoning,     development,
            and records".                                              surveying, siting;
         However, we will pay for direct physical loss             (2) Design, specifications, workmanship,
         or damage caused by resulting fire or                         repair,      construction,    renovation,
         explosion if these causes of loss would be                    remodeling, grading, compaction;
         covered by this Coverage Form.                            (3) Materials used in repair, construction,
                                                                       renovation or remodeling; or
                                                                   (4) Maintenance;
                                                                    of part or all of any property on or off the
                                                                    described premises.




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   4. Additional Exclusion                                            (2) That a part or • all of the described
      The following applies only to the property                          premises is rendered untenantable, if
      specified in this Additional Exclusion:                             coverage for Business Income applies.
      Loss Or Damage To Products ~                               6. Accounts Receivable Exclusion
      We will not pay for loss or damage to any                     The following additional exclusion applies to
      merchandise, goods or other product caused                    the Accounts Receivable Coverage Extension:
      by or resulting from error or omission by any                 We will not pay for:   ,
      person or entity (including those having
                                                                    a. Loss or damage caused by or resulting
      possession under an arrangement where work
                                                                       from alteration, falsiflcation, concealment or
      or a portion of the work is outsourced) in any
                                                                       destruction of records           of accounts
      stage of the development, production or use of
                                                                       receivable done to conceal the wrongful
      the product, including planning, testing,
                                                                       giving, taking or withholding of "money",
      processing,        packaging,        installation,               "securities" or other property.
      maintenance or repair. This exclusion applies
      to any effect that compromises the form,                          This exclusion applies only to the extent of
      substance or quality of the product. But if such                  the wrongful giving, taking or withholding.
      error or omission results in a Covered Cause of               b. Loss or damage caused by or resulting
      Loss, we will pay for the loss or damage                         from bookkeeping, accounting or billing
      caused by that Covered Cause of Loss.                            errors or omissions.
   5. Business Income And Extra Expense                             c. Any loss or damage that requires any audit
      Exclusions                                                       of records or any inventory computation to
      a. We will not pay for:                                          prove its factual existence.
        (1) Any Extra Expense, or increase of                 C. Limits Of Insurance
            Business Income loss, caused by or                   1. The most we will pay for loss or damage in any
            resulting from:                                         one occurrence is the applicable Limits Of
            (a) Delay in . rebuilding, repairing or                 Insurance of Section I— Property shown in the
                replacing the property or resuming                  Declarations.
                "operations", due to interference at             2. The most we will pay for loss of or damage to
                the location of the rebuilding, repair              outdoor signs attached to buildings is $1,000
                or replacement by strikers or other                 per sign in any one occurrence.
                persons; or
                                                                 3. The amounts of insurance applicable to the
           (b) Suspension, lapse or cancellation of                 Coverage Extensions and the following
               any license, lease or contract. But if               Additional Coverages apply in accordance with
               the suspension, lapse or cancellation                the terms of such coverages and are in
               is directly caused by the suspension ;               addition to the Limits of Insurance of Section I
               of "operations", we will cover such                  — Property:
               loss that affects your Business
                                                                    a. Fire Department Service Charge;
               Income during the "period of
               restoration" and any extension of the                b. Pollutant Clean-up And Removal;
               "period of restoration" in accordance                c. Increased Cost Of Construction;
               with the terms of the Extended
               Business       Income                                d. Business    Income      From      Dependent
                                           Additional
               Coverage.                                               Properties;
        (2) Any other consequential loss.                           e. Electronic Data; and

      b. With respect to this exclusion, suspension                  f. Interruption Of Computer Operations.
         means:                                                 4. Building Limit — Automatic Increase
        (1) The partial slowdown or complete                        a. In accordance with Paragraph C.4.b., the
            cessation of your business activities;                     Limit of Insurance for Buildings will
            and                                                        automatically increase by 8%, unless a
                                                                       different percentage of annual increase is
                                                                       shown in the Declarations.




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      b. The amount of increase is calculated as                D. Deductibles
         follows:                                                  1. We will not pay for loss or damage in any one
        (1) Multiply the Building limit that applied on               occurrence until the amount of loss or damage
              the most recent of the policy inception                 exceeds the Deductible shown in the
              date, the policy anniversary date or any                Declarations. We will then pay the amount of
              other policy change amending the                        loss or damage in excess of the Deductible up
              Building limit by:                                      to the applicable Limit of Insurance of Section I
            (a) The percentage of annual increase                     — Property.
                 shown        in   the    Declarations,            2. Regardless of the amount of the Deductible,
                 expressed as a decimal (example:                     the most we will deduct from any loss or
                 7% is .07); or                                       damage under all of the following Optional
             (b) .08, if no percentage of annual                      Coverages in any one occurrence is the
                 increase       is   shown    in    the               Optional Coverage Deductible shown in the
                 Declarations; and                                    Declarations:
        (2) Multiply the number calculated in                         a. Money and Securities;
            accordance with b.(1) by the number of                    b. Employee Dishonesty;
            days since the beginning of the current                   c. Outdoor Signs; and
            policy year, or the effective date of the
            most recent policy change amending the                    d. Forgery or Alteration.
            Building limit, divided by 365.                           But this Optional Coverage Deductible will not
         Example                                                      increase the Deductible shown in the
                                                                      Declarations. This Deductible will be used to
         If:                                                          satisfy the requirements of the Deductible in
         The applicable Building limit is $100,000.                   the Declarations.
         The annual percentage increase is 8%. The                 3. No deductible applies        to    the   following
         number of days since the beginning of the                    Additional Coverages:
         policy year (or last policy change) is 146.
                                                                      a. Fire Department Service Charge;
         The amount of increase is
                                                                      b. Business Income;
         $100,000 x .08 x 146 = 365 = $3,200.
                                                                      c. Extra Expense;
   5. Business Personal Property Limit —
      Seasonal Increase                                               d. Civil Authority; and
      a. Subject to Paragraph 5.b., the Limit of                      e. Fire Extinguisher Systems             Recharge
         Insurance for Business Personal Property is                     Expense.
         automatically increased by:                            E. Property Loss Conditions
        (1) The Business Personal Property —                       1. Abandonment
            Seasonal Increase percentage shown in
                                                                      There can be no abandonment of any property
            the Declarations; or
                                                                      to us.
        (2)25% if no Business Personal Property —
                                                                   2. Appraisal
             Seasonal Increase percentage is shown
             in the Declarations;                                     If we and you disagree on the amount of loss,
                                                                      either may make written demand for an
         to provide for seasonal variances.
                                                                      appraisal of the loss. In this event, each party
      b. The increase described in Paragraph 5.a.                     will select a competent and impartial appraiser.
         will apply only if the Limit Of Insurance                    The two appraisers will select an umpire. If
         shown for Business Personal Property in                      they cannot agree, either may request that
         the Declarations is at least 100% of your                    selection be made by a judge of a court having
         average monthly values during the lesser                     jurisdiction. The appraisers will state separately
         of:                                                          the amount of loss. If they fail to agree, they
        (1) The 12 months immediately preceding                       will submit their differences to the umpire. A
             the date the loss or damage occurs; or                   decision agreed to by any two will be binding.
                                                                      Each party will:
        (2) The period of time you have been in
             business as of the date the loss or                      a. Pay its chosen appraiser; and
             damage occurs.                                           b. Bear the other expenses of the appraisal
                                                                          and umpire equally.




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     If there is an appraisal, we will still retain our           b. We may examine any insured under oath,
     right to deny the claim.                                        while not in the presence of any other
  3. Duties In The Event Of Loss Or Damage                           insured and at such times as may be
                                                                     reasonably required, about any matter
     a. You must see that the following are done in                  relating to this insurance or the claim,
          the event of loss or damage to Covered                     including an insured's books and records. In
          Property:                                                  the event of an examination, an insured's
         (1) Notify the police if a law may have been                answers must be signed.
             broken.                                           4. Legal Action Against Us
         (2) Give us prompt notice of the loss or                 No one may bring a legal action against us
             damage. Include a description of the                 under this insurance unless:
             property involved.
                                                                  a. There has been full compliance with all of
         (3) As soon as possible, give us a                          the terms of this insurance; and
             description of how, when and where the
             loss or damage occurred.                             b. The action is brought within two years after
                                                                     the date on which the direct physical loss or
        (4) Take all reasonable steps to protect the                 damage occurred.
            Covered Property from further damage,
            and keep a record of your expenses                 5. Loss Payment
            necessary to protect the Covered                      In the event of loss or damage covered by this
            Property, for consideration in the                    policy:
            settlement of the claim. This will not                a. At our option, we will either:
            increase the Limits of Insurance of
            Section I— Property. However, we will                   (1) Pay the value of lost or damaged
            not pay for any subsequent loss or                          property;
            damage resulting from a cause of loss                   (2) Pay the cost of repairing or replacing the
            that is not a Covered Cause of Loss.                        lost or damaged property;
            Also, if feasible, set the damaged                      (3) Take all or any part of the property at an
            property aside and in the best possible                      agreed or appraised value; or
            order for examination.
                                                                    (4) Repair, rebuild or replace the property
        (5) At our request, give us complete                             with other property of like kind and
            inventories of the damaged and
                                                                         quality, subject to Paragraph d.(1)(e)
            undamaged property. Include quantities,
                                                                         below.
            costs, values and amount of loss
            claimed.                                              b. We will give notice of our intentions within
                                                                     30 days after we receive the sworn proof of
        (6) As often as may be reasonably required,
                                                                     loss.
            permit us to inspect the property proving
            the loss or damage and examine your                   c. We will not pay you more than your
            books and records.                                       financial interest in the Covered Property.
            Also permit us to take samples of                     d. Except as provided in Paragraphs (2)
            damaged and undamaged property for                       through (7) below, we will determine the
            inspection, testing and analysis, and                    value of Covered Property as follows:
            permit us to make copies from your                       (1) At replacement cost without deduction
            books and records.                                           for depreciation, subject to the following:
        (7) Send us a signed, sworn proof of loss                       (a) If, at the time of loss, the Limit of
            containing the information we request to                         Insurance on the lost or damaged
            investigate the claim. You must do this                          property is 80% or more of the full
            within 60 days after our request. We will                        replacement cost of the property
            supply you with the necessary forms.                             immediately before the loss, we will
        (8) Cooperate with us in the investigation or                        pay the cost to repair or replace,
            settlement of the claim.                                         after application of the deductible
                                                                             and       without     deduction      for
        (9) Resume all or part of your "operations"
                                                                             depreciation, but not more than the
            as quickly as possible.                                          least of the following amounts:
                                                                             (i) The Limit of Insurance under
                                                                                 Section I— Property that applies
                                                                                 to the lost or damaged property;




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               (ii) The cost to replace, on the same                     (c) You may make a claim for loss or
                     premises, the lost or damaged                             damage covered by this insurance
                     property with other property:                             on an actual cash value basis
                      i. Of comparable material and                           instead of on a replacement cost
                         quality; and                                          basis. In the event you elect to have
                                                                              loss or damage settled on an actual
                     ii. Used for the same purpose;                            cash value basis, you may still make
                         or                                                   a claim on a replacement cost basis
              (iii) The amount that you actually                              if you notify us of your intent to do so
                     spend that is necessary to repair                        within 180 days after the loss or
                     or replace the lost or damaged                           damage.
                     property.                                           (d) We will not pay on a replacement
                If a building is rebuilt at a new                             cost basis for any loss or damage:
                premises, the cost is limited to the                          (i) Until the lost or damaged
                cost which would have been incurred                                property is actually repaired or
                had the building been built at the                                 replaced; and
                original premises.
                                                                             (ii) Unless the repair or replacement
           (b) If, at the time of loss, the Limit of                              is made as soon as reasonably
                Insurance applicable to the lost or                               possible after the loss or
                damaged property is less than 80%                                 damage.
                of the full replacement cost of the
                property immediately before the loss,                         However, if the cost to repair or
                we will pay the greater of the                                replace the damaged building
                following amounts, but not more than                          property is $2,500 or less, we will
                the Limit of Insurance that applies to                        settle the loss according to the
                the property:                                                 provisions of Paragraphs d.(1)(a)
                                                                              and d.(1)(b) above whether or not
                (i) The actual cash value of the lost                         the actual repair or replacement is
                     or damaged property; or                                  complete.
               (ii) A proportion of the cost to repair                   (e) The cost to repair, rebuild or replace
                    or replace the lost or damaged                            does not inciude the increased cost
                    property, after application of the                        attributable to enforcement of or
                    deductible and without deduction                          compliance with any ordinance or
                    for depreciation. This proportion                         law regulating the construction, use
                    will equal the ratio of the                               or repair of any property.
                    applicable Limit of Insurance to
                    80% of the full replacement cost                  (2) If the Actual Cash Value — Buildings
                    of the property.                                      option applies, as shown in the
                                                                          Declarations, Paragraph (1) above does
                    Example                                               n.ot apply to Buildings. Instead, we will
                  The full replacement cost of                            determine the value of Buildings at
                  property which sufFers a total loss                     actual cash value.
                  is $100,000. The property is                        (3) The following property at actual cash
                  insured for $70,000. 80% of the                         value:
                  full replacement cost of the
                  property immediately before the                        (a) Used or secondhand merchandise
                  loss is $80,000 ($100,000 x .80 =                          held in storage or for sale;
                  $80,000). A partial loss of                            (b) Property of others. However, if an
                  $25,000 is sustained. The                                  item(s) of personal property of others
                  amount of recovery is determined                           is subject to a written contract which
                  as follows:                                                governs your liability for .loss or
                  Amount of recoyery                                         damage to that item(s), then
                                                                             valuation of that item(s) will be based
                  $70,000 = $80,000 = .875                                   on the amount for which you are
                  .875 x $25,000 = $21,875                                   liable under such contract, but not to
                                                                             exceed the lesser of the replacement
                                                                             cost of the property or the applicable
                                                                             Limit of Insurance;




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           (c) Household contents, except personal                         (ii) We will adjust that total for any
               property in apartments or rooms                                  normal fluctuations in the amount
               furnished by you as landlord;                                    of accounts receivable for the
           (d) Manuscripts; and                                                 month in which the loss or
                                                                                damage occurred or for any
           (e) Works of art, antiques or rare                                   demonstrated variance from the
                articles, including etchings, pictures,                         average for that month.
                statuary, marble, bronzes, porcelain
                and bric-a-brac.                                        (b) The following will be deducted from
                                                                            the total amount of accounts
        (4) Glass at the cost of replacement with                           receivable, however that amount is
            safety glazing material if required by                          established:
            law.
                                                                            (i) The amount of the accounts for
        (5) Tenants' improvements and betterments                               which there is no loss or damage;
            at:
                                                                              (ii) The amount of the accounts that
           (a) Replacement cost if you make                                         you are able to reestablish or
                repairs promptly.                                                   collect;
           (b) A proportion of your original cost if                         (ii'i) An amount to allow for probable
               you do not make repairs promptly.                                    bad debts that you are normally
               We will determine the proportionate                                  unable to collect; and
               value as follows:
                                                                             (iv) AII unearned interest and service
                 (i) Multiply the original cost by the                              charges.
                       number of days from the loss or
                       damage to the expiration of the             e. Our payment for loss of or damage to
                     . lease; and                                      personal property of others will only be for
                                                                       the account of the owners of the property.
                 (ii) Divide the amount determined in                  We may adjust losses with the owners of
                       (i) above by the number of days                 lost or damaged property if other than you.
                       from     the    installation   of               If we pay the owners, such payments will
                       improvements to the expiration of               satisfy your claims against us for the
                       the lease.                                      owners' property. We will not pay the
               If your lease contains a renewal                        owners more than their financial interest in
               option, the expiration of the renewal                   the Covered Property.
               option period will replace the                       f. We may elect to defend you against suits
               expiration of the lease in this                         arising from claims of owners of property.
               procedure.                                              We will do this at our expense.
           (c) Nothing if others pay for repairs or                g. We will pay for covered loss or damage
               replacement.                                            within 30 days after we receive the sworn
        (6) Applicable only to the Optional                            proof of loss, provided you have complied
            Coverages:                                                 with all of the terms of this policy, and:
           (a) "Money" at its face value; and                         (1) We have reached agreement with you
                                                                           on the amount of loss; or
           (b) "Securities" at their value at the close
               of business on the day the loss is                    (2) An appraisal award has been made.
               discovered.
        (7) Applicable only to accounts receivable:
           (a) If you cannot accurately establish the
               amount of accounts receivable
               outstanding as of the time of loss or
               damage:
               (i) We will determine the total of the
                   average monthly amounts of
                   accounts receivable for the 12
                   months immediately preceding
                   the month in which the loss or
                   damage occurs; and




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      h. A party wall is a wall that separates and is           8. Vacancy
          common to adjoining buildings that are                   a. Description Of Terms
          owned by different parties. In settling
          covered losses involving a party wall, we                  (1) As used in this Vacancy Condition, the
          will pay a proportion of the loss to the party                 term building and the term vacant have
          wall based on your interest in the wall in                     the meanings set forth in Paragraphs (a)
          proportion to the interest of the owner of the                 and (b) below:
          adjoining building. However, if you elect to                  (a) When this policy is issued to a
          repair or replace your building and the                           tenant, and with respect to that
          owner of the adjoining building elects not to                     tenant's interest in Covered Property,
          repair or replace that building, we will pay                      building means the unit or suite
          you the full value of the loss to the party                       rented or leased to the tenant. Such
          wall, subject to all applicable policy                            building is vacant when it does not
          provisions including Limits of Insurance and                      contain enough business personal
          all other provisions of this Loss Payment                         property to conduct customary
          Condition. Our payment under the                                  operations.
          provisions of this paragraph does not alter
                                                                        (b) When this policy is issued to the
          any right of subrogation we may have
                                                                            owner or general lessee of a
          against any entity; including the owner or
                                                                            building, building means the entire
          insurer of the adjoining building, and does
                                                                            building. Such building is vacant
          not alter the terms of the Transfer Of Rights
                                                                            unless at least 31% of its total
          Of Recovery Against Others To Us
                                                                            square footage is:
          Condition in this policy.
                                                                               (i) Rented to a lessee or sublessee
   6. Recovered Property
                                                                                   and used by the lessee or
      If either you or we recover any property after                               sublessee    to   conduct     its
      loss seftlement, that party must give the other                              customary•operations; and/or
      prompt notice. At your option, you may retain
                                                                              (ii) Used by the building owner to
      the property. But then you must return to us the
                                                                                   conduct customary operations.
      amount we paid to you for the property. We will
      pay recovery expenses and the expenses to                      (2) Buildings       under    construction    or
      repair the recovered property, subject to the                        renovation are not considered vacant.
      Limits of Insurance of Section I— Property.                  b. Vacancy Provisions
   7. Resumption Of Operations                                        If the building where loss or damage occurs
      We will reduce the amount of your:                              has been vacant for more than 60
                                                                      consecutive days before that loss or
      a. Business Income loss, other than Extra
                                                                      damage occurs:
          Expense, to the extent you can resume
          your "operations", in whole or in part, by                 (1) We will not pay for any loss or damage
          using damaged or undamaged property                              caused by any of the following even if
          (including merchandise or stock) at the                          they are Covered Causes of Loss:
          described premises or elsewhere.                                (a) Vandalism;
      b. Extra Expense loss to the extent you can                       (b) Sprinkler leakage, unless you have
          return "operations" to normal and                                 protected the      system   against
          discontinue such Extra Expense.                                   freezing;




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           (c) Building glass breakage;                            e. If we pay the mortgageholder for any loss
           (d) Water damage;                                          or damage and deny payment to you
                                                                      because of your acts or because you have
           (e) Theft; or                                              failed to comply with the terms of this
            (f) Attempted theft.                                      policy:
        (2) With respect to Covered Causes of Loss                   (1) The mortgageholder's rights under the
            other than those listed in Paragraphs                         mortgage will be transferred to us to the
            (1)(a) through (1)(f) above, we will                          extent of the amount we pay; and
            reduce the amount we would otherwise                     (2) The mortgageholder's right to recover
            pay for the loss or damage by 15%.                            the full amount of the mortgageholder's
F. Property General Conditions                                            claim will not be impaired.
   1. Control Of Property                                             At our option, we may pay to the
      Any act or neglect of any person other than                     mortgageholder the whole principal on the
      you beyond your direction or control will not                   mortgage plus any accrued interest. In this
      affect this insurance.                                          event, your mortgage and note will be
                                                                      transferred to us and you will pay your
      The breach of any condition of this Coverage                    remaining mortgage debt to us.
      Form at any one or more locations will not
      affect coverage at any location where, at the                f. If we cancel this policy, we will give written
      time of loss or damage, the breach of condition                 notice to the mortgageholder at least:
      does not exist.                                                (1) 10 days before the effective date of
   2. Mortgageholders                                                     cancellation if we cancel for your
                                                                          nonpayment of premium; or
      a. The term "mortgageholder" includes
         trustee.                                                    (2) 30 days) before the effective date of
                                                                          cancellation if we cancel for any other
      b. We will pay for covered loss of or damage                        reason.
         to buildings or structures to each
         mortgageholder shown in the Declarations                  g. If we elect not to renew this policy, we will
         in their order of precedence, as interests                   give written notice to the mortgageholder at
         may appear.                                                  least 10 days before the expiration date of
                                                                      this policy.
      c. The mortgageholder has the right to receive
         loss payment even if the mortgageholder                3. No Benefit To Bailee
         has started foreclosure or similar action on              No person or organization, other than you,
         the building or structure.                                having custody of Covered Property will benefit
      d. If we deny your claim because of your acts                from this insurance.
         or because you have failed to comply with              4. Policy Period, Coverage Territory
         the terms of this policy, the mortgageholder              Under Section I — Property:
         will still have the right to receive loss
         payment if the mortgageholder:                            a. We cover loss or damage commencing:
        (1) Pays any premium due under this policy                   (1) During the policy period shown in the
             at our request if you have failed to do                     Declarations; and
             so;                                                     (2) Within the coverage territory or, with
        (2) Submits a signed, sworn proof of loss                        respect to property in transit, while it is
             within 60 days after receiving notice                       between points in the coverage territory.
             from us of your failure to do so; and                 b. The coverage territory is:
        (3) Has notified us of any change in                         (1) The United States of America (including
             ownership, occupancy or substantial                         its territories and possessions);
             change in risk known to the                             (2) Puerto Rico; and
             mortgageholder.
                                                                     (3) Canada.
         AII of the terms of this policy will then apply
         directly to the mortgageholder.




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G. Optional Coverages                                                  b. In addition to the Limitations and Exclusions
   If shown as applicable in the Declarations, the                        applicable to Section I— Property, we will
   following Optional Coverages also apply. These                         not pay for loss:
   coverages are subject to the terms and conditions                     (1) Resulting      from     accounting        or
   applicable to property coverage in this policy,                           arithmetical errors or omissions;
   except as provided below:                                             (2) Due to the giving or surrendering of
   1. Outdoor Signs                                                          property in any exchange or purchase;
      a. We will pay for direct physical loss of or                          or
         damage to all outdoor signs at , the                            (3) Of property contained in any "money"-
         described premises:                                                 operated device unless the amount of
                                                                             i
        (1) Owned by you; or                                                   money,~ deposited in it is recorded by a
                                                                             continuous recording instrument in the
        (2) Owned by others but in your care,                                device.
            custody or control.
                                                                       c. The most we will pay for loss in any one
      b. Paragraph A.3., Covered Causes Of Loss                           occurrence is:
         and Paragraph B., Exclusions in Section I—
         Property do not apply to this Optional                          (1) The limit shown in the Declarations for
         Coverage, except for:                                               Inside the Premises for "money" and
                                                                             "securities" while:
        (1) Paragraph B.1.c., G'overnmental Action;
                                                                             (a) In or on the described premises; or
        (2) Paragraph B.1.d., Nuclear Hazard; and
                                                                             (b) Within a bank or savings institution;
        (3) Paragraph B.1.f., War And Military                                   and
            Action.
                                                                         (2) The limit shown in the Declarations for
      c. We will not pay for loss or damage caused                           Outside the Premises for "money" and
         by or resulting from:                                               "securities" while anywhere else.
        (1) Wear and tear;                                             d. AII loss:
        (2) Hidden or latent defect;                                     (1) Caused by one or more persons; or
        (3) Rust;                                                        (2) Involving a single act or series of related
        (4) Corrosion; or                                                    acts;
        (5) Mechanical breakdown.                                         is considered one occurrence.
      d. The most we will pay for loss or damage in                    e. You must keep records of all "money" and
         any one occurrence is the Limit Of                               "securities" so we can verify the amount of
         Insurance for Outdoor Signs shown in the                         any loss or damage.
         Declarations.                                              3. Employee Dishonesty
      e. The provisions of this Optional Coverage                      a. We will pay for direct loss of or damage to
         supersede all other references to outdoor                        Business Personal Property and "money"
         signs in this policy.                                            and "securities" resulting from dishonest
   2. Money And Securities                                                acts committed by any of your employees
                                                                          acting alone or in collusion with other
      a. We will pay for loss of "money" and
                                                                          per                    or your partner) with
         "securities" used in your business while at a
                                                                          the manifestinpent to!
         bank or savings institution, within your living
         quarters or the living quarters of your                         (1) Cause you to sustain loss or damage;
         partners or any employee (including a                               and also
         temporary or leased employee) having use                        (2) Obtain financial benefit (other than
         and custody of the property, at the                                 salaries, commissions, fees, bonuses,
         described premises, or in transit between                           promotions, awards, profit sharing,
         any of these places, resulting directly from:                       pensions or other employee benefits
        (1) Theft, meaning any act of stealing;                              earned in the normal course of
                                                                             employment) for:
        (2) Disappearance; or
        (3) Destruction.                                                     (a) Any employee; or
                                                                             (b) Any other person or organization.




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      b. We will not pay for loss or damage:                        f. This Optional Coverage is cancelled as to
        (1) Resulting from any dishonest or criminal                    any employee immediately upon discovery
            act that you or any of your partners or                     by:
            "members" commit whether acting alone                      (1) You; or
            or in collusion with other persons.                        (2) Any of your partners, "members",
        (2) Resulting from any dishonest act                                "managers", officers or directors not in
            committed by any of your employees                              collusion with the employee;
            (except as provided in Paragraph a.),                       of any dishonest act committed by that
            "managers" or directors:                                    employee before or after being hired by
           (a) Whether acting alone or in collusion                     you.
                with other persons; or                              g. We will pay only for covered loss or
           (b) While performing services for you or                     damage sustained during the policy period
                otherwise.                                              and discovered no later than one year from
        (3) The only proof of which as to its                           the end of the policy period.
            existence or amount is:                                 h. If you (or any predecessor in interest)
            (a) An inventory computation; or                            sustained loss or damage during the policy
                                                                        period of any prior insurance that you could
            (b) A profit and loss computation.                          have recovered under that insurance
        (4) Caused by an employee if the employee                       except that the time within which to
             had also committed theft or any other                      discover loss or damage had expired, we
             dishonest act prior to the effective date                  will pay for it under this Optional Coverage,
             of this policy and you or any of your                      provided:
             partners,     "members",    "managers",                   (1) This     Optional     Coverage became
             officers, directors or trustees, not in                        effective at the time of cancellation or
              collusion with the employee, learned of                       termination of the prior insurance; and
             that theft or dishonest act prior to the
             policy period shown in the Declarations.                  (2) The loss or damage would have been
                                                                            covered by this Optional Coverage had
      c. The most we will pay for loss or damage in                         it been in effect when the acts or events
         any one occurrence is the Limit Of                                 causing the loss or damage were
         Insurance for Employee Dishonesty shown                            committed or occurred.
         in the Declarations.
                                                                     i. The insurance under Paragraph h. above is
      d. AII loss or damage:                                            part of, not in addition to, the Limit of
        (1) Caused by one or more persons; or                           Insurance applying ' to this Optional
        (2) Involving a single act or series of acts;                   Coverage and is limited to the lesser of the
                                                                        amount recoverable under:
         is considered one occurrence.
                                                                      (1) This Optional Coverage         as   of its
      e. If any loss is covered:                                          effective date; or
        (1) Partly by this insurance; and                             (2) The prior insurance had it remained in
        (2) Partly by any prior cancelled or                              effect.
             terminated insurance that we or any                    j. With respect to the Employee Dishonesty
            affiliate had issued to you or any                         Optional Coverage in Paragraph G.3.,
             predecessor in interest;                                  employee means:
         the most we will pay is the larger of the                    (1) Any natural person:
         amount recoverable under this insurance or
         the prior insurance.                                            (a) While in your service or for 30 days
                                                                             after termination of service;
         We will pay only for loss or damage you
         sustain through acts committed or events                        (b) Who you compensate directly by
         occurring during the policy period.                                 salary, wages or commissions; and
         Regardless of the number of years this                          (c) Who you have the right to direct and
         policy remains in force or the number of                            control while performing senrices for
         premiums paid, no Limit of Insurance                                you;
         cumulates from year to year or period to
         period.




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         (2) Any natural person who is furnished                      b. Paragraphs     A.4.a.(1)   and    A.4.a.(2),
               temporarily to you:                                       Limitations, do not apply to this Optional
              (a) To substitute for a permanent                          Coverage.
                   employee, as defined in Paragraph                  c. With respect to the coverage provided by
                   (1) above, who is on leave; or                        this Optional Coverage, the following
              (b) To meet seasonal or short-term                         exclusions in Paragraph B. Exclusions do
                   workload conditions;                                  not apply:
         (3) Any natural person who is leased to you                    (1) Paragraph B.2.a., Electrical Apparatus;
               under a written agreement between you                    (2) Paragraph B.2.d., Steam Apparatus;
               and a labor leasing firm, to perform                          and       1


               duties related to the conduct of your                    (3) Paragraph       B.2.1.(6),       Mechanical
               business, but does not mean a                                Breakdown.
               temporary employee as defined in
               Paragraph (2) above;                                   d. With respect to the coverage provided by
                                                                          this     Optional     Coverage,     Paragraph
         (4) Any natural person who is a former                            G.1.c.(5) of the Outdoor Signs Optional
               employee, director, partner, member,                       Coverage does not apply.
               manager, representative or trustee
               retained as a          consultant while                e. If a dollar deductible is shown in the
               performing services for you; or                            Declarations for this Optional Coverage, we
                                                                          will first subtract the applicable deductible
         (5) Any natural person who is a guest                            amount from any loss we would otherwise
               student or intern pursuing studies or                      pay. We will then pay the amount of loss in
               duties, excluding, however, any such                       excess of the applicable deductible up to
               person while having care and custody of                    the applicable limit for this coverage.
               property outside any building you
               occupy in conducting your business.                         If no optional deductible is chosen for this
                                                                           Optional Coverage, the Property Deductible
          But employee does not mean:                                      shown in the Declarations applies.
         (1) Any agent, broker, factor, commission                     f. With respect to Additional Coverages 5.f.
               merchant,     consignee,      independent                  Business Income and 5.g. Extra Expense, if
               contractor or representative of the same                   the 72-hour time period in the definition of
               general character; or                                      "period of restoration" (hereinafter referred
         (2) Any "manager", director or trustee                           to as time deductible) is amended for this
               except while performing acts coming                        Optional Coverage as shown in the
               within the usual duties of an employee.                    Declarations, we will not pay for any
   4. Equipment Breakdown Protection Coverage                             Business Income loss that occurs during
                                                                          the consecutive number of hours shown as
      a. We will pay for direct loss of or damage to                      the time deductible in the Declarations
          Covered Property caused by or resulting                         immediately      following     a   mechanical
          from a mechanical breakdown or electrical                       breakdown or electrical failure. If a time
          failure to pressure, mechanical or electrical                   deductible is shown in days, each day shall
          machinery and equipment.                                        mean 24 consecutive hours.
          Mechanical breakdown or electrical failure                       With respect to the coverage provided by
          to pressure, mechanical or electrical                           this Optional Coverage, any time deductible
          machinery and equipment does not mean                           shown in the Declarations for Equipment
          any:                                                            Breakdown          Protection        Coverage
        (1) Malfunction including but not limited to                      supersedes any time deductible otherwise
               adjustment,     alignment,      calibration,               applicable to the Business Income
               cleaning or modification;                                  coverage provided by this policy.
        (2) Leakage at any valve, fitting, shaft seal,                g. With respect to the coverage provided by
               gland packing, joint or connection;                        this Optional Coverage, Paragraph H.
        (3) Damage to any vacuum tube, gas tube,                          Property Definitions is amended as
               or brush; or                                               follows:
        (4) The functioning of any safety or                              1. "Computer" means:
               protective device.                                              a. Programmable electronic equipment
                                                                                  that is used to store, retrieve and
                                                                                  process data; and




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              b. Associated peripheral equipment              2. "Counterfeit money" means an imitation of
                 that     provides     communication,            "money" that is intended to deceive and to be
                 including input and output functions            taken as genuine.
                 such as printing and auxiliary               3. "Electronic data" means information, facts or
                 functions such as data transmission.            computer programs stored as or on, created or
         "Computer" includes those used to operate               used on, or transmitted to or from computer
         production-type machinery or equipment.                 software (including systems and applications
      h. Whenever        any      covered    pressure,           software), on hard or floppy disks, CD-ROMs,
         mechanical or electrical machinery and                  tapes, drives, cells, data processing devices or
         equipment is found to be in, or exposed to,             any other repositories of computer software
         a dangerous condition, any of our                       which are used with electronically controlled
         representatives may suspend coverage                    equipment. The term computer programs,
         provided by this Optional Coverage for loss             referred to in the foregoing description of
         from a mechanical breakdown or electrical               electronic data, means a set of related
         failure to that pressure, mechanical or                 electronic instructions which direct the
         electrical machinery and equipment.                     operations and functions of a"computer" or
                                                                 device connected to it, which enable the
         However, coverage provided by this                      "computer" or device to receive, process, store,
         Optional Coverage may be reinstated for                 retrieve or send data.
         loss from a mechanical breakdown or
         electrical failure      to that     pressure,        4. "Fungi" means any type or form of fungus,
         mechanical or electrical machinery and                  including mold or mildew, and any mycotoxins,
         equipment if the reasons for the suspension             spores, scents or by-products produced or
         are found by any of our representatives to              released by fungi.
         no longer exist.                                     5. "Manager" means a person serving in a
         We may suspend or reinstate this Optional               directorial capacity for a limited liability
         coverage by mailing or delivering a written             company.
         notification regarding the suspension or             6. "Member" means an owner of a limited liability
         reinstatement to:                                       company represented by its membership
        (1) Your last known address; or                          interest, who also may serve as a"manager".
        (2) The address where the pressure,                   7• "Money" means:
             mechanical or electrical machinery and              a. Currency, coins and bank notes in current
             equipment is located.                                  use and having a face value; and
         This notification will indicate the effective           b. Traveler's checks, register checks and
         date of the suspension or reinstatement.                   money orders held for sale to the public.
         If the coverage provided by this Optional            8. "Operations" means your business activities
         Coverage is not reinstated, you will get a              occurring at the described premises.
         pro rata refund of premium. But the                  9. "Period of restoration":
         suspension will be efPective even if we have
         not yet made or offered a refund.                       a. Means the period of time that:
H. Property Definitions                                            (1) Begins:
   1. "Computer" means:                                                (a) 72 hours after the time of direct
                                                                           physical loss or damage for
      a. Programmable electronic equipment that is                         Business Income Coverage; or
         used to store, retrieve and process data;
         and                                                           (b) Immediately after the time of direct
                                                                           physical loss or damage for Extra
      b. Associated peripheral equipment that                              Expense Coverage;
         provides communication, including input
         and output functions such as printing and                      caused by or resulting from any Covered
         auxiliary   functions    such  as    data                      Cause of Loss at the described
         transmission.                                                  premises; and
      "Computer" does not include those used to
      operate     production-type   machinery   or
      equipment.




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        (2) Ends on the earlier of:                                 b. Failing objects does not include loss of or
            (a) The date when the property at the                      damage to:
                 described premises should be                         (1) Personal property in the open; or
                 repaired, rebuilt or replaced with                   (2) The interior of a building or structure, or
                 reasonable speed and similar                             property inside a building or structure,
                 quality; or.                                             unless the roof or an outside wall of the
           (b) The date when business is resumed                          building or structure is first damaged by
                 at a new permanent location.                             a falling object.
      b. Does not include any increased period                      c. Water damage means:
         required due to the enforcement of or                        (1) Accidental discharge or leakage of
         compliance with any ordinance or law that:                       water or steam as the direct result of the
        (1) Regulates the construction, use or                            breaking apart or cracking of any part of
             repair, or requires the tearing down of                      a system or appliance (other than a
             any property; or                                             sump system including its related
        (2) Requires any insured or others to test                        equipment and parts) containing water
             for, monitor, clean up, remove, contain,                     or steam; and
             treat, detoxify or neutralize, or in any                   (2) Accidental discharge or leakage of
             way respond to, or assess the effects of                        water or waterborne material as the
             "pollutants".                                                   direct result of the breaking apart or
      The expiration date of this policy will not cut                        cracking of a water or sewer pipe that is
      short the "period of restoration".                                     located off the described premises and
                                                                             is part of a municipal potable water
  10. "Pollutants" means any solid, liquid, gaseous or                       supply system or municipal sanitary
      thermal irritant or contaminant, including                             sewer system, if the breakage or
      smoke, vapor, soot, fumes, acids, alkalis,                             cracking is caused by wear and tear.
      chemicals and waste. Waste includes materials
      to be recycled, reconditioned or reclaimed.                        But water damage does not include loss or
                                                                         damage otherwise excluded under the
  11. "Securities"     means       negotiable      and                   terms of the Water Exclusion. Therefore, for
      nonnegotiable     instruments     or    contracts                  example, there is no coverage in the
      representing either "money" or other property                      situation in which discharge or leakage of
      and includes:                                                      water results from the breaking apart or
      a. Tokens, tickets, revenue and other stamps                       cracking of a pipe which was caused by or
          (whether represented by actual stamps or                       related to weather-induced flooding, even if
          unused value in a meter) in current use;                       wear and tear contributed to the breakage
          and                                                            or cracking. As another example, and also
      b. Evidences of debt issued in connection with                     in accordance with the terms of the Water
         credit or charge cards, which cards are not                     Exclusion, there is no coverage for loss or
         issued by you;                                                  damage caused by or related to weather-
                                                                         induced flooding which follows or is
      but does not include "money".                                      exacerbated by pipe breakage or cracking
  12. "Specified causes of loss" means the following:                    attributable to wear and tear.
      Fire; lightning; explosion; windstorm or hail;                     To the extent that accidental discharge or
      smoke; aircraft or vehicles; riot or civil                         leakage of water falls within the criteria set
      commotion; vandalism; leakage from fire                            forth in c.(1) or c.(2) of this definition of
      extinguishing equipment; sinkhole collapse;                        "specified causes of loss", such water is not
      volcanic action; falling objects; weight of snow,                  subject to the provisions of the Water
      ice or sleet; water damage.                                        Exclusion which preclude coverage for
                                                                         surface water or water under the ground
      a. Sinkhole collapse means the sudden
                                                                         surface.
          sinking or collapse of land into underground
          empty spaces created by the action of                 13. "Stock" means merchandise held in storage or
          water on limestone or dolomite. This cause                for sale, raw materials and in-process or
          of loss does not include:                                 finished goods, including supplies used in their
                                                                    packing or shipping.
         (1) The cost of filling sinkholes; or
         (2) Sinking or collapse of land into man-
              made underground cavities.




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  14. "Valuable papers and records" . means                                (c) Prior to the policy period, no insured
      inscribed, printed or written:                                           listed under Paragraph C.1. Who Is
      a. Documents;                                                            An Insured and no "employee"
                                                                               authorized by you to give or receive
      b. Manuscripts; and                                                      notice of an "occurrence" or claim,
      c. Records;                                                              knew that the "bodily injury" or
                                                                               "property damage" had occurred, in
      including abstracts, books, deeds, drawings,
                                                                               whole or in part. If such a listed
      films, maps or mortgages.
                                                                               insured or authorized "employee"
      But "valuable papers and records" does not                               knew, prior to the policy period, that
      mean "money" or "securities".                                            the "bodily injury" or "property
SECTION II — LIABILITY                                                         damage"      occurred,     then    any
                                                                               continuation, change or resumption
A. Coverages
                                                                               of such "bodily injury" or "property
  1. Business Liability                                                        damage" during or after the policy
        We will pay those sums that the insured                                period will be deemed to have been
        becomes - legally obligated to pay as                                  known before the policy period.
        damages because of "bodily injury",                             (2) To "personal and advertising injury"
        "property damage" or "personal and                                  caused by an offense arising out of your
        advertising injury" to which this insurance                         business, but only if the offense was
        applies. We will have the right and duty to                         committed in the "coverage territory"
        defend the insured against any "suit"                               during the policy period.
        seeking those damages. However, we will
                                                                      c. "Bodily injury" or "property damage" which
        have no duty to defend the insured against
                                                                         occurs during the policy period and was
        any "suit" seeking damages for "bodily                           not, prior to the policy period, known to
        injury", "property damage" or "personal and                      have occurred by any insured listed under
        advertising injury" to which this insurance
                                                                         Paragraph C.I. Who Is An Insured or any
        does not apply. We may, at our discretion,                       "employee" authorized by you to give or
        investigate any "occurrence" or any offense
                                                                         receive notice of an "occurrence" or claim,
        and settle any claim or "suit" that may                          includes any continuation, change or
        result. But:                                                     resumption of "bodily injury" or "property
       (1) The amount we will pay for damages is                         damage" after the end of the policy period.
            limited as described in Paragraph D.
                                                                      d. "Bodily injury" or "property damage" will be
            Liability And Medical Expenses Limits
                                                                         deemed to have been known to have
            Of Insurance in Section II — Liability; and
                                                                         occurred at the earliest time when any
       (2) Our right and duty to defend end when                         insured listed under Paragraph C.I. Who Is
            we have used up the applicable Limit of                      An Insured or any "employee" authorized by
            Insurance in the payment of judgments                        you to give or receive notice of an
            or settlements or medical expenses.                          "occurrence" or claim:
         No other obligation or liability to pay sums                   (1) Reports all, or any part, of the "bodily
         or pen`orm acts or services is covered                             injury" or "property damage" to us or any
         unless explicitly provided for under                               other insurer;
         Paragraph f. Coverage Extension —
                                                                        (2) Receives a written or verbal demand or
         Supplementary Payments.
                                                                             claim for damages because of the
      b. This insurance applies:                                             "bodily injury" or "property damage"; or
        (1) To "bodily injury" and "property damage"                    (3) Becomes aware by any other means
            only if:                                                         that "bodily injury" or "property damage"
           (a) The "bodily injury" or "property                              has occurred or has begun to occur.
                damage"      is    caused    by   an                  e. Damages because of "bodily injury" include
                "occurrence" that takes place in the                     damages claimed by any person or
                "coverage territory"; ,                                  organization for care, loss of services or
           (b) The "bodily injury" or "property                          death resulting at any time from the "bodily
                damage" occurs during the policy                         injury".              ,.
                period; and




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      f. Coverage Extension — Supplementary                          (2) If we defend an insured against a"suit"
         Payments                                                        and an indemnitee of the insured is also
        (1) We will pay, with respect to any claim                       named as a party to the "suit", we will
            we investigate or settle, or any "suit"                      defend that indemnitee if all of the
            against an insured we defend:                                following conditions are met:
           (a) AII expenses we incur.                                   (a) The "suit" against the indemnitee
                                                                             seeks damages for which the
           (b) Up to $250 for cost of bail bonds                             insured has assumed the liability of
               required because of accidents or                              the indemnitee in a contract or
               traffic law violations arising out of the                     agreement that is an "insured
               use of any vehicle to which Business                          contract"•
               Liability Coverage for "bodily injury" .                                 '
               applies. We do not have to furnish                       (b) This insurance applies to such
               these bonds.                                                  liability assumed by the insured;
           (c) The cost of bonds to release                             (c) The obligation to defend, or the cost
                 attachments, but only for bond                              of the defense of, that indemnitee,
                 amounts within our Limit of                                 has also been assumed by the
                Insurance. We do not have to furnish                         insured in the same "insured
                these bonds.                                                 contract";
           (d)  AII  reasonable expenses incurred by                    (d) The allegations in the "suit" and the
                the insured at our request to assist                         information we know about the
                us in the investigation or defense of                        "occurrence" are such that no conflict
                the claim or "suit", including actual                        appears to exist between the
                loss of earnings up to $250 a day                            interests of the insured and the
                because of time off from work.                               interests of the indemnitee;
           (e) AII court costs taxed against the                        (e) The indemnitee and the insured ask
                insured in the "suit". However, these                        us to conduct and control the
                payments do not include attorneys'                           defense of that indemnitee against
                fees or attorneys' expenses taxed                            such "suit" and agree that we can
                against the insured.                                         assign the same counsel to defend
                                                                             the insured and the indemnitee; and
            (f) Prejudgment      interest    awarded
                against the insured on that part of                      (fl The indemnitee:
                the judgment we pay. If we make an                           (i) Agrees in writing to:
                offer to pay the Limit of Insurance,                             i. Cooperate with us in the
                we will not pay any prejudgment                                     investigation, settlement or
                interest based on that period of time                               defense of the "suit";
                after the offer.
                                                                                ii. Immediately send us copies of
           (g) All interest on the full amount of any                               any      demands,      notices,
               judgment that accrues after entry of
                                                                                    summonses or legal papers
               the judgment and before we have                                      received in connection with
               paid, offered to pay, or deposited in                                the "suit";
               court the part of the judgment that is
               within bur Limit of Insurance.                                  iii. Notify any other insurer
                                                                                    whose coverage is available
            These payments will not reduce the limit                                to the indemnitee; and
            of liability.




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                      iv. Cooperate with us with                          (c) The injured person submits to
                           respect to coordinating other                       examination, at our expense, by
                           applicable insurance available                      physicians of our choice as often as
                           to the indemnitee; and                              we reasonably require.
                 (ii) Provides        us   with   written           b. We will make these payments regardless of
                       authorization to:                               fault. These payments will not exceed the
                                                                       Limits of Insurance of Section II — Liability.
                        i. Obtain records and other
                                                                       We will pay reasonable expenses for:
                           information related to the
                           "suit"; and                                (1) First aid administered at the time of an
                                                                           accident;
                      ii. Conduct and control the
                           defense of the indemnitee in               (2) Necessary medical, surgical, X-ray and
                           such "suit".                                    dental services, including prosthetic
                                                                           devices; and
        (3) So long as the conditions in Paragraph
            (2) are met, attorneys' fees incurred by                  (3) Necessary       ambulance,   hospital,
            us in the defense of that indemnitee,                         professional    nursing  and  funeral
            necessary litigation expenses incurred                        services.
            by us and necessary litigation expenses           B. Exclusions
            incurred by the indemnitee at our
            request will be paid as Supplementary                1. Applicable To Business Liability Coverage
            Payments.        Notwithstanding       the              This insurance does not apply to:
            provisions of Paragraph B.1.b.(2)                       a. Expected Or Intended Injury
            Exclusions in Section II — Liability, such
            payments will not be deemed to be                          "Bodily injury" or "property damage"
            damages for "bodily injury" and                            expected or intended from the standpoint of
            "property damage" and will not reduce                      the insured. This exclusion does not apply
            the Limits of Insurance.                                   to "bodily injury" resulting from the use of
                                                                       reasonable force to protect persons or
            Our obligation to defend an insured's                      property.
            indemnitee and to pay for attorneys'
            fees and necessary litigation expenses                  b. Contractual Liability
            as Supplementary Payments ends                             "Bodily injury" or "property damage" for
            when:                                                      which the insured is obligated to pay
           (a) We have used up the applicable                          damages by reason of the assumption of
               Limit of Insurance in the payment of                    liability in a contract or agreement. This
               judgments or settlements; or                            exclusion does not apply to liability for
                                                                       damages:
           (b) The conditions set forth above, or
               the terms of the agreement                             (1) That the insured would have in the
               described in Paragraph (2)(f) above,                       absence of the contract or agreement;
               are no longer met.                                         or
   2. Medical Expenses                                                (2) Assumed in a contract or agreement
                                                                          that is an "insured contract", provided
      a. We will pay medical expenses as described                        the "bodily injury" or "property damage"
         below for "bodily injury" caused by an                           occurs subsequent to the execution of
         accident:                                                        the contract or agreement. Solely for the
        (1) On premises you own or rent;                                  purposes of liability assumed in an
        (2) On ways next to premises you own or                           "insured contract", reasonable attorneys'
            rent; or                                                      fees and necessary litigation expenses
                                                                          incurred by or for a parry other than an
        (3) Because of your operations;                                   insured are deemed to be damages
         provided that:                                                   because of "bodily injury" or "property
                                                                          damage", provided:
           (a) The accident takes place in the
                "coverage territory" and during the                      (a) Liability to such party for, or for the
                policy period;                                                cost of, that party's defense has also
                                                                              been assumed in the same "insured
           (b) The expenses are incurred and
                                                                              contract"; and
               reported to us within one year of the
                date of the accident; and




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           (b) Such attorney fees and litigation                        (b) Performing duties related to the
                expenses are for defense of that                             conduct of the insured's business; or
                party against a civil or alternative                (2) The spouse, child, parent, brother or
                dispute resolution proceeding in                         sister of that "employee" as a
                which damages to which this                              consequence of Paragraph (1) above.
                insurance applies are alleged.
                                                                     This exclusion applies whether the insured
      c. Liquor Liability                                            may be liable as an employer or in any
         "Bodily injury" or "property damage" for                    other capacity and to any obligation to
         which any insured may be held liable by                     share damages with or repay someone else
         reason of:                                                  who must pay damages because of the
        (1) Causing      or contributing       to the                injury.
            intoxication of any person;                              This exclusion does not apply to liability
        (2) The furnishing of alcoholic beverages to                 assumed by the insured under an "insured
            a person under the legal drinking age or                 contract".
            under the influence of alcohol; or                    f. Pollution
        (3) Any statute, ordinance or regulation                    (1) "Bodily injury" or "property damage"
            relating to the sale, gift, distribution or                 arising out of the actual, alleged or
            use of alcoholic beverages.                                 threatened        discharge,      dispersal,
         This exclusion applies even if the claims                      seepage, migration, release or escape
         allege negligence or other wrongdoing in:                      of "pollutants":
            (a) The supervision, hiring, employment,                   (a) At or from any premises, site or
                training or monitoring of others by an                      location which is or was at any time
                insured; or                                                 owned or occupied by, or rented or
                                                                            loaned to, any insured. However, this
            (b) ProViding or failing to provide                             subparagraph does not apply to:
                transportation with respect to any
                person that may be under the                                (i) "Bodily injury" if sustained within
                influence of alcohol;                                           a building and caused by smoke,
                                                                                fumes, vapor or soot produced by
         if the "occurrence" which caused the "bodily                           or originating from equipment that
         injury" or "property damage", involved that                            is used to heat, cool or
         which is described in Paragraph (1), (2) or                             dehumidify the building, or
         (3) above.                                                             equipment that is used to heat
         However, this exclusion applies only if you                             water for personal use, by the
         are in the business of manufacturing,                                  building's occupants or their
         distributing, selling, serving or furnishing                            guests;
         alcoholic beverages. For the purposes of                          (ii) "Bodily injury" or "property
         this exclusion, permitting a person to bring                           damage" for which you may be
         alcoholic beverages on your premises, for                              held liable, if you are a contractor
         consumption on your premises, whether or                               and the owner or lessee of such
         not a fee is charged or a license is required                          premises, site or location has
         for such activity, is not by itself considered                         been added to your policy as an
         the business of selling, serving or furnishing                         additional insured with respect to
         alcoholic beverages.                                                   your       ongoing       operations
      d. Workers' Compensation And Similar                                      perFormed for that additional
         Laws                                                                   insured at that premises, site or
         Any obligation of the insured under a                                  location and such premises, site
         workers' compensation, disability benefits                             or location is not and never was
         or unemployment compensation law or any                                owned or occupied by, or rented
         similar law.                                                           or loaned to, any insured, other
                                                                                than that additional insured; or
      e. Employer's Liability
                                                                          (iii) "Bodily injury" or "property
         "Bodily injury" to:                                                    damage" 'arising out of heat,
        (1) An "employee" of the insured arising out                            smoke or fumes from a"hostile
             of and in the course of:                                           fire";
            (a) Employment by the insured; or




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           (b) At or from any premises, site or                                (ii) "Bodily injury" or "property
                location which is or was at any time                                damage" sustained within a
                used by or for any insured or others                                building and caused by the
                for the handling, storage, disposal,                                release of gases, fumes or
                processing or treatment of waste;                                   vapors from materials brought
           (c) Which are or were at any time                                        into that building in connection
                transported, handled, stored, treated,                              with operations being performed
                disposed of, or processed as waste                                  by you or on your behalf by a
                by or for:                                                          contractor or subcontractor; or
                (i) Any insured; or                                           (iii) "Bodily injury" or "property
                                                                                    damage" arising out of heat,
               (ii) Any person or organization for                                  smoke or fumes from a"hostile
                    whom you may be legally                                         fire"; or
                    responsible;
                                                                           (e) At or from any premises, site or
           (d) At or from any premises, site or                                 location on which any insured or any
               location on which any insured or any                             contractors ' or         subcontractors
               contractors       or     subcontractors                          working directly or indirectly on any
               working directly or indirectly on any                            insured's behalf are pen`orming
               insured's behalf are perForming                                  o erations if the o erations are to
               oPerations if the "Pollutants" are                                 p for, monitor, clean
                                                                                test                   p   up, remove,
               brought on or to the premises, site or                           contain, treat, detoxify or neutralize,
               location in connection with such                                 or in any way respond to, or assess
               operations       by    such     insured,                         the effects of, "pollutants".
               contractor        or      subcontractor.
               However, this subparagraph does                          (2) Any loss, cost or expense arising out of
               not apply to:                                                any:
               (i) "Bodily injury" or "property                            (a) Request, demand, order or statutory
                   damage" arising out of the                                  or regulatory requirement that any
                   escape of fuels, lubricants or                              insured or others test for, monitor,
                   other operating fluids which are                            clean up, remove, contain, treat,
                   needed to perform the normal                                detoxify or neutralize, or in any way
                   electrical,       hydraulic       or                        respond to, or assess the effects of,
                   mechanical functions necessary                              "pollutants"; or
                   for the operation - of "mobile                          (b) Claim or "suit" by or on behalf of a
                   equipment" or its parts, if such                            governmental authority for damages
                   fuels,     lubricants    or    other                        because of testing for, monitoring,
                   operating fluids escape from a                              cleaning up, removing, containing,
                   vehicle part designed to hold,                              treating, detoxifying or neutralizing,
                   store or receive them. This                                 or in any way responding to, or
                   exception does not apply if the                             assessing the'effects of, "pollutants".
                   "bodily injury" or "property                              However, this paragraph does not apply
                   damage" arises out of the                                 to liability for damages because of
                   intentional discharge, dispersal or                       "property damage" that the insured
                   release of the fuels, lubricants or                       would have in the absence of such
                   other operating fluids, or if such                        request, demand, order or statutory or
                   fuels,     lubricants    or    other                      regulatory requirement or such claim or
                   operating fluids are brought on or                        "suit" by or on behalf of a governmental
                   to the premises, site or location                         authority.
                   with the intent that they be
                   discharged,        dispersed      or               g. Aircraft, Auto Or Watercraft
                   released as part of the operations                    "Bodily injury" or "property damage" arising
                   being performed by such insured,                      out of the ownership, maintenance, use or
                   contractor or subcontractor;                          entrustment to others of any aircraft, "auto"
                                                                         or watercraft owned or operated by or
                                                                         rented or loaned to any insured. Use
                                                                         includes operation and "loading or
                                                                         unloading".




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         This exclusion applies even if the claims                     h. Mobile Equipment
         allege negligence or other wrongdoing in                         "Bodily injury" or "property damage" arising
         the supervision, hiring, employment,                             out of:
         training or monitoring of others by an
         insured, if the "occurrence" which caused                       (1) The      transportation     of    "mobile
         the "bodily injury" or "property damage"                            equipment" by an "auto" owned or
         involved the ownership, maintenance, use                            operated by or rented or loaned to any
         or entrustment to others of any aircraft,                           insured; or
         "auto" or watercraft that is owned or                           (2) The use of "mobile equipment" in, or
         operated by or rented or loaned to any                              while in practice for, or while being
         insured.                                                            prepared for, any prearranged racing,
         This exclusion does not apply to:                                   speed, demolition or stunting activity.
        (1) A watercraft while ashore on premises                      i. War
            you own or rent;                                              "Bodily injury", "property damage" or
        (2) A watercraft you do not own that is:                          "personal and advertising injury", however
                                                                          caused, arising, directly or indirectly, out of:
           (a) Less than 51 feet long; and
                                                                         (1) War, including undeclared or civil war;
           (b) Not being used to carry persons or
               property for a charge;                                    (2) Warlike action by a military force,
                                                                             including action in hindering or
        (3) Parking an "auto" on, or on the ways                             defending against an actual or expected
            next to, premises you own or rent,                               attack, by any government, sovereign or
            provided the "auto" is not owned by or                           other authority using military personnel
            rented or loaned to you or the insured;                          or other agents; or
        (4) Liability assumed under any "insured                         (3) Insurrection,   rebellion,    revolution,
            contract"       for the     ownership,                           usurped power, or action taken by
            maintenance or use of aircraft or                                government authority in hindering or
            watercraft; or                                                   defending against any of these.
        (5) "Bodily injury" or "property damage"                          Professional Services
            arising out of:
                                                                          "Bodily injury", "property damage" or
           (a) The operation of machinery or                              "personal and advertising injury" caused by
               equipment that is attached to, or part                     the rendering or failure to render any
               of, a land vehicle that would qualify                      professional service. This includes but is
               under the definition of "mobile                            not limited to:
               equipment" if it were not subject to a
               compulsory or financial responsibility                    (1) Legal,     accounting   or    advertising
               law or other motor vehicle insurance                          services;
               or motor vehicle registration law                         (2) Preparing, approving, or failing to
               where it is licensed or principally                           prepare or approve maps, drawings,
               garaged; or                                                   opinions, reports, surveys, change
           (b) The operation of any of the following                         orders, designs or specifications;
               machinery or equipment:                                   (3) Supervisory, inspection or engineering
                 (i) Cherry pickers and similar                              services;
                      devices mounted on automobile                      (4) Medical, surgical, dental, X-ray or
                      or truck chassis and used to raise                     nursing services treatment, advice or
                      or lower workers; and                                  instruction;
                (ii) Air compressors, pumps and                          (5) Any health or therapeutic service
                      generators, including spraying,                        treatment, advice•or instruction;
                      welding,     building   cleaning,                  (6) Any service, treatment, advice or
                     •geophysical exploration, lighting                      instruction   for   the     purpose of
                      and well servicing equipment.                          appearance or skin enhancement, hair
                                                                             removal or replacement or personal
                                                                             grooming;




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         (7) Optometry or optical or hearing aid                      Paragraph (2) of this exclusion does not
               services including the prescribing,                    apply if the premises are "your work" and
               preparation, fitting, demonstration or                 were never occupied, rented or held for
               distribution of ophthalmic lenses and                  rental by you.
               similar products or hearing aid devices;               Paragraphs (3), (4), (5) and (6) of this
         (8) Body piercing services; and                              exclusion do not apply to liability assumed
         (9) Services in the practice of pharmacy.                    under a sidetrack agreement.
          This exclusion applies even if the claims                   Paragraph (6) of this exclusion does not
          allege negligence or other wrongdoing in                    apply to "property damage" included in the
          the supervision, hiring, employment,                        "products-completed operations hazard".
          training or monitoring of others by an                   I. Damage To Your Product
          insured, if the "occurrence" which caused
                                                                      "Property damage" to "your product" arising
          the "bodily injury" or "property damage", or
                                                                      out of it or any part of it.
          the offense which caused the "personal and
          advertising injury", involved the rendering or          m. Damage To Your Work
          failure to render of any professional service.               "Property damage" to "your work" arising
      k. Damage To Property                                            out of it or any part of it and included in the
                                                                       "products-completed operations hazard".
          "Property damage" to:
                                                                       This exclusion does not apply if the
        (1) Property you own, rent or occupy,
                                                                       damaged work or the work out of which the
              including any costs or expenses
                                                                       damage arises was periormed on your
              incurred by you, or any other person,
                                                                       behalf by a subcontractor.
              organization or entity, for repair,
              replacement, enhancement, restoration                n. Damage To Impaired Property Or
              or maintenance of such property for any                  Property Not Physically Injured
              reason, including prevention of injury to                "Property damage" to "impaired property" or
              a person or damage to another's                          property that has not been physically
              property;     -                                          injured, arising out of:
        (2) Premises you sell, give away or                           (1) A defect, deficiency, inadequacy or
              abandon, if .the "property damage"                            dangerous condition in "your product" or
              arises out of any part of those premises;                     "your work"; or
        (3) Property loaned to you;                                  (2) A delay or failure by you or anyone
        (4) Personal property in the care, custody                         acting on your behalf to perForm a
              or control of the insured;                                    contract or agreement in accordance
                                                                            with its terms.
        (5) That particular part of real property on
              which you or any contractor or                           This exclusion does not apply to the loss of
              subcontractor working directly or                        use of other property arising out of sudden
              indirectly on your behalf is performing                  and accidental physical injury to "your
              operations, if the "property damage"                     product" or "your work" after it has been put
              arises out of those operations; or                       to its intended use.
        (6) That particular part of any property that              o. Recall Of Products, Work Or Impaired
              must be restored, repaired or replaced                   Property
              because "your work" was incorrectly                     Damages claimed for any loss, cost or
              performed on it.                                        expense incurred by you or others for the
         Paragraphs (1), (3) and (4) of this exclusion                loss of use, withdrawal, recall, inspection,
          do not apply to "property damage" (other                    repair, replacement, adjustment, removal or
         than damage by fire) to premises, including                  disposal of:
         the contents of such premises, rented to                    (1) "Your product";
         you for a period of seven or fewer
         consecutive days. A separate Limit of                       (2) "Your work"; or
         Insurance applies to Damage To Premises                     (3) "Impaired property";
         Rented To You as described in Paragraph
         D. Liability And Medical Expenses Limits Of
         Insurance in Section II — Liability.




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          if such product, work or property is
                                                                          For the purposes of this exclusion, the
          withdrawn or recalled from the market or                        placing of frames, borders or links, or
          from use by any person or organization                          advertising, for you or others anywhere
          because of a known or suspected defect,                         on the Internet, by itself, is not
          deficiency, inadequacy or dangerous                             considered the business of advertising,
          condition in it.                                                broadcasting, publishing or telecasting;
      p. Personal And Advertising Injury                              (9) Arising out of the actual, alleged or
         "Personal and advertising injury":                               threatened       discharge,  dispersal,
                                                                          seepage, migration, release or escape
         (1) Caused by or at the direction of the
                                                                          of "pollutants" at any time;
             insured with the knowledge that the act
             would violate the rights of another and                 (10) With respect to any loss, cost or
             would inflict "personal and advertising                      expense arising out of any:
             injury"•~                                                   (a) Request, demand or order that any
         (2) Arising out of oral or written publication,                     insured or others test for, monitor,
             in any manner, of material, if done by or                       clean up, remove, contain, treat,
             at the direction of the insured with                            detoxify or neutralize, or in any way
             knowledge of its falsity;                                       respond to, or assess the effects of,
                                                                             "pollutants"; or
        (3) Arising out of oral or written publication,
            in any manner, of material whose first                       (b) Claim or "suit" by or on behalf of a
            publication took place before the                                governmental authority for damages
            beginning of the policy period;                                  because of tosting for, monitoring,
                                                                             cleaning up, removing, containing,
        (4) For which the insured has assumed
                                                                             treating, detoxifying or neutralizing,
            liability in a contract or agreement. This
                                                                             or in any way responding to, or
            exclusion does not apply to liability for
                                                                             assessing the effects of, "pollutants";
            damages that the insured would have in
            the absence of the contract or                           (1.1) Arising out of an electronic chatroom or
            agreement;                                                     bulletin board the insured hosts, owns or
                                                                           over which the insured exercises
        (5) Arising out of a,breach of contract,
                                                                           control;
            except an implied contract to use
            another's advertising idea in your                       (12) Arising out of the infringement of
            "advertisement";                                              copyright, patent, trademark, trade
                                                                          secret or other intellectual property
        (6) Arising out of the failure of goods,
                                                                          rights. Under this exclusion, such other
            products or services to conform with any
                                                                          intellectual property rights do not include
            statement of quality or perFormance
                                                                          the use of another's advertising idea in
            made in your "advertisement";
                                                                          your "advertisement".
        (7) Arising out of the wrong description of
                                                                          However, this exclusion does not apply
            the price of goods, products or services
                                                                          to infringement, in your "advertisement",
            stated in your "advertisement";
                                                                          of copyright, trade dress or slogan;
        (8) Committed by        an    insured   whose
                                                                     (13) Arising out of the unauthorized use of
            business is:
                                                                          another's name or product in your e-mail
            (a) Advertising, broadcasting, publishing                     address, domain name or metatags, or
                or telecasting;                                           any other similar tactics to mislead
            (b) Designing or determining content of                       another's potential customers.
                web sites for others; or                            q. Electronic Data
            (c) An Internet search, access, content                   Damages arising out of the loss of, loss of
                or service provider.                                  use of, damage to, corruption of, inability to
            However, this exclusion does not apply                    access, or inability to manipulate electronic
            to Paragraphs 14.a., b. and c. of                         data.
            "personal and advertising injury" under                   However, this exclusion does not apply to
            Paragraph F. Liability And Medical                        liability for damages because of "bodily
            Expenses Definitions.                                     injury".




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         As used in this exclusion, electronic data               Exclusions c., d., e., f., g., h., i., k., I., m., n.
         means information, facts or computer                     and o. in Section II — Liability do not apply to
         programs stored as or on, created or used                damage by fire to premises while rented to
         on, or transmitted to or from computer                   you, or temporarily occupied by you with
         software       (including    systems      and            permission of the owner. A separate Damage
         applications software), on hard or floppy                To Premises Rented To You Limit of Insurance
         disks, CD-ROMs, tapes, drives, cells, data               applies to this coverage as described in
         processing       devices    or    any    other           Paragraph D. Liability And Medical Expenses
         repositories of computer software which are              Limits of Insurance in Section II — Liability.
         used      with     electronically   controlled        2, Applicable To Medical Expenses Coverage
         equipment. The term computer programs,
         referred to in the foregoing description of              We will not pay expenses for "bodily injury":
         electronic data, means a set of related                  a. To any insured, except "volunteer workers".
         electronic instructions which direct the
                                                                  b. To a person hired to do work for or on
         operations and functions of a computer or
                                                                     behalf of any insured or a tenant of any
         device connected to it, which enable the
                                                                     insured.
         computer or device to receive, process,
         store, retrieve or send data.                            c. To a person injured on that part of premises
                                                                     you own or rent that the person normally
      r. Criminal Acts
                                                                     occupies.
         "Personal and advertising injury" arising out
                                                                  d. To a person, whether or not an "employee"
         of a criminal act committed by or at the                     of any insured, if benefits for the "bodily
         direction of the insured.
                                                                      injury" are payable or must be provided
      s. Recording And Distribution Of Material                       under a workers' compensation or disability
         Or Information In Violation Of Law                           benefits law or a similar law.
         "Bodily injury", "properry damage" or                    e. To a person injured while practicing,
         "personal and advertising injury" arising                    instructing or participating in any physical
         directly or indirectly out of any action or                  exercises or games, sports or athletic
         omission that violates or is alleged to                      contests.
         violate:
                                                                   f. Included within the "products-completed
        (1) The Telephone Consumer Protection                         operations hazard". .
            Act (TCPA), including any amendment                   g, Excluded       under     Business    Liability
            of or addition to such law;
                                                                      Coverage.
        (2) The CAN-SPAM Act of 2003, including
                                                               3. Applicable To Both Business Liability
            any amendment of or addition to such
                                                                  Coverage And Medical Expenses Coverage
            law;                                                  — Nuclear Energy Liability Exclusion
        (3) The Fair Credit Reporting Act (FCRA),
                                                                  This insurance does not apply:
            and any amendment of or addition to
            such law, including the Fair and                      a. Under Business Liability Coverage, to
            Accurate    Credit  Transaction   Act                    "bodily injury" or "property damage":
            (FACTA); or                                              (1) With respect to which an insured under
        (4) Any federal, state or local, statute,                        the policy is also an insured under a
            ordinance or regulation, other than the                      nuclear energy liability policy issued by
            TCPA, CAN-SPAM Act of 2003 or                                the Nuclear Energy Liability Insurance
            FCRA and their amendments and                                Association, Mutual Atomic Energy
            additions, that addresses, prohibits, or                     Liability  Underwriters        or      Nuclear
            limits the printing, dissemination,                          Insurance Association of Canada, or
            disposal, collecting, recording, sending,                    would be an insured under any such
            transmitting,      communicating         or                  policy but for its termination upon
            distribution of material or information.                     exhaustion of its limit of liability; or




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          (2) Resulting       from      the   "hazardous                (2) "Hazardous            properties"    include
                propen:ies" of "nuclear material" and                        radioactive,       toxic     or   explosive
                with respect to which:                                       properties;
              (a) Any person or organization is                         (3) "Nuclear facility" means:
                   required     to    maintain financial
                                                                           (a) Any "nuclear reactor";
                   protection pursuant to the Atomic
                   Energy Act of 1954, or any law                          (b) Any equipment or device designed
                   amendatory thereof; or                                         or used for:
              (b) The insured is, or had this policy not                         (i) Separating the isotopes of
                   been issued would be, entitled to                                  uranium or plutonium;
                   indemnity from the United States of                          (ii) Processing or utilizing "spent
                   America, or any agency thereof,                                    fuel"; or
                   under any agreement entered into by
                   the United States of America, or any                        (iii) Handling,        processing      or
                   agency thereof, with any person or                                 packaging "waste";
                   organization.                                           (c) Any equipment or device used for
      b. Under Medical Expenses Coverage, to                                     the processing, fabricating or
           expenses incurred with respect to "bodily                             alloying of "special nuclear material"
           injury" resulting from the "hazardous                                 if at any time the total amount of
           properties" of "nuclear material" and arising                         such material in the custody of the
           out of the operation of a"nuclear facility" by                        insured at the premises where such
           any person or organization.                                           equipment or device is located
                                                                                 consists of or contains more than 25
      c. Under Business Liability Coverage, to                                   grams of plutonium or uranium 233
          "bodily injury" or "property damage"                                   or any combination thereof, or more
          resulting from the "hazardous properties" of                           than 250 grams of uranium 235;
          the "nuclear material"; if:
                                                                           (d) Any structure, basin, excavation,
         (1) The "nuclear material":                                             premises or place prepared or used
              (a) Is at any "nuclear facility" owned by,                         for the storage or disposal of
                   or operated by or on behalf of, an                            "waste";
                   insured; or                                             and includes the site on which any of the
              (b) Has been discharged or dispersed                          foregoing is located, all operations
                   therefrom;                                               conducted on such site and all premises
                                                                            used for such operations;
         (2) The "nuclear material" is contained in
               "spent fuel" or "waste" at any time                     (4) "Nuclear material" means "source
               possessed, handled, used, processed,                         material", "special nuclear material" or
               stored, transported or disposed of by or                     "by-product material";
               on behalf of an insured; or                             (5) "Nuclear reactor" means any apparatus
         (3) The "bodily injury" or "property damage"                       designed or used to sustain nuclear
               arises out of the furnishing by an                           fission in a self-supporting chain
               insured of services, materials, parts or                     reaction or to contain a critical mass of
               equipment in. connection with the                            fissionable material;
               planning, construction, maintenance,                    (6) "Property damage" includes all forms of
               operation or use of any "nuclear facility";                  radioactive contamination of property;
               but if such facility is located within the
               United States of America, its territories               (7) "Source material" has the meaning
               or possessions or Canada, this                               given it in the Atomic Energy Act of
               Exclusion (3) applies only to "property                      1954 or in any law amendatory thereof;
               damage" to such "nuclear facility" and                  (8) "Special nuclear material" has the
               any property thereat.                                        meaning given it in the Atomic Energy
      d. As used in this exclusion:                                         Act of 1954 or in any law amendatory
                                                                            thereof;
        (1) "By-product material" has the meaning
               given it in the Atomic Energy Act of                    (9) "Spent fuel" means any fuel element.or
               1954 or in any law amendatory thereof;                       fuel component, solid or liquid, which
                                                                           has been used or exposed to radiation
                                                                           in a "nuclear reactor";




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        (10) "Waste" means any waste material:                 2. Each of the following is also an insured:
             (a) Containing "by-product materiaP"                 a. Your "volunteer workers" only while
                 other than the tailings or wastes                   performing duties related to the conduct of
                 produced by the extraction or                       your business, or your "employees", other
                 concentration of uranium or thorium                 than either your "executive officers" (if you
                 from any ore processed primarily for                are an organization other than a
                 its "source material" content; and                  partnership, joint venture or limited liability
             (b) Resulting from the operation by any                 company) or your managers (if you are a
                 person or organization of any                       limited liability company), but only for acts
                 "nuclear facility" included under                   within the scope of their employment by you
                 Paragraphs (a) and (b) of the                       or while pen`orming duties related to the
                 definition of "nuclear facility".                   conduct of your business. However, none of
                                                                     these "employees" or "volunteer workers"
C. Who Is An Insured                                                 are insureds for:
   1. If you are designated in the Declarations as:                 (1) "Bodily injury" or "personal and
      a. An individual, you and your spouse are                          advertising injury":
         insureds, but only with respect to the                         (a) To you, to your partners or members
         conduct of a business of which you are the                          (if you are a partnership or joint
         sole owner.                                                         venture), to your members (if you are
      b. A partnership or joint venture, you are an                          a limited liability company), or to a
         insured. Your members, your partners and                            co-"employee" while in the course of
         their spouses are also insureds, but only                           his or her employment or performing
         with respect to the conduct of your                                 duties related to the conduct of your
         business.                                                           business, or to your other "volunteer
      c. A limited liability company, you are an                             workers" while performing duties
         insured. Your members are also insureds,                           related to the conduct of your
         but only with respect to the conduct of your                        business;
         business. Your managers are insureds, but                      (b) To the spouse, child, parent, brother
         only with respect to their duties as your                           or sister of that co-"employee" as a
         managers.                                                           consequence of Paragraph (a)
      d. An organization other than a partnership,                          above;
         joint venture or limited liability company,                    (c) For which there is any obligation to
         you are an insured. Your "executive                                share damages with or repay
         officers" and directors are insureds, but only                     someone else who must pay
         with respect to their duties as your officers                       damages because of the injury
         or directors. Your stockholders are also                           described in Paragraph (a) or (b); or
         insureds, but only with respect to their                       (d) Arising out of his or her providing or
         liability as stockholders.                                         failing to provide professional heaith
      e. A trust, you are an insured. Your trustees                         care services.
         are also insureds, but only with respect to                (2) "Properry damage" to property:
         their duties as trustees.
                                                                        (a) Owned, occupied or used by;




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             (b) Rented to, in the care, custody or                  3. The most we will pay under Business Liability
                 control of, or over which physical                     Coverage for damages because of "property
                 control is being exercised for any                     damage" to a premises while rented to you or
                 purpose by;                                            in the case of fire while rented to you or
              you, any of your "employees", "volunteer                  temporarily occupied by you with permission of
              workers", any partner or member (if you                   the owner is the applicable Damage To
              are a partnership or joint venture), or                   Premises Rented To You limit shown for that
              any member (if you are a limited liability                premises in the Declarations. For a premises
              company).                                                 temporarily occupied by you, the applicable
                                                                        limit will be the highest Damage To Premises
       b. Any person (other than your "employee" or                     Rented To You limit shown in the Declarations.
          "volunteer worker"), or any organization
          while acting as your real estate manager.                  4. Aggregate Limits
       c. Any person or organization having proper                       The most we will pay for.:
          temporary custody of your property if you                      a. AII "bodily injury" and "property damage"
          die, but only:                                                    that is included in the "products-completed
         (1) With respect to liability arising out of the                   operations hazard" is twice the Liability and
             maintenance or use of that property;                           Medical Expenses limit.
             and                                                         b. AII:
         (2) Until your legal representative has been                      (1) "Bodily injury" and "property damage"
              appointed.                                                       except damages because of "bodily
       d. Your legal representative if you die, but only                       injury" or "property damage" included in
          with respect to duties as such. That                                 the "products-completed operations
          representative will have all your rights and                         hazard";
          duties under this policy.                                        (2) Plus medical expenses;
   No person or organization is an insured with                            (3) Plus all "personal and advertising injury"
   respect to the conduct of any current or past                                caused by offenses committed;
   partnership, joint venture or limited liability                          is twice the Liability and Medical Expenses
   company that is not shown as a Named Insured in                          limit.
   the Declarations.
                                                                        Subject to Paragraph a. or b. above, whichever
D. Liability And Medical Expenses Limits Of                             applies, the Damage To Premises Rented To
   Insurance                                                            You limit is the most we will pay for damages
   1. The Limits of Insurance of Section II — Liability                 because of "property damage" to any one
      shown in the Declarations and the rules below                     premises, while rented to you, or in the case of
      fix the most we will pay regardless of the                        fire, while rented to you or temporarily
      number of:                                                        occupied by you with permission of the owner.
       a. Insureds;                                                     The Limits of Insurance of Section II — Liability
       b. Claims made or "suits" brought; or                            apply separately to each consecutive annual
                                                                        period and to any remaining period of less than
       c. Persons or organizations making claims or                     12 months, starting with the beginning of the
          bringing "suits".                                             policy period shown in the Declarations, unless
   2. The most we will pay for the sum of all                           the policy period is extended after issuance for
      damages because of all:                                           an additional period of less than 12 months. In
       a. "Bodily injury", "property damage" and                        that case, the additional period will be deemed
          medical expenses arising out of any one                       part of the last preceding period for purposes
          "occurrence"; and                                             of determining the Limits of Insurance.
       b. "Personal and advertising injury" sustained             E. Liability And Medical Expenses General
          by any one person or organization;                         Conditions
       is the Liability and Medical Expenses limit                   1. Bankruptcy
       shown in the Declarations. But the most we will                  Bankruptcy or insolvency of the insured or of
       pay for all medical expenses because of                          the insured's estate will not relieve us of our
       "bodily injury" sustained by any one person is                   obligations under this policy.
       the Medical Expenses limit shown in the
       Declarations.




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  2. Duties In The Event Of Occurrence,                             A person or organization . may sue us to
     OfFense, Claim Or Suit                                         recover on an agreed settlement or on a final
     a. You must see to it that we are notified as                  judgment against an insured; but we will not be
        soon as practicable of an "occurrence" or                   liable for damages that are not payable under
        an offense which may result in a claim. To                  the terms of this policy or that are in excess of
        the extent possible, notice should include:                 the applicable Limit of Insurance. An agreed
                                                                    settlement means a settlement and release of
       (1) How, when and where the "occurrence"                     liability signed by us, the insured and the
           or offense took place;                                   claimant or the claimant's legal representative.
       (2) The names and addresses of any                        4. Separation Of Insureds
           injured persons and witnesses; and
                                                                    Except with respect to the Limits of Insurance
       (3) The nature and location of any injury or                 of Section II — Liability, and any rights or duties
           damage arising out of the "occurrence"                   specifically assigned in this policy to the first
           or offense.                                              Named Insured, this insurance applies:
     b. If a claim is made or "suit" is brought                     a. As if each Named Insured were the only
        against any insured, you must:                                  Named Insured; and
       (1) Immediately record the specifics of the                  b. Separately to each insured against whom
            claim or "suit" and the date received;                      claim is made or "suit" is brought.
           and
                                                              F. Liability And Medical Expenses Definitions
       (2) Notify us as soon as practicable.
                                                                 1. "Advertisement" means a notice that is
        You must see to it that we receive written                  broadcast or published to the general public or
        notice of the claim or "suit" as soon as                    specific market segmerits about your goods,
        practicable.                                                products or services for the purpose of
     c. You and any other involved insured must:                    attracting customers or supporters. For the
       (1) Immediately send us copies of any                        purposes of this definition:
           demands, notices, summonses or legal                     a. Notices that are published include material
           papers received in connection with the                       placed on the Internet or on similar
           claim or "suit";                                             electronic means of communication; and
       (2) Authorize us to obtain records and other                 b. Regarding web sites, only that part of a web
           information;                                                 site that is about your goods, products or
       (3) Cooperate with us in the investigation or                    services for the purposes of attracting
           settlement of the claim or defense                           customers or supporters is considered an
           against the "suit"; and                                      advertisement.
       (4) Assist us, upon our request, in the                   2. "Auto" means:
           enforcement of any right against any                     a. A land motor vehicle, trailer or semitrailer
           person or organization that may be                          designed for travel on public roads,
           liable to the insured because of injury or                  including any attached machinery or
           damage to which this insurance may                          equipment; or
           also apply.                                              b. Any other land vehicle that is subject to a
     d. No insured will, except at that insured's own                  compulsory or financial responsibility law or
        cost, voluntarily make a payment, assume                       other motor vehicle insurance or motor
        any obligation, or incur any expense, other                    vehicle registration law where it is licensed
        than for first aid, without our consent.                       or principally garaged.
  3. Legal Action Against Us                                        However, "auto" does' not include "mobile
     No person or organization has a right under                    equipment".
     this policy:                                                3. "Bodily injury" means bodily injury, sickness or
     a. To join us as a party or otherwise bring us                 disease sustained by a person, including death
         into a"suit" asking for damages from an                    resulting from any of these at any time.
         insured; or                                             4. "Coverage territory" means:
     b. To sue us on this policy unless all of its                  a. The United States of America (including its
         terms have been fully complied with.                          territories and possessions), Puerto Rico
                                                                       and Canada;




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      b. International waters or airspace, but only if                  b. A sidetrack agreement;
         the injury or damage occurs in the course of                   c. Any easement or license agreement,
         travel or transportation between any places                       except in connection with construction or
         included in Paragraph a. above; or                                demolition operations on or within 50 feet of
      c. AII other parts of the world if the injury or                     a railroad;
         damage arises out of:                                          d. An obligation, as required by ordinance, to
        (1) Goods or products made or sold by you                          indemnify a municipality, except in
             in the territory described in Paragraph a.                    connection with work for a municipality;
             above;                                                     e. An elevator maintenance agreement;
        (2) The activities of a person whose home                       f. That part of any other contract or
             is in the territory described in Paragraph                    agreement pertaining to your business
             a. above, but is away for a short time on                     (including     an indemnification        of a
             your business; or                                             municipality in connection with work
         (3) "Personal and advertising injury"                             performed for a municipality) under which
              offenses that take place through the                         you assume the tort liability of another party
              Internet or similar electronic means of                      to pay for "bodily injury" or "property
              communication;                                               damage" to a third person or organization.
      provided the insured's responsibility to pay                         Tort liability means a liability that would be
      damages is determined in a"suit" on the merits                       imposed by law in the absence of any
      in the territory described in Paragraph a. above                     contract or agreement.
      or in a settlement we agree to.                                      Paragraph f. does not. include that part of
   5. "Employee" includes a"leased worker".                                any contract or agreement:
      "Employee" does not include a"temporary                             (1) That indemnifies a railroad for "bodily
      worker".                                                                 injury" or "property damage" arising out
   6. "Executive officer" means a person holding any                           of construction or demolition operations,
      of the officer positions created by your charter,                        within 50 feet of any railroad property
      constitution, bylaws or any other similar                                and, affecting any railroad bridge or
      governing document.                                                      trestle,    tracks,  roadbeds,      tunnel,
                                                                               underpass or crossing;
   7. „Hostile fire' means one which. becomes
      uncontrollable or breaks out from where it was                      (2) That indemnifies an architect, engineer
      intended to be.                                                          or surveyor for injury or damage arising
                                                                               out of:
   8. "Impaired property" means tangible property,
      other than your product or your work , that                              a PreParin9 approvin9 or failing to
                                                                              ()
      cannot be used or is less useful because:                                   prepare or approve maps, drawings,
                                                                                  opinions, reports, surveys, change
      a. It incorporates "your product" or "your work"                            orders, designs or specifications; or
         that is known or thought to be defective,
         deficient, inadequate or dangerous; or                               (b) Giving directions or instructions, or
                                                                                  failing to give them, if that is the
      b. You have failed to fulfill the terms of a                                primary cause of the injury or
         contract or agreement;                                                   damage; or
      if such property can be restored to use by:                          (3) Under which the insured, if an architect,
         (1) The repair, replacement, adjustment or                            engineer or surveyor, assumes liability
             removal of "your product" or "your work";                         for an injury or damage arising out of the
             or                                                                insured's rendering or failure to render
         (2) Your fulfilling the terms of the contract or                      professional services, including those
             agreement.                                                        listed in Paragraph (2) above and
                                                                               supervisory, inspection or engineering
   9. „Insured contract„ means:                                                services.
      a. A contract for a lease of premises.                        10. "Leased worker" means a person leased to you
          However, that portion of the contract for a                   by a labor leasing firm under an agreement
          lease of premises that indemnifies any                        between you and the labor leasing firm, to
          person or organization for damage by fire to                  perform duties related to the conduct of your
          premises while rented to you or temporarily                   business. "Leased worker" does not include a
          occupied by you with permission of the                        "temporary worker".
          owner is not an "insured contract";




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  11. "Loading or unloading" means the handling of                      However, self-propelled vehicles with the
      property:                                                         following types of permanently attached
      a. After it is moved from the place where it is                    equipment are not "mobile equipment" but
          accepted for movement into or onto an                          will be considered "autos":
          aircraft, watercraft or "auto";                              (1) Equipment designed primarily for:
      b. While it is in or on an aircraft, watercraft or                    (a) Snow removal;
          "auto"; or                                                        (b) Road      maintenance,       but   not
      c. While it is being moved from an aircraft,                               construction or resurFacing; or
          watercraft or "auto" to the place where it is                     (c) Street cleaning;
          finally delivered;
                                                                       (2) Cherry pickers and similar devices
      but "loading or unloading" does not include the                        mounted on automobile or truck chassis
      movement of property by means of a                                     and used to raise or lower workers; and
      mechanical device, other than a hand truck,
      that is not attached to the aircraft, watercraft or              (3) Air       compressors,       pumps     and
      "auto".                                                                generators, including spraying, welding,
                                                                             building       cleaning,      geophysical
  12. "Mobile equipment" means any of the following
                                                                             exploration, lighting and well servicing
      types of land vehicles, including any attached                         equipment.
      machinery or equipment:
                                                                    However, "mobile equipment" does not include
      a. Bulldozers, farm machinery, forklifts and                  land vehicles that are subject to a compulsory
          other vehicles designed for use principally               or financial responsibility law or other motor
          off public roads;                                         vehicle insurance or motor vehicle registration
      b. Vehicles maintained for use solely on or                   law where they are licensed or principally
          next to premises you own or rent;                         garaged. Land vehicles subject to a
      c. Vehicles that travel on crawler treads;                    compulsory or financial responsibility law or
                                                                    other motor vehicle insurance law or motor
      d. Vehicles, whether self-propelled or not, on                vehicle registration law are considered "autos".
          which are permanently mounted:
                                                                13. "Occurrence" means an accident, including
         (1) Power cranes, shovels, loaders, diggers                continuous       or    repeated     exposure    to
              or drills; or                                         substantially the same general harmful
         (2) Road construction or resurfacing                       conditions.
              equipment such as graders, scrapers or            14. "Personal and advertising injury" means injury,
              rollers;                                              including consequential "bodily injury", arising
      e. Vehicles not described in Paragraph a., b.,                out of one or more of the following offenses:
          c. or d. above that are not self-propelled                a. False arrest, detention or imprisonment;
          and are maintained primarily to provide
          mobility to permanently attached equipment                b. Malicious prosecution;
          of the following types:                                   c. The wrongful eviction from, wrongful entry
         (1) Air       compressors,       pumps     and                 into, or invasion of the right of private
              generators, including spraying, welding,                  occupancy of a room, dwelling or premises
              building       cleaning,      geophysical                 that a person occupies, committed by or on
              exploration, lighting and well servicing                  behalf of its owner, landlord or lessor;
              equipment; or                                         d. Oral or written publication, in any manner,
        (2) Cherry pickers and similar devices used                     of material that slanders or libels a person
            to raise or lower workers;                                  or organization or disparages a person's or
                                                                        organization's goods, products or services;
      f. Vehicles not described in Paragraph a., b.,
         c. or d. above maintained primarily for                    e. Oral or written publication, in any manner,
         purposes other than the transportation of                      of material that violates a person's right of
         persons or cargo.                                              privacy;




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       f. The use of another's advertising idea in               17. "Property damage" means:
          your "advertisement"; or                                    a. Physical injury to tangible property,
      g. Infringing upon another's copyright, trade                      including all resulting loss of use of that
          dress or slogan in your "advertisement".                       property. AII such loss of use shall be
  15. "Pollutants" means any solid, liquid, gaseous or                   deemed to occur at the time of the physical
      thermal irritant or contaminant, including                         injury that caused it; or
      smoke, vapor, soot, fumes, acids, alkalis,                      b. Loss of use of tangible property that is not
      chemicals and waste. Waste includes materials                      physically injured. AII such loss of use shall
      to be recycled, reconditioned or reclaimed.                        be deemed to occur at the time of the
  16. "Products-completed operations hazard":                            "occurrence" that caused it.
      a. Includes all "bodily injury" and "property                   For the purposes of this insurance, electronic
          damage" occurring away from premises you                    data is not tangible property.
          own or rent and arising out of "your product"               As used in this definition, electronic data
          or "your work" except:                                      means information, facts or programs stored
         (1) Products that are still in your physical                 as, created or used on, or transmitted to or
             possession; or                                          from computer software, including systems and
                                                                      applications software, hard or floppy disks, CD-
         (2) Work that has not yet been completed                    ROMs, tapes, drives, cells, data processing
              or abandoned. However, "your work" will                 devices or any other media which are used
              be deemed completed at the earliest of                 with electronically controlled equipment.
              the following times:
                                                                 18. "Suit" means a civil proceeding in which
            (a) When all of the work called for in                   damages because of "bodily injury", "property
                  your contract has been completed.                  damage", or "personal and advertising injury"
            (b) When all of the work to be done at                   to which this insurance applies are alleged.
                  the job site has been completed if                 "Suit" includes:
                  your contract calls for work at more               a. An arbitration proceeding in which such
                  than one job site.                                     damages are claimed and to which the
            (c) When that part of the work done at                       insured must submit or does submit with
                  the job site has been put to its                       our consent; or
                  intended use by any other person or                b. Any other alternative dispute resolution
                  organization other than another                        proceeding in which such damages are
                  contractor or subcontractor working                    claimed and to which the insured submits
                  on the same project.                                   with our consent.
              Work      that   may     need    service,.         19. "Temporary worker" means a person who is
              maintenance, correction, repair or                     furnished to you to substitute for a permanent
              replacement, but which is otherwise                    "employee" on leave or to meet seasonal or
              complete, will be treated as completed.                short-term workload conditions.
          The "bodily injury" or "properry damage"               20. "Volunteer worker" means a person who is not
          must occur away from premises you own or                   your "employee", and who donates his or her
          rent, unless your business includes the                    work and acts at the direction of and within the
          selling, handling or distribution of "your                 scope of duties determined by you, and is not
          product" for consumption on premises you                   paid a fee, salary or other compensation by
          own or rent.                                               you or anyone else for their work pen`ormed for
      b. Does not include "bodily injury" or "property               you.
         damage" arising out of:                                 21. "Your product":
        (1) The transportation of property, unless                   a. Means:
            the injury or damage arises out of a
            condition in or on a vehicle not owned or                   (1) Any goods or products, other than real
            operated by you, and that condition was                         property, manufactured, sold, handled,
            created by the "loading or unloading" of                        distributed or disposed of by:
            that vehicle by any insured; or                                (a) You;
        (2) The existence of tools, uninstalled                            (b) Others trading under your name; or
            equipment or abandoned or unused
            materials.




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             (c) A person or organization whose                           Buildings with 65% or more of the rental
                 business or assets you have                              units or floor area vacant or unoccupied
                 acquired; and                                            are considered unoccupied under this
         (2) Containers (other than vehicles),                            provision.
              materials, parts or equipment furnished                 (2) After damage by a Covered Cause of
              in connection with such goods or                            Loss, permanent repairs to the building:
              products.
                                                                         (a) Have not started; and
      b. Includes:                                                       (b) Have not been contracted for;
         (1) Warranties or representations made at
                                                                          within 30 days of initial payment of loss.
              any time with respect to the fitness,
              quality, durability, perFormance or use of              (3) The building has:
              "your product"; and                                        (a) An outstanding order to vacate;
         (2) The providing of or failure to provide                       (b) An outstanding demolition order; or
              warnings or instructions.
                                                                          (c) Been    declared       unsafe        by
      c. Does not include vending machines or                                 governmental authority.
          other property rented to or located for the
                                                                     (4) Fixed and salvageable items have been
          use of others but not sold.
                                                                          or are being removed from the building
  22. "Your work":                                                        and are not being replaced. This does
      a. Means:                                                           not apply to such removal that is
                                                                          necessary or incidental to any
         (1) Work or operations performed by you or
                                                                          renovation or remodeling.
             on your behalf; and
                                                                     (5) Failure to:
         (2) Materials, parts or equipment furnished
             in connection with such work or                             (a) Furnish necessary heat, water,
             operations.                                                     sewer service or electricity for 30
                                                                             consecutive days or more, except
      b. Includes:
                                                                             during a period of seasonal
       (1) Warranties or representations made at                             unoccupancy; or
            any time with respect to the fitness,                        (b) Pay property taxes that are owing
            quality, durability, performance or use of
                                                                             and have been outstanding for more
            "your work"; and
                                                                             than one year following the date due,
       (2) The providing of or failure to provide                            except that this provision will not
            warnings or instructions.                                        apply where you are in a bona fide
SECTION III — COMIViON POLICY CONDITIONS                                     dispute with the taxing authority
(APPLICABLE TO SECTION I— PROPERTY AND                                       regarding payment of such taxes.
SECTION II — LIABILITY)                                            b. 10 days before the effective date of
A. Cancellation                                                       cancellation if we cancel for nonpayment of
                                                                      premium.
   1. The first Named Insured shown in the
      Declarations may cancel this policy by mailing               c. 30 days before the effective date of
      or delivering to us advance written notice of                   cancellation if we cancel for any other
      cancellation.                                                   reason.
   2. We may cancel this policy by mailing or                   3. We will mail or deliver our notice to the first
      delivering to the first Named Insured written                Named Insured's last mailing address known to
      notice of cancellation at least:                             us.
      a. Five days before the effective date of                 4. Notice of cancellation will state the effective
         cancellation if any one of the following                  date of cancellation. The policy period will end
         conditions exists at any building that is                 on that date.
         Covered Property in this policy:                       5. If this policy is cancelled, we will send the first
        (1) The building has been vacant or                        Named Insured any premium refund due. If we
             unoccupied 60 or more consecutive                     cancel, the refund will be pro rata. If the first
             days. This does not apply to:                         Named Insured cancels, the refund may be
                                                                   less than pro rata. The cancellation will be
            (a) Seasonal unoccupancy; or                           effective even if we have not made or offered a
            (b) Buildings     in    the   course     of            refund.
                 construction, renovation or addition.




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   6. If notice is mailed, proof of mailing will be                 4. Paragraph 2. of this condition does not apply to
       sufficient proof of notice.                                      any     inspections,    surveys,    reports    or
B. Changes                                                              recommendations we may make relative to
                                                                        certification, under state or municipal statutes,
   This policy contains all the agreements between                      ordinances or regulations, of boilers, pressure
   you and us concerning the insurance afforded.                        vessels or elevators.
   The first Named Insured shown in the Declarations
   is authorized to make changes in the terms of this            F. Insurance Under Two Or More Coverages
   policy with our consent. This policy's terms can be              If two or more of this policy's coverages apply to
   amended or waived only by endorsement issued                     the same loss or damage, we will not pay more
   by us and made a part of this policy.                            than the actual amount of the loss or damage.
C. Concealment, Misrepresentation Or Fraud                       G. Liberalization
   This policy is void in any case of fraud by you as it            If we adopt any revision that would broaden the
   relates to this policy at any time. It is also void if           coverage under this policy without additional
   you or any other insured, at any time, intentionally             premium within 45 days prior to or during the
   conceals or misrepresents a material fact                        policy period, the broadened coverage will
   concerning:                                                      immediately apply to this policy.
   1. This policy;                                               H. Other Insurance
   2. The Covered Property;                                         1. If there is other irisurance covering the same
   3. Your interest in the Covered Property; or                        loss or damage, we will pay only for the
                                                                       amount of covered loss or damage in excess of
   4. A claim under this policy.                                       the amount due from that other insurance,
D. Examination Of Your Books And Records                               whether you can collect on it or not. But we will
   We may examine and audit your books and                             not pay more than the applicable Limit of
   records as they relate to this policy at any time                   Insurance of Section I— Property.
   during the policy period and up to three years                   2. Business LiabilityCoverage is excess over:
   afterward.                                                           a. Any other insurance that insures for direct
E. Inspections And Surveys                                                 physical loss or damage; or
   1. We have the right to:                                             b. Any other primary insurance available to
       a. Make inspections and surveys at any time;                        you covering liability for damages arising
                                                                           out of the premises or operations for which
       b. Give you reports on the conditions we find;                      you have been added as an additional
          and                                                              insured.
       c. Recommend changes.                                         3. When this insurance is excess, we will have no
   2. We are not obligated to make any inspections,                     duty under Business Liability Coverage to
      surveys, reports or recommendations and any                       defend any claim or "suit" that any other insurer
      such actions we do undertake relate only to                       has a duty to defend. If no other insurer
      insurability and the premiums to be charged.                      defends, we will undertake to do so, but we will
      We do not make safety inspections. We do not                      be entitled to the insured's rights against all
      undertake to perform the duty of any person or                    those other insurers.
      organization to provide for the health or safety            I. Premiums
      of workers or the public. And we do not warrant
                                                                    1. The first Named Insured shown in the
      that conditions:
                                                                       Declarations:
       a. Are safe and healthful; or
                                                                       a. Is responsible for the payment of all
      b. Comply with laws, regulations, codes or                           premiums; and
         standards.
                                                                       b: Will be the payee for any return premiums
   3. Paragraphs 1. and 2. of this condition apply not                     we pay.
      only to us, but also to any rating, advisory, rate
      service or similar organization which makes                   2. The premium shown in the Declarations was
      insurance inspections, surveys, reports or                       computed based on rates in effect at the time
      recommendations.                                                 the policy was issued. On each renewal,
                                                                       continuation or anniversary of the effective
                                                                       date of this policy, we will compute the
                                                                       premium in accordance with our rates and
                                                                       rules then in effect.




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   3. With our consent, you may continue this policy                 b. After a loss to your Covered Property only
      in force by paying a continuation premium for                     if, at time of loss, that party is one of the
      each successive one-year period. The                              following:
      premium must be:                                                 (1) Someone insured by this insurance;
      a. Paid to us prior to the anniversary date; and                 (2) A business firm:
      b. Determined in accordance with Paragraph                            (a) Owned or controlled by you; or
          2. above.
                                                                            (b) That owns or controls you; or
       Our forms then in effect will apply. If you do not
      pay the continuation premium, this policy will                   (3) Your tenant.
      expire on the first anniversary date that we                   You may also accept the usual bills of lading or
      have not received the premium.                                 shipping receipts limiting the liability of carriers.
   4. Undeclared exposures or change in your                         This will not restrict your insurance.
      business operation, acquisition or use of
                                                                 2. Applicable      to    Businessowners         Liability
      locations may occur during the policy period
                                                                    Coverage:
      that are not shown in the Declarations. If so,
      we may require an additional premium. That                     If the insured has rights to recover all or part of
      premium will be determined in accordance with                  any payment we have made under this policy,
      our rates and rules then in effect.                            those rights are transferred to us. The insured
                                                                     must do nothing after loss to impair them. At
J. Premium Audit
                                                                     our request, the insured will bring "suit" or
   1. This policy is subject to audit if a premium                   transfer those rights to us and help us enforce
      designated as an advance premium is shown                      them. This condition does not apply to Medical
      in the Declarations. We will compute the final                 Expenses Coverage.
      premium due when we determine your actual
                                                              L. Transfer Of Your Rights And Duties Under This
      exposures.
                                                                 Policy
   2. Premium shown in this policy as advance
                                                                 Your rights and duties under this policy may not be
      premium is a deposit premium only. At the
                                                                 transferred without our written consent except in
      close of each audit period, we will compute the
                                                                 the case of death of an individual Named Insured.
      earned premium for that period and send
      notice to the first Named Insured. The due date            If you die, your rights and duties will be transferred
      for audit premiums is the date shown as the                to your legal representative but only while acting
      due date on the bill. If the sum of the advance            within the scope of duties as your legal
      and audit premiums paid for the policy period is           representative. Until your legal representative is
      greater than the earned premium, we will                   appointed, anyone havirig proper temporary
      return the excess to the first Named Insured.              custody of your property will have your rights and
                                                                 duties but only with respect to that property.
   3. The first Named Insured must keep records of
      the information we need for premium
      computation and send us copies at such times
      as we may request.
K. Transfer Of Rights Of Recovery Against Others
   To Us
   1. Applicable to Businessowners Property
      Coverage:
      If any person or organization to or for whom we
      make payment under this policy has rights to
      recover damages from another, those rights
      are transferred to us to the extent of our
      payment. That person or organization must do
      everything necessary to secure our rights and
      must do nothing after loss to impair them. But
      you may waive your rights against another
      party in writing:
      a. Prior to a loss to your Covered Property.




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                                                                                                   BUSINESSOWNERS
                                                                                                       BP 01 1811 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        TEXAS CHANGES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

A. Section I— Property is amended as follows:                                 (2) We will still retain our right to deny
   1. Paragraph B. Exclusions is amended as                                       the claim.
      follows:                                                      3. Paragraph E.3. Duties In The Event Of Loss
      a. Paragraph 2.1.(4) is replaced by the                          Or Damage Property Loss Condition is
         following:                                                    amended as follows:
        (4) Settling, cracking, shrinking, expansion                   a. Paragraph a.(2) is replaced by the
             or contraction;                                              following:
      b. The following is added to Paragraph 2.1.                         (2) Give us prompt • notice of the loss or
         Other Types Of Loss:                                                  damage. Include a description of the
                                                                               property involved. However, with
         (8) Release, discharge or dispersal of                                respect to loss or damage in the state of
             contaminants or pollutants.                                       Texas caused by windstorm or hail in
   2. Paragraph E.2. Appraisal Property Loss                                   the catastrophe area as defined by the
      Condition is replaced by the following:                                  Texas Insurance Code, any claim must
      2. Appraisal                                                             be filed with us not later than one year
                                                                               after the date of the loss or damage that
         a. If we and you disagree on the amount of                            is the subject of the claim, except that a
            loss, either may make written demand                               claim may be filed after the first
            for an appraisal of the loss. In this event,                       anniversary of the date of the loss or
            each party will select a competent and                             damage for good cause shown by the
            impartial appraiser and notify the other                           person filing the claim.
            of the appraiser selected within 20 days
            of such demand. The two appraisers will                    b. Paragraph a.(7) is replaced by the
            select an umpire. If they cannot agree                         following:
            within 15 days upon such umpire, either                        (7) Send us a signed, sworn proof of loss
            may request that selection be made by                              containing the information we request to
            a judge of a court having jurisdiction.                            investigate the claim. You must do this
            Each appraiser will state separately the                           within 91 days after our request. We will
            amount of loss. If they fail to agree, they                        supply you with the necessary forms.
            will submit their differences to the                    4. Paragraph E.4. Legal Action Against Us
            umpire. A decision agreed to by any two                    Property Loss Condition is replaced by the
            will be binding as to the amount of loss.                  following, except as provided in 7. below:
            Each party will:
                                                                       4. Legal Action Against Us
           (1) Pay its chosen appraiser; and
                                                                            a. Except as provided in Paragraph b., no
           (2) Bear the other expenses of the                                  one may bring a legal action against us
                 appraisal and umpire equally.                                 under this insurance unless:
         b. If there is an appraisal:                                         (1) There has been full compliance with
           (1) You will retain your right to bring a                               all of the terms of this insurance; and
                 legal action against us, subject to the                      (2) The action is brought within two
                 provisions of Paragraph E.4. Legal                               years and one day from the date the
                 Action Against Us Property Loss                                  cause of action first accrues. A
                 Condition; and                                                   cause of action accrues on the date
                                                                                  of the initial breach of our contractual
                                                                                  duties as alleged in the action.




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         b. With respect to loss or damage in the                     c. Under Paragraph E.5. Loss Payment, the
            state of Texas caused by windstorm or                        provisions pertaining to notice of our
            hail in the catastrophe area as defined                      intentions and the time period for payment
            by the Texas Insurance Code, no one                          of claims are replaced by the following:
            may bring a legal action against us                         (1) Claims Handling
            under this insurance, unless:
                                                                            (a) Within 15 days after we receive
           (1) There has been full compliance with                               written notice of claim, we will:
               all of the terms of this insurance; and
                                                                                (i) Acknowledge receipt of the claim.
           (2) The action is brought within the                                      If we do not acknowledge receipt
                earlier of the following:                                            of the claim in writing, we will
                 (a) Two years and one day from the                                  keep a record of the date,
                     date we accept or reject the                                    method and content of the
                     claim; or                                                       acknowledgment;
                (b) Three years and one day from                                (ii) Begin any investigation of the
                    the date of the loss or damage                                   claim; and
                    that is the subject of the claim.                            (iii) Request a signed, sworn proof of
         This Paragraph 4. does not apply to                                           loss, specify the information you
         Paragraph E.3. Legal Action Against Us                                        must provide and supply you with
         Liability And Medical Expenses General                                        the necessary forms. We may
         Condition in Section II — Liability.                                          request more informatiori at a
   5. Paragraph E.5. Loss Payment Property Loss                                        later   date,    if during    the
      Condition is amended as follows:                                                 investigation of the claim such
                                                                                       additional      information     is
      a. Paragraph 5.d.(1)(b) is replaced by the                                       necessary.
         following:
                                                                              (b) We will notify you in writing as to
              (b) If, at the time of the loss, the Limit of                        whether:
                  Insurance applicable to the lost or
                  damaged property is less than 80%                               (i) The claim or part of the claim will
                  of the full replacement cost of the                                  be paid;
                  property immediately before the loss,                          (ii) The claim or part of the claim has
                  we will pay the greater of the                                       been denied, and inform you of
                  f.ollowing amounts, but not more than                                the reasons for denial;
                  the Limit of Insurance that applies to                         (iii) More information is necessary; or
                  the property:
                                                                                 (iv) We need additional time to reach
                  (i) The actual cash value of the lost                               a decision. If we need additional
                      or damaged property; or                                         time, we will inform you of the
                (ii) A proportion of the cost to repair                               reasons for such need.
                     or replace the lost or damaged                               We will provide notification, as
                     property, after application of the                           described in (b)(i) through (b)(iv)
                     deductible and without deduction                             above within:
                     for depreciation. This proportion
                     will equal the ratio of the                                  (i) 15 business days after we
                     applicable Limit of Insurance to                                 receive the signed, sworn proof
                     80% of the full replacement cost                                 of loss and all information we
                     of the property immediately                                      requested; or
                     before the loss.                                            (ii) 30 days after we receive the
      b. The following is added:                                                      signed, sworn proof of loss and
                                                                                      all information we requested, if
         Section 862.053. Policy A Liquidated                                         we have reason to believe the
         Demand                                                                       loss resulted from arson.
         A fire insurance policy, in case of total loss                               If we notified you that we need
         by fire of property insured, shall be held and                               additional time to reach a
         considered to be a liquidated demand                                         decision, 'we must then either
         against the company for the full amount of                                   approve or deny the claim within
         such policy. The provisions of this Article                                  45 days of such notice.
         shall not apply to personal property.




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       (2) We will pay for covered loss or damage            7. Paragraphs F.2.d. and F.2.f. of the
           within five business days after:                     Mortgageholders Property General Condition
          (a) We have notified you that payment                 are replaced by the following:
               of the claim or part of the claim will           d. If we deny your claim because of your acts
               be made and have reached                            or because you have failed to comply with
               agreement with you on the amount                    the terms of this policy, the mortgageholder
               of loss; or                                         will still have the right to receive loss
          (b) An appraisal award has been made.                    payment if the mortgageholder:
           However, if payment of the claim or part               (1) Pays any premium due under this policy
           of the claim is conditioned on your                         at our request if you have failed to do
           compliance with any terms of this policy,                   so;
           we will make payment within five                        (2) Submits a signed, sworn proof of loss
           business days after the date you have                        within 91 days after receiving notice
           complied with such terms.                                    from us of your failure to do so; and
       (3) Catastrophe Claims                                      (3) Has notified us of any change in
           If a claim results from a weather-related                    ownership, occupancy or substantial
           catastrophe or a major natural disaster,                     change in risk known to the
           the claim handling and claim payment                         mortgageholder.
           deadlines described in c.(1) and c.(2)                   AII of the terms of this policy will then apply
           above are extended for an additional 15                  directly to the mortgageholder.
           days.                                                 f. If this policy is cancelled, we will give the
           Catastrophe or Major Natural Disaster                    mortgageholder named in the Declarations
           means a weather-related event which:                     written notice of cancellation.
          (a) Is declared a disaster under the                      If we cancel this policy, we will notify the
               Texas Disaster Act of 1975; or                       mortgageholder at least:
          (b) Is determined to be a catastrophe by                 (1) 14 days before the effective date of
               the Texas Department of Insurance.                       cancellation if we cancel for your
       (4) The term "business day", as used in the                      nonpayment of premium; or
           Loss Payment Property Loss Condition,                   (2) 30 days before the effective date of
           means a day other than Saturday,                             cancellation if we cancel for any other
           Sunday or a holiday recognized by the                        reason.
           state of Texas.                                          If you cancel the policy, we will give the
  6. The following is added to Paragraph F.                         mortgageholder notice of cancellation to be
     Property General Conditions:                                   effective on the date stated in the notice.
     5. Loss To Real Property                                       The date of cancellation cannot be before
                                                                    the 10th day after the date we mail the
        The amount of insurance applicable to loss                  notice.
        to real property by fire will be reduced by
        the amount of such loss. As repairs are              8. Paragraph H. Property Definitions               is
        made, the amount reduced will be                        amended as follows:
        reinstated to the extent of the value of the            Paragraph 9.b. is replaced by the following:
        repairs. The reinstatement will not increase            b. "Period of restoration" does not include any
        the specified Limits of Insurance.                         increased period required due to the
        No other loss insured against in Section I—                enforcement of or compliance with any
        Property will reduce the specified Limits of               ordinance or law that regulates the
        Insurance.                                                 construction, use or repair, or requires the
                                                                   tearing down of any property.
                                                                   The expiration date of this policy will not cut
                                                                   short the "period of restoration".




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B. Section II - Liability is amended as follows:                            (2) If this policy has been in effect for
   1. The following is added to Paragraph E.2.                                  more than 60 days, or if it is a
      Duties In The Event Of Occurrence,                                        renewal or continuation of a policy
      OfPense, Claim Or Suit Liability And Medical                              issued by us, we may cancel only for
      Expenses General Condition and similar                                    one or more of the following reasons:
      conditions in any endorsement attached to this                           (a) Fraud in obtaining coverage;
      policy:                                                                  (b) Failure to pay premiums when
      We will notify the first Named Insured in writing                             due;
      of:                                                                      (c) An increase in hazard within the
      a. An initial offer to settle a claim made or                                 control of the insured which
          "suit" brought against the insured under this                             would produce an increase in
          coverage. The notice will be given not later                              rate;
          than the 10th day after the date on which
                                                                               (d) Loss of our reinsurance covering
          the offer is made.
                                                                                    all or part of the risk covered by
      b. Any settlement of a claim made or "suit"                                   the policy; or
          brought against the insured under this
                                                                               (e) If we have been placed in
          coverage. The notice will be given not later                              supervision, conservatorship or
          than the 30th day after the date of the
                                                                                    receivership and the cancellation
          settlement.
                                                                                    is approved or directed by the
   2. The following provision applies:                                              supervisor,      conservator    or
      With regard to liability for "bodily injury",                                 receiver.
      "property damage" and "personal and                             c. For the following reasons, if this policy
      advertising injury", unless we are prejudiced by                   provides coverage to a governmental
      the insured's or your failure to comply with the                   unit, as defined under 28 TEX. ADMIN.
      requirement, no provision of this policy                           CODE, Section 5.7001 or on one- and
      requiring you or any insured to give notice of                     two-family dwellings:
      "occurrence", claim or "suit" or to forward                       (1) If this policy has been in effect for
      demands, notices, summonses or legal papers                           less than 90 days, we may cancel
      in connection with a claim or "suit" will bar
                                                                            this policy for any reason.
      coverage under this policy.
                                                                        (2) If this policy has been in effect for 90
C. Section III — Common Policy Conditions is
                                                                            days or more, or if it is a renewal or
   amended as follows:
                                                                            continuation of a policy issued by us,
   1. Paragraph 2. under A. Cancellation is                                 we may cancel this policy only for
      replaced by the following:                                            the following reasons:
      2. We may cancel this policy:                                        (a) If the first Named Insured does
          a. By mailing or delivering to the first                               not pay the premium or any
             Named Insured written notice of                                     portion of the premium when due;
             cancellation, stating the reason for                          (b) If the Texas Department of
             cancellation, at least 10 days before the                           Insurance      determines      that
             effective date of cancellation.                                     continuation of this policy would
          b. For the following reasons, if this policy                           result in violation of the Texas
             does not provide coverage to a                                      Insurance Code or any other law
             governmental unit, as defined under 28                              governing     the business of
             TEX. ADMIN. CODE, Section 5.7001 or                                 insurance in Texas;
             on one- and two-family dwellings:                             (c) If the Named Insured submits a
            (1) If this policy has been in effect for 60                         fraudulent claim; or
                 days or less, we may cancel for any                       (d) If there is an increase in the
                 reason except that, under the                                   hazard within the control of the
                 provisions of the Texas Insurance                              Named Insured which would
                 Code, we may not cancel this policy                             produce an increase in rate.
                 solely because the policyholder is an
                 elected official; or




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  2. The following paragraph is added and                           3. If notice is mailed, proof of mailing will
     supersedes any provision to the contrary:                          be sufficient proof of notice.
     M. Nonrenewal                                                  4. The transfer of a policyholder between
        1. We may elect not to renew this policy                        admitted companies within the same
           except that, under the provisions of the                     insurance group is not considered a
           Texas Insurance Code, we may not                             refusal to renew.
           refuse to renew this policy solely                 3. Paragraph 3. under I. Premiums does not
           because the policyholder is an elected                apply.
           official.
        2. If we elect not to renew this policy, we
           may do so by mailing or delivering to the
           first Named Insured, at the last mailing
           address known to us, written notice of
           nonrenewal, stating the reason for
           nonrenewal, at least 60 days before the
           expiration date. If notice is mailed or
           delivered less than 60 days before the
           expiration date, this policy will remain in
           effect until the 61st day after the date on
           which the notice is mailed or delivered.
           Earned premium for any period of
           coverage that extends beyond the
           expiration date will be computed pro
           rata based on the previous year's
           premium.




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POLICY NUMBER: BPP1092982                                                                    BUSINESSOWNERS
                                                                                                 BP 02 04 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    TEXAS CHANGES = AMENDMENT OF CANCELLATION
          PROVISIONS OR COVERAGE CHANGE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

In the event of cancellation or material change that reduces or restricts the insurance afforded by this Policy, we
agree to mail prior written notice of cancellation or material change to:

                                                   SCHEDULE

 A. Name:
    INTERNATIONAL INSTITUTE OF AESTHETIC ARTS & BEAUTY LLC


 B. Address:
    glammeupgiro@aol.com


 C. Number Of Days Advance Notice:
    10


Information re uired to com lete this Schedule, if not shown above, will be shown in the Declarations.




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                                                                                                BUSINESSOWNERS
                                                                                                    BP 77 93 07 16

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 TEXAS CHANGES - EQUIPMENT BREAKDOWN
This endorsement modifies insurance provided under the following:

EQUIPMENT BREAKDOWN COVERAGE ENDORSEMENT
                                                                                   I
A.       The following coverages are added:

       1. Defense

           If a claim or "suit" is brought against you alleging that you are liable for damage to property of another in
           your care, custody or control that was directly caused by an "accident" to "covered equipment" we will
           either:

           a.    Settle the claim or "suit"; or

           b.   Defend you against the claim or "suit" but keep for ourselves the right to settle it at any point.

      2. Supplementary Payments

           We will pay, with respect to any claim or "suit" we defend:

           a.    AII expenses we incur;

           b.   The cost of bonds to release attachments, but only for bond amounts within the Limit of Insurance.
                We do not have to furnish these bonds;

           c.   AII reasonable expenses incurred by you at our request to assist us in the investigation or defense
                of the claim or "suit", including actual loss of earnings up to $100 a day because of time off from
                work;

           d.   AII costs taxed against you in any "suit" we defend;

           e.   Pre-judgment interest awarded against you on that part of the judgment we pay. If we make an
                offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest based on
                that period of time after the offer; and

           f.   AII interest on the full amount of any judgment that accrues after entry of the judgment and before
                we have paid, offered to pay, or deposited in court the part of the judgment that is within the Limit
                of Insurance shown in the Declarations.

           These payments will not reduce the Limit of Insurance.

B.       As respects Equipment Breakdown Coverage only, the following are added:

      1. Bankruptcy

          The bankruptcy or insolvency of you or your estate will not relieve us of an obligation under this '
          coverage section.

         2.      Legal Action Against Us



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            No one may bring a legal action against us under this Equipment Breakdown coverage unless:
                          (
            a. There has been full compliance with all the terms of this Equipment Breakdown coverage; and

            b. The action is brought within 2 years and 1 day from the date that cause of action first accrues.

             c.   We agree in writing that you have an obligation to pay for damage to Covered Property of others
                  or until the amount of that obligation has been determined by final judgment or arbitration award.
                  No one has the right under this policy to bring us into an action to determine your liability.

C.         With respect to Equipment Breakdown Coverage only, the following Definition is added:

     "Suit" means a civil proceeding and includes:

      1.    An arbitration proceeding in which damages are claimed and to which you must submit or do submit
            with our consent; or

     2.     Any other alternative dispute resolution proceeding in which damages are claimed and to which you
            submit with our consent.




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                                                                                              CYB-TX 77 00 0619

                                   TEXAS CHANGES
These changes modify insurance provided under the                     Network Disru tion, You must also do the
following:                                                            following:       p

CYBER INSURANCE COVERAGE                                             i. Fully assist and cooperate with us in the
                                                                          condu'ct,       defense,      investigation,
SECTION I-COVERAGES, Paragraph B. OUR                                     negotiation, and settlement of any
RIGHTS AND DUTIES IN THE EVENT OF CLAIMS                                  Claim,      Regulatory        Proceeding,
is replaced by the following:                                             Privacy Breach Event, System
                                                                          Compromise, Extortion Threat, or
We have the right and duty to defend, and pay on                          Network Disruption. At our request,
your behalf any Claim Expenses resulting from, any                        you must provide us with written
Claim to which this insurance applies, even if the                        statements; attend meetings and
allegations are groundless, false; or fraudulent. We                      negotiations;     produce      and    make
have the right to investigate, direct the defense, and                    available all information, books, records,
settle any Claim as we deem expedient. Our duty                           documents and other materials which
ends when the Endorsement's applicable Limit of                           we deem relevant to , the Claim,
Insurance has been exhausted by our payment of                            Regulatory        Proceeding,       Privacy
Damages, Claim Expenses, Regulatory Fines,                                Breach Event, System Compromise,
Privacy Breach Expenses or Business Income                                Extortion       Threat     or      Network
Loss and Extra Expense or we have deposited the                    .      Disruption or coverage therefor; attend
Endorsement's remaining applicable Limit of                               hearings, depositions, proceedings,
Insurance with a court of competent jurisdiction. We                      trials and appeals; assist us in effecting
have no obligation or duty to defend any Claim or pay                     settlements, securing         and     giving
any Claims Expenses for which coverage is                                 evidence and obtaining the attendance
excluded or not othentiise afforded by the                                of witnesses, and pursuing or enforcing
Endorsement.                                                              any right of corltribution or indemnity
If any Claim Expenses require the Insured to pay on                       against a person or entity who may be
our behalf or at our direction, we must provide a                         liable to you.
reimbursement payment to the Insured within five (5)                 ii. You must do whatever is necessary to
business days after such payment is made.                                 secure and afPect any rights of
                                                                          indemnity,          contribution,         or
SECTION III-EXCLUSIONS Paragraph A. 7 is                                  apportionment that you may have.
deleted in its entirety.                                             iii. You shall accept our assignment of
                                                                          counsel and         shall refrain from
SECTION IV-LIMITS OF INSURANCE AND                                        discussing any Claim, Regulatory
DEDUCTIBLE Paragraph F. is deleted in its entirety.                       Proceeding, Privacy Breach Event,
                                                                          System       Compromise,          Extortion
SECTION V-CONDITIONS Paragraph 4. of Condition                            Threat or Network Disruption with
C. NOTICE OF PRIVACY BREACH EVENTS,                                       anyone other than counsel retained to
NETWORK              DISRUPTIONS,    SYSTEM                               represent      the   Insured       or    our
COMPROMISES,            EXTORTION  THREATS,                               representatives.
REGULATORY PROCEEDINGS AND CLAIMS is
replaced by the following:                                          iv. With respect to a Privacy Breach
                                                                        Event, System Compromise or
4. Insured's Duties in the Event of a Claim,                            Extortion Threat, you must take all
   Regulatory Proceeding, Privacy Breach Event,                         reasonable steps to protect Computer
   System Compromise, Extortion Threat or                               Systems and Protected Information
   Network Disruption. .                                                from further loss or damage, and keep a
                                                                        record of the expenses necessary to
   a. If there is a Claim, Regulatory Proceeding,
      Privacy Breach Event, Extortion Threat or




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           protect such Computer Systems and
           Protected Information.
        v. With respect to a Network Disruption,
           you must take all reasonable steps and
           measures to limit or mitigate the
           Business Income Loss and the
           incurrence of Extra Expenses.
     b. After the discovery of any Network
        Disruption and within ninety (90) days of
        our request, the Named Insured must
        furnish us with written proof of the Named
        Insured's claimed loss, duly sworn to, with
        full particulars.
     c. No Insured will, except at its own cost,
        voluntarily make a payment, admit liability,
        retain attorneys, consultants, or vendors,
        assume any other obligation, or accept or
        reject arbitration without our prior written
        consent. Any payments, settlements, or
        admissions you make without our prior
        written consent will be made at your own
        expense.
SECTION V-CONDITIONS Condition E. ACTION
AGAINST US is replaced by the following:
E. ACTION AGAINST US
  No action shall be brought against us by any
  Insured, unless, as a condition precedent thereto:
  1. AII Insureds have fully complied with all the
     terms and conditions of this Endorsement; and
  2. With respect to a Claim, the amount of
     Damages has been fixed or rendered certain:
  a. By final judgment against the Insured after trial
     of the issues; and
  b. The time to appeal such judgment has expired
     without an appeal being taken; and
  c. If appeal is taken, after the appeal has been
     determined; and
  d. The Claim is settled in accordance with the
     terms and conditions of this Endorsement.
  No individual or entity shall have any right under
  this Endorsement to join us as a party to any
  Claim to determine the liability of any insured; nor
  shall we be impleaded by you or your legal
  representative in any such Claim.
  In no event shall any action brought by anyone be
  maintained against us unless such action is
  brought within the time frame set forth by
  applicable State Law.




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                                                                                                  IL N 001 09 03


                                    FRAUD STATEMENT
Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly pre-
sents false information in an application for insurance is guilty of a crime and may be subject to fines and con-
finement in prison.




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                                                                                                   ILN1780313

            TEXAS PERIOD TO FILE A CLAIM OR BRING
              LEGAL ACTION AGAINST US NOTICE -
           WINDSTORM OR HAIL - CATASTROPHE AREA
This Notice does not form a part of your insurance contract. No coverage is provided by this Notice, nor can it be
construed to replace any provisions of your policy (including its endorsements). If there is any conflict between
this Notice and the policy (including its endorsements), the provisions of the policy (including its
endorsements) shall prevail.
Carefully read your policy, including the endorsements attached to your policy.
In accordance with Texas Insurance Code Section 2301.010(f), we are notifying you that:
   1. With respect to loss or damage in the State of Texas caused by windstorm or hail in the catastrophe area,
      as defined by the Texas Insurance Code, any claim must be filed with us not later than one year after the
      date of the loss or damage that is the subject of the claim, except that a claim may be filed after the first
      anniversary of the date of the loss or damage for good cause shown by the person filing the claim; and
   2. Any legal action brought against us under the policy for loss or damage in the State of Texas caused by
      windstorm or hail in the catastrophe area, as defined by the Texas Insurance Code, must be brought within
      the earlier of the following:
      a. Two years and one day from the date we accept or reject the claim; or
      b. Three years and one day from the date of the loss or damage that is the subject of the claim.




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                                                                                           BUSINESSOWNERS
                                                                                               BP 0417 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following exclusion is added to Paragraph B.I.                   (2) The spouse, child, parent, brother or
Exclusions — Applicable To Business Liability                            sister of that person as a consequence
Coverage in Section II — Liability:                                      of "bodily injury" or "personal and adver-
          This insurance does not apply to "bodily in-                   tising injury" to that person at whom any
          jury" or "personal and advertising injury" to:                 of the employment-related practices de-
                                                                         scribed in Paragraph (a), (b) or (c)
         (1) A person arising out of any:                                above is directed.
            (a) Refusal to employ that person;                        This exclusion applies:
            (b) Termination of that person's em-                     (1) Whether the injury-causing event de-
                ployment; or                                             scribed in Paragraph (a), (b) or (c)
            (c) Employment-related practices, poli-                      above occurs before employment, dur-
                cies, acts or omissions, such as co-                     ing employment or after employment of
                ercion, demotion, evaluation, reas-                      that person;
                signment, discipline, defamation,                    (2) Whether the insured may be liable as an
                harassment, humiliation, discrimina-                     employer or in any other capacity; and
                tion or malicious prosecution di-
                rected at that person; or                            (3) To any obligation to share damages with
                                                                         or repay someone else who must pay
                                                                         damages because of the injury.




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POLICY NUMBER: BPP1092982                                                                      BUSINESSOWNERS
                                                                                                   BP 04 48 0713

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ADDITIONAL INSURED - DESIGNATED PERSON
                      OR ORGANIZATION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Name Of Additional Insured Person s Or Organization s:
VIOLA BLUE RIDGE, LP



I Information required to complete this Schedule, if not shown above, will be shown in the Declarations.            ~


Section II — Liability is amended as follows:                  B. With respect to the insurance afforded to these
A. The following is added to Paragraph C. Who Is An               additional insureds, the following is added to
   Insured:                                                       Paragraph D. Liability And Medical Expenses
                                                                  Limits Of Insurance:
   3. Any person(s) or organization(s) shown in the
      Schedule is also an additional insured, but only            If coverage provided to the additional insured is
      with respect to liability for "bodily injury",              required by a contract or agreement, the most we
      "property damage" or "personal and advertising              will pay on behalf of the additional insured is the
      injury" caused, in whole or in part, by your acts           amount of insurance:
      or omissions or the acts or omissions of those              1. Required by the contract or agreement; or
      acting on your behalf in the perFormance of                 2. Available under the applicable Limits Of
      your ongoing operations or in connection with                   Insurance shown in the Declarations;
      your premises owned by or rented to you.
                                                                  whichever is less.
       However:
                                                                  This endorsement shall not increase the
       a. The insurance afforded to such additional               applicable Limits Of Insurance shown in the
          insured only applies to the extent permitted            Declarations.
          by law;'and
       b. If coverage provided to the additional
          insured is required by a contract or
          agreement, the insurance afforded to such
          additional insured will not be broader than
          that which you are required by the contract
          or agreement to provide for such additional
          insured.




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                                                                                              BUSINESSOWNERS
                                                                                                  BP04830110

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       REMOVAL OF INSURANCE-TO-VALUE PROVISION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


Paragraph E.5.d. Loss Payment Property Loss Con-                                   ii. Used for the same purpose;
dition in Section I— Property is amended as follows:                                   or
A. Paragraph d.(1)(a) is replaced by the following:                          (iii) The amount that you actually
        (1) At replacement _cost without deduction                                 spend that is necessary to repair
            for depreciation, subject to the following:                            or replace the lost or damaged
                                                                                   property.
           (a) We will pay the cost to repair or
                replace, after application of the de-                        If a building is rebuilt at a new prem-
                ductible and without deduction for                           ises, the cost is limited to the cost
                depreciation, but not more than the                          which would have been incurred had
                least of the following amounts:                              the building been built at the original
                                                                             premises.
                (i) The Limit of Insurance under
                    Section I— Property that applies         B. Paragraph d.(1)(b) does not apply.
                    to the lost or damaged property;
               (ii) The cost to replace, on the same
                    premises, the lost or damaged
                    property with other property:
                     i. Of comparable material and
                        quality; and




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                                                                                          BUSINESSOWNERS
                                                                                              BP 05 01 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

The following is added:
The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued.
On each renewal, continuation, or anniversary of the effective date of this policy, we will compute the premium in
accordance with our rates and rules then in effect.




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POLICY NUMBER: BPP1092982                                                                   BUSINESSOWNERS
                                                                                                BP 05 15 01 15

     THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
     RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
    INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
   CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                        DISCLOSURE PURSUANT TO
                      TERRORISM RISK INSURANCE ACT
                                                   SCHEDULE

 SCHEDULE — PART I
 Terrorism Premium (Certified Acts)       $0.00

 Additional information, if any, concerning the terrorism premium:




 SCHEDULE — PART II
 Federal share of terrorism losses % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium                                    B. Disclosure Of Federal Participation In Payment
   In accordance with the federal Terrorism Risk               Of Terrorism Losses
   Insurance Act, we are required to provide you with          The United States Government, Department of the
   a notice disclosing the portion of your premium, if         Treasury, will pay a share of terrorism losses
   any, attributable to coverage for terrorist acts            insured under the federal program. The federal
   certified under the Terrorism Risk Insurance Act.           share equals a percentage (as shown in Part II of
   The portion of your premium attributable to such            the Schedule of this endorsement or in the policy
   coverage is shown in the Schedule of this                   Declarations) of that portion of the amount of such
   endorsement or in the policy Declarations.                  insured losses that exceeds the applicable insurer
                                                               retention. However, if aggregate insured losses
                                                               attributable to terrorist acts certified under the
                                                               Terrorism Risk Insurance Act exceed $100 billion
                                                               in a calendar year, the Treasury shall not make
                                                               any payment for any portion of the amount of such
                                                               losses that exceeds $100 billion.




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C. Cap On Insurer Participation In Payment Of
   Terrorism Losses
   If aggregate insured losses attributable to terrorist
   acts certified under the Terrorism Risk Insurance
   Act exceed $100 billion in a calendar year and we
   have met our insurer deductible under the
   Terrorism Risk Insurance Act, we shall not be
   liable for the payment of any portion of the amount
   of such losses that exceeds $100 billion, and in
   such case insured losses up to that amount are
   subject to pro rata allocation in accordance with
   procedures established by the Secretary of the
   Treasury.




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                                                                                           BUSINESSOWNERS
                                                                                               BP 0517 01 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION - SILICA OR SILICA-RELATED DUST
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


A. The following exclusion is added to Paragraph B.               4. Any loss, cost or expense arising, in whole
   Exclusions in Section II — Liability:                              or in part, out of the abating, testing for,
   B. Exclusions                                                      monitoring, cleaning up, removing, contain-
                                                                      ing, treating, detoxifying, neutralizing, re-
      This insurance does not apply to:                               mediating or disposing of, or in any way re-
      SILICA OR SILICA-RELATED DUST                                   sponding to or assessing the effects of,
      1. "Bodily injury" arising, in whole or in part,                "silica" or "silica-related dust", by any in-
         out of the actual, alleged, threatened or                    sured or by any other person or entity.
         suspected inhalation of, or ingestion of, "sil-    B The  following   definitions are added to Paragraph
         ica" or "silica-related dust".                       F. Liability And Medical Expenses Definitions
      2. "Property damage" arising, in whole or in            in Section II — Liability:
         part, out of the actual, alleged, threatened         1. "Silica" means silicon dioxide, (occurring in
         or suspected contact with, exposure to, ex-              crystalline, amorphous and impure forms), sili-
         istence of, or presence of, "silica" or "silica-         ca particles, silica dust or silica compounds.
         related dust".                                       2. "Silica-related dust" means a mixture or combi-
      3. "Personal and advertising injury" arising, in            nation of silica and other dust or particles.
         whole or in part, out of the actual, alleged,
         threatened or suspected inhalation of, in-
         gestion of, contact with, exposure to, exist-
         ence of, or presence of, "silica" or ."silica-
         related dust".




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                                                                                             BUSINESSOWNERS
                                                                                                 BP 05 23 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       CAP ON LOSSES FROM CERTIFIED
                            ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:


   BUSINESSOWNERS COVERAGE FORM


The following provisions are added to the                      If aggregate insured losses attributable to terrorist
Businessowners Policy and apply to Property and                acts certified under the Terrorism Risk Insurance
Liability Coverages:                                           Act exceed $100 billion in a calendar year and we
A. CAP ON CERTIFIED TERRORISM LOSSES                           have met our insurer deductible under the
                                                               Terrorism Risk Insurance Act, we shall not be
   "Certified act of terrorism" means an act that is           liable for the payment of any portion of the amount
   certified by the Secretary of the Treasury, in              of such losses that exceeds $100 billion, and in
   accordance with the provisions of the federal               such case insured losses up to that amount are
   Terrorism Risk Insurance Act, to be an act of               subject to pro rata allocation in accordance with
   terrorism pursuant to such Act. The criteria                procedures established by the Secretary of the
   contained in the Terrorism Risk Insurance Act for           Treasury.
   a"certified act of terrorism" include the following:
                                                            B. The terms and limitations of any terrorism
   1. The act resulted in insured losses in excess of          exclusion, or the inapplicability or omission of a
        $5 million in the aggregate, attributable to all       terrorism exclusion, do not serve to create
        types of insurance subject to the Terrorism            coverage for loss or injury or damage that is
        Risk Insurance Act; and                                otherwise excluded under this Policy.
   2. The act is a violent act or an act that is
        dangerous to human life, property or
        infrastructure and is committed by an individual
        or individuals as part of an effort to coerce the
        civilian population of the United States or to
        influence the policy or affect the conduct of the
        United States Government by coercion.




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                                                                                         BUSINESSOWNERS
                                                                                             BP 05 77 01 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           FUNGI OR BACTERIA EXCLUSION (LIABILITY)
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following provisions are added to Section II —                  (2) Any loss, cost or expenses arising out of
Liability:                                                              the abating, testing for, monitoring,
A. The following exclusion is added to Paragraph                        cleaning up, removing, containing, treat-
   B.1., Exclusions — Applicable To Business Lia-                       ing, detoxifying, neutralizing, remediat-
   bility Coverage:                                                     ing or disposing of, or in any .way re-
                                                                        sponding to, or assessing the effects of,
        t. Fungi Or Bacteria                                            "fungi" or bacteria, by any insured or by
         (1) "Bodily injury", . "property damage" or                    any other person or entity.
             "personal and advertising injury" which                This exclusion does not apply to any "fungi"
             would not have occurred, in whole or in                or bacteria that are, are on, or are con-
             part, but for the actual, alleged or                   tained in, a good or product intended for
             threatened inhalation of, ingestion of,                bodily consumption.
             contact with, exposure to, existence of,
             or presence of, any "fungi" or bacteria      B. The following definition is added Paragraph F.
             on or within a building or structure, in-       Liability And Medical Expenses Definitions:
             cluding its contents, regardless of             1. "Fungi" means any type or form of fungus,
             whether any other cause, event, materi-            including mold or mildew and any mycotoxins,
             al or product contributed concurrently or          spores, scents or by-products' produced or re-
             in any sequence to such injury or dam-             leased by fungi.
             age.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               LOSS PAYABLE CLAUSES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Premises Number: 1                Building Number: 1     ApplicableClause                 A
                                                         Indicate Para ra h A, B, C or D:
Description Of Property:       1022 SOUTH GREENVILLE AVENUE ALLEN, TX 75002

Loss Payee Name:              TIME PAYMENT

Loss Payee Address:            1600 DISTRICT AVE #200 BURLINGTON, MA 01803

I Information required to complete this Schedule, if not shown above, will be shown in the Declarations.         ~


Nothing in this endorsement increases the applicable        The following is added to the Loss Payment Property
Limit of Insurance. We will not pay any Loss Payee          Loss Condition in Section I— Property, as shown in
more than their financial interest in the Covered Prop-     the Declarations or in the Schedule:
erty, and we will not pay more than the applicable          A. Loss Payable Clause
Limit of Insurance on the Covered Property.
                                                                For Covered Property in which both you and a
                                                                Loss Payee shown in the Schedule or in the Dec-
                                                                larations have an insurable interest, we will:
                                                                1. Adjust losses with you; and




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       2. Pay any claim for loss or damage jointly to you                 (2) The Loss Payee's right to recover the
          and the Loss Payee, as interests may appear.                        full amount of the Loss Payee's claim
    B. Lender's Loss Payable Clause                                           will not be impaired.
       1. The Loss Payee shown in the Schedule or in                          At our option, we may pay to the Loss
          the Declarations is a creditor, including a mort-                   Payee the whole principal on the debt
          gageholder or trustee, whose interest in that                       plus any accrued interest. In this event,
          Covered Property is established by such writ-                       you will pay your remaining debt to us.
          ten instruments as:                                      3. If we cancel this policy, we will give written
          a. Warehouse receipts;                                      notice to the Loss Payee at least:
          b. A contract for deed;                                     a. 10 days before the effective date of cancel-
                                                                          lation if we cancel for your nonpayment of
          c. Bills of lading;                                             premium; or
          d. Financing statements; or                                 b. 30 days before the effective date of cancel-
          e. Mortgages, deeds of trust, or security                       lation if we cancel for any other reason.
             agreements.                                           4. If we do not renew this policy, we will give
       2. For Covered Property in which both you and a                written notice to the Loss Payee at least 10
          Loss Payee have an insurable interest:                      days before the expiration date of this policy.
          a. We will pay for covered loss or damage to          C. Contract Of Sale Clause
             each Loss Payee in their order of prece-              1. The Loss Payee shown in the Schedule or in
             dence, as interests may appear.                          the Declarations is a person or organization
          b. The Loss Payee has the right to receive                  you have entered a contract with for the sale of
             loss payment even if the Loss Payee has                  Covered Property.
             started foreclosure for similar action on the         2. For Covered Property in which both you and
             Covered Property.                                        the Loss Payee have an insurable interest, we
          c. If we deny your claim because of your acts               will:
             or because you have failed to comply with                a. Adjust losses with you; and
             the terms of this policy, the Loss Payee will
             still have the right to receive loss payment if          b. Pay any claim for loss or damage jointly to
             the Loss Payee:                                             you and the Loss Payee, as interests may
                                                                         appear.
5             (1) Pays any premium due under this policy
                  at our request if you have failed to do          3. The following is added to Paragraph H. Other
                  so;                                                 Insurance in Section III — Common Policy
                                                                      Conditions:
              (2) Submits a signed, sworn proof of loss
                  within 60 days after receiving notice               For Covered Property that is the subject of a
                  from us of your failure to do so; and               contract of sale, the word "you" includes the
                                                                      Loss Payee.
              (3) Has notified us of any change in owner-
                  ship, occupancy or substantial change         D. Building Owner Loss Payable Clause
                  in risk known to the Loss Payee.                 1. The Loss Payee shown in the Schedule or in
              AII of the terms of Section I— Property will            the Declarations is the owner of the described
              then apply directly to the Loss Payee.                  building, in which you are a tenant.
          d. If we pay the Loss Payee for any loss or              2• We will adjust losses to the described building
             damage and deny payment to you because                   with the Loss Payee. Any loss payment made
             of your acts or because you have failed to               to the Loss Payee will satisfy your claims
             comply with the terms of this policy:                    against us for the owner's property.
              (1) The Loss Payee's rights will be trans-           3. We will adjust losses to tenant's improvements
                  ferred to us to the extent of the amount            and betterments with you, unless the lease
                  we pay; and                                         provides otherwise.




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                                                                                            BUSINESSOWNERS
                                                                                                BP 15 04 05 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION - ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
         DATA-RELATED LIABILITY - V1/ITH - LIMITED
               BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


A. Exclusion B.1.q. of Section II — Liability is                     However, unless Paragraph (1) above
   replaced by the following:                                        applies, this exclusion does not apply to
      This insurance does not apply to:                              damages because of "bodily injury".
      q. Access Or Disclosure Of Confidential Or                     As used in this exclusion, electronic data
         Personal Information And Data-related                       means information, facts or computer
         Liability                                                   programs stored as or on, created or used
                                                                     on, or transmitted to or from computer
         (1) Damages, other than damages because                     software       (including     systems      and
             of "personal and advertising injury",                   applications software), on hard or floppy
             arising out of any access to or                         disks, CD-ROMs, tapes, drives, cells, data
             disclosure     of any       person's    or              processing       devices     or    any   other
             organization's confidential or personal                 repositories of computer software which are
             information, including patents, trade                   used      with      electronically   controlled
             secrets, processing methods, customer                   equipment. The term computer programs,
             lists, financial information, credit card               referred to in the fdregoing description of
             information, health information or any                  electronic data, means a set of related
             other type of nonpublic information; or                 electronic instructions which direct the
         (2) Damages arising out of the loss of, loss                operations and functions of a computer or
             of use of, damage to, corruption of,                    device connected to it, which enable the
             inability to access, or inability to                    computer or device to receive, process,
             manipulate electronic data.                             store, retrieve or send data.
         This exclusion applies even if damages are
         claimed for notification costs, credit
         monitoring expenses, forensic expenses,
         public relations expenses or any other loss,
         cost or expense incurred by you or others
         arising out of that which is described in
         Paragraph (1) or (2) above.




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B. The following is added to Paragraph B.1.p.                       This exclusion applies even if damages are
   Personal And Advertising Injury Exclusion of                     claimed for notification costs,. credit
   Section II — Liability:                                          monitoring expenses, forensic expenses,
      This insurance does not apply to:                             public relations expenses or any other Ioss,
                                                                    cost or expense incurred by you or others
      p. Personal And Advertising Injury                            arising out of any access to or disclosure of
         "Personal and advertising injury":                         any person's or organization's confidential
                                                                    or personal information.
         Arising out of any access to or disclosure of
         any person's or organization's confidential
         or personal information, including patents,
         trade    secrets,    processing    methods,
         customer lists, financial information, credit
         card information, health information or any
         other type of nonpublic information.




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                                                                                               BUSINESSOWNERS
                                                                                                   BP 77 01 0716



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       EQUIPMENT BREAKDOWN COVERAGE
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

A.     The following is added to Paragraph A.3. Covered Causes of Loss in Section I— Property:

       Additional Coverage-- Equipment Breakdown                                                     1 .


       The term Covered Cause of Loss includes the Additional Coverage Equipment Breakdown as described
       and limited below.
       1.       We will pay for direct physical damage to Covered Property that is the direct result of an
               "accident." As used in this Additional Coverage, "accident" means a fortuitous event that causes
                direct physical damage to "covered equipment." The event must be one of the following:
                a.       Mechanical breakdown, including rupture or bursting caused by centrifugal force;
                b.       Artificially generated electrical current, including electric arcing, that disturbs electrical
                         devices, appliances or wires;
                C.       Explosion of steam boilers, steam pipes, steam engines or steam turbines owned or
                         leased by you, or operated under your control;
                d.       Loss or damage to steam boilers, steam pipes, steam engines or steam turbines caused
                         by or resulting from any condition or event inside such equipment; br
                e.       Loss or damage to hot water boilers or other water heating equipment caused by or
                         resulting from any condition or event inside such boilers or equipment.

        2.       Unless otherwise shown in a"schedule," the following coverages also apply to the direct result of
                 an "accident." These coverages do not provide additional amounts of insurance.
                 a.      Expediting Expenses
                         With respect to your damaged Covered Property, we will pay the reasonable extra cost
                         to:
                         (1)      Make temporary repairs; and
                         (2)      Expedite permanent repairs or permanent replacement.
                         The most we will pay for loss or expense under this coverage is $25,000 unless
                         otherwise shown in a "schedule."
                 b.      Hazardous Substances
                         We will pay your additional cost to repair or replace Covered Property because of
                         contamination by a"hazardous substance." This includes the additional expenses to
                         clean up or dispose of such property.
                         This does not include contamination of "perishable goods" by refrigerant, including but
                         not limited to ammonia, which is addressed in 2.c.(1)(b) below. As used in this coverage,
                         additional costs mean those beyond what would have been payable under this
                         Equipment Breakdown Coverage had no "hazardous substance" been involved.
                         The most we will pay for loss, damage or expense under this coverage, including actual
                         loss of Business Income you sustain and necessary Extra Expense you incur, is $25,000
                         unless otherwise shown in a"schedule."
                 C.      Spoilage
                         (1)      We will pay:
                                  (a)     For physical damage to "perishable goods" due to spoilage;
                                  (b)     For physical damage to "perishable goods" due to contamination from
                                          the release of refrigerant, including but not limited to ammonia;




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                                (c)       Any necessary expenses you incur to reduce the amount of Ioss under
                                          this coverage to the extent that they do not exceed the amount of loss
                                          that otherwise would have been payable under this coverage.
                       (2)      If you are unable to replace the "perishable goods" before its anticipated sale, the
                                amount of our payment will be determined on the basis of the sales price of the
                                "perishable goods" at the time of the "accident," less discounts and expenses you
                                otherwise would have had. Otherwise our payment will be determined in
                                accordance with the Loss Payment condition.
                       The most we will pay for loss, damage or expense under this coverage is $25,000 unless
                       otherwise shown in a "schedule."
                 d.    Data Restoration
                       We will pay for your reasonable and necessary cost to research, replace and restore lost
                       "electronic data."
                       The most we will pay for loss or expense under this coverage, incluading actual loss of
                       Business Income you sustain and necessary Extra Expense you incur, is $25,000 unless
                       otherwise shown in a "schedule."
                 e.    Service Interruption
                       (1)      Any insurance provided for Business Income, Extra Expense or Spoilage is
                                extended to apply to your loss, damage or expense caused by the interruption of
                                utility services. The interruption must result from an "accident" to equipment,
                                including overhead transmission lines, that is owned by a utility, landlord, a
                                landlord's utility or other supplier who provides you with any of the following
                                services: electrical power, waste disposal, air conditioning, refrigeration, heating,
                                natural gas, compressed air, water, steam, internet access, telecommunications
                                services, wide area networks or data transmission. The equipment must meet the
                                definition of "covered equipment" except that it is not Covered Property.
                       (2)      Unless otherwise shown in a"schedule," coverage for any loss of Business
                                Income you sustain resulting from the interruption of utility services will not apply
                                unless the failure or disruption of service exceeds 24 hours immediately following
                                the "accident." If the interruption exceeds 24 hours, coverage will begin at the
                                time of the interruption, and the deductible applicable to Business Income will
                                apply.
                       (3)      The most we will pay in any "one accident" for loss, damage or expense under
                                this coverage is the applicable limit for Business Income, Extra Expense or
                                Spoilage, except that if a limit is shown in a"schedule" for Service Interruption,
                                that limit will apply to Business Income and Extra Expense loss under this
                                coverage.
                 f.    Business Income and Extra Expense
                       Any insurance provided under this policy for Business Income or Extra Expense is
                       extended to the coverage provided by this endorsement. However, if a deductible is
                       shown in a"schedule," then as respects Equipment Breakdown coverage, the "period of
                       restoration" will begin immediately after the "accident," and the deductible shown in the
                       "schedule" will apply. The most we will pay for loss or expense under this coverage is the
                       applicable limit for Business Income and Extra Expense, unless otherwise shown in a
                       "schedule."

B.     The following is added to Paragraph B. Exclusions:

       Equipment Breakdown Exclusions
       AII exclusions in the Businessowners Coverage Form apply except as modified below and to the extent
       that coverage is specifically provided by this endorsement.
       1.       The following exclusions are modified:
                a.       As respects this endorsement only, the next to the last paragraph in Exclusion B.1.h. is
                         deleted and replaced with the following:
                         However, if excluded loss or damage, as described in Paragraph (1) above results in an
                         "accident," we will pay only for the loss, damage or expense caused by such "accident."
                b.       As respects this endorsement only, the last paragraph of Exclusion B.2.1. is deleted and
                         replaced with the following:


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                          But if an excluded cause of loss that is listed in 2.1.(1) through (7) results in an "accident,"
                          we will pay for the loss, damage or expense caused by that "accident."
                 C.       The following is added to Exclusions B.2.m. and B.2.n.:
                          We will also pay for direct physical loss or damage caused by an "accident."
       2.        The following exclusions are added:
                 a. We will not pay for loss, damage or expense caused by or resulting from:
                          (1)      A hydrostatic, pneumatic or gas pressure test of any boiler or pressure vessel, or
                                   an electrical insulation breakdown test of any type of electrical equipment; or
                          (2)      Any of the following:
                                   (a)      Defect, programming error, programming limitation, computer virus,
                                            malicious code, loss of data, loss of access, loss of use, loss of
                                            functionality or other condition within or involving "electronic data" of any
                                            kind; or
                                   (b)      Misalignment, miscalibration, tripping off-line, or any condition which can
                                            be corrected by resetting, tightening, adjusting or cleaning, or by the
                                            performance of maintenance.
                                   However, if an "accident" results, we will pay for the resulting loss, damage or
                                   expense caused by that "accident."
                 b.       With respect to Service Interruption coverage, we will also not pay for an "accident"
                          caused by or resulting from: fire; lightning; windstorm or hail; explosion (except as
                          specifically provided in A.1.c. above); smoke; aircraft or vehicles; riot or civil commotion;
                          vandalism; sprinkler leakage; falling objects; weight of snow, ice or sleet; freezing;
                          collapse; flood or earth movement.
                 C.       With respect to Business Income, Extra Expense and Service Interruption coverages, we
                          will also not pay for any increase in loss resulting from an agreement between you and
                          your customer or supplier.
                 d.       We will not pay for loss, damage or expense caused directly or indirectly by the following,
                          whether or not caused by or resulting from an "accident": Any "fungi," wet rot or dry rot,
                          including any presence, growth, proliferation, spread or any activity of "fungi," wet rot or
                          dry rot. This includes, but is not limited to, costs arising from clean up, removal, or
                          abatement of such "fungi," wet rot or dry rot. However, this exclusion does not apply to
                          spoilage of personal property that is "perishable goods," to the extent that such spoilage
                          is covered under Spoilage coverage.
                 e.       We will not pay for any loss or damage to animals.

C.     DEDUCTIBLES
       The deductible in the Declarations applies unless a separate Equipment Breakdown deductible is shown
       in a"schedule." If a separate Equipment Breakdown deductible is shown, the following applies.
       Only as regards Equipment Breakdown Coverage, provision D. Deductibles is deleted and replaced with
       the following:
       1.       Deductibles for Each Coverage
                a.      Unless the "schedule" indicates that your deductible is combined for all coverages,
                        multiple deductibles may apply to any "one accident."
                b.      We will not pay for loss, damage or expense under any coverage until the amount of the
                        covered loss, damage or expense exceeds the deductible amount indicated for that
                        coverage in the "schedule." We will then pay the amount of loss, damage or expense in
                        excess of the applicable deductible amount, subject to the applicable limit.
                C.      If deductibles vary by type of "covered equipment" and more than one type of "covered
                        equipment" is involved in any "one accident," only the highest deductible for each
                        coverage will apply.
       2.       Direct and Indirect Coverages
                a.      Direct Coverages Deductibles and Indirect Coverages Deductibles may be indicated in
                        the "schedule."
                b.      Unless more specifically indicated in the "schedule":
                        (1)      Indirect Coverages Deductibles apply to Business Income and Extra Expense
                                 loss; and
                        (2)      Direct Coverages Deductibles apply to all remaining loss, damage or expense
                                 covered by this endorsement.


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       3.       Application of Deductibles
                a.      Dollar Deductibles
                        We will not pay for loss, damage or expense resulting from any "one accident" until the
                        amount of loss, damage or expense exceeds. the applicable Deductible shown in the
                        "schedule." We will then pay the amount of loss, damage or expense in excess of the
                        applicable Deductible or Deductibles, up to the applicable Limit of Insurance.
                b.      Time Deductible
                        If a time deductible is shown in the "schedule," we will not be liable for any loss occurring
                        during the specified number of hours or days immediately following the "accident." If a
                        time deductible is expressed in days, each day shall mean twenty-four consecutive
                        hours.
                C.      Multiple of Average Daily Value (ADV)
                        If a deductible is expressed as a number times ADV, that amount will be calculated as
                        follows:
                        The ADV (Average Daily Value) will be the Business Income (as defined in any Business
                        Income coverage that is part of this policy) that would have been earned during the
                        period of interruption of business had no "accident" occurred, divided by the number of
                        working days in that period. No reduction shall be made for the Business Income not
                        being earned, or in the number of working days, because of the "accident" or any other
                        scheduled or unscheduled shutdowns during the period of interruption. The ADV applies
                        to the Business Income value of the entire location, whether or not the loss affects the
                        entire location. If more than one location is included in the valuation of the loss, the ADV
                        will be the combined value of all affected locations. For purposes of this calculation, the
                        period of interruption may not extend beyond the "period of restoration."
                        The number indicated in the "schedule" will be multiplied by the ADV as determined
                        above. The result shall be used as the applicable deductible.
                d.      Percentage of Loss Deductibles
                        If a deductible is expressed as a percentage of loss, we will not be liable for the indicated
                        percentage of the gross amount of loss, damage or expense (prior to any applicable
                        deductible or coinsurance) insured under the applicable coverage. If the dollar amount of
                        such percentage is less than the indicated minimum deductible, the minimum deductible
                        will be the applicable deductible.

D.     CONDITIONS
       The following conditions are in addition to the Conditions in the Businessowners Coverage Form.
       1.       Suspension
                Whenever "covered equipment" is found to be in, or exposed to, a dangerous condition, any of
                our representatives may immediately suspend the insurance against loss from an "accident" to
                that "covered equipment." This can be done by mailing or delivering a written notice of
                suspension to:
                a.       Your last known address; or
                b.       The address where the "covered equipment" is located.
                Once suspended in this way, your insurance can be reinstated only by an endorsement for that
                "covered equipment." If we suspend your insurance, you will get a pro rata refund of premium for
                that "covered equipment" for the period of suspension. But the suspension will be effective even if
                we have not yet made or offered a refund.
       2.       Jurisdictionallnspections
               If any property that is "covered equipment" under this endorsement requires inspection to comply
                with state or municipal boiler and pressure vessel regulations, we agree to perForm such
                inspection on your behalf. We do not warrant that conditions are safe or healthful.
       3.       Environmental, Safety and Efficiency Improvements
               If "covered equipment" requires replacement due to an "accident," we will pay your additional cost
                to replace with equipment that is better for the environment, safer for people, or more energy or
                water efficient than the equipment being replaced.
               However, we will not pay to increase the size or capacity of the equipment and we will not pay
                more than 150% of what the cost would have been to replace with like kind and quality. This
                condition does not apply to the replacement of component parts or to any property to which
               Actual Cash Value applies and does not increase any of the applicable limits.


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        4.       Coinsurance
                 If a coinsurance percentage is shown in a"schedule" for specified coverages, the following
                 condition applies.
                 We will not pay for the full amount of your loss if the applicable limit is less than the product of the
                 specified coinsurance percentage times the value of the property subject to the coverage at the
                 time of the loss. Instead, we will determine what percentage this calculated product is compared
                 to the applicable limit and apply that percentage to the gross amount of loss. We will then
                 subtract the applicable deductible. The resulting amount, or the applicable limit, is the most we
                 will pay. We will not pay for the remainder of the loss. Coinsurance applies separately to each
                 insured location.

E.      The following definitions are added:
        1.       "Boilers and vessels" means:
                 a.       Any boiler, including attached steam, condensate and feedwater piping; and
                 b.       Any fired or unfired pressure vessel subject to vacuum or internal pressure other than the
                          static pressure of its contents.
                 This term does not appear elsewhere in this endorsement, but may appear in a"schedule."
        2.       "Covered equipment"
                 a.       "Covered equipment" means, unless otherwise specified in a"schedule," Covered
                          Property:
                          (1)      That generates, transmits or utilizes energy; or
                          (2)      Which, during normal usage, operates under vacuum or pressure, other than the
                                   weight of its contents.
                         °"Covered equipment" may utilize conventional design and technology or new or newly
                          commercialized design and technology.
                 b.       None of the following is "covered equipment":
                          (1)      Structure, foundation, cabinet or compartment;
                          (2)      Insulating or refractory material;
                          (3)      Sewer piping, buried vessels or piping, or piping forming a part of a sprinkler or
                                   fire suppression system;
                          (4)      Water piping other than boiler feedwater piping, boiler condensate return piping
                                   or water piping forming a part of a refrigerating or air conditioning system;
                          (5)      "Vehicle" or any equipment mounted on a"vehicle";
                          (6)      Satellite, spacecraft or any equipment mounted on a satellite or spacecraft;
                          (7)      Dragline, excavation or construction equipment; or
                          (8)      Equipment manufactured by you for sale.
        3.      "Hazardous substance" means any substance that is hazardous to health or has been declared to
                 be hazardous to health by a governmental agency.
        4.      "One accident" means: 'If an initial "accident" causes other "accidents," all will be considered "one
                 accident." AII "accidents" that are the result of the same event will be considered "one accident."
        5.      "Perishable goods" means personal property maintained under controlled conditions for its
                 preservation, and susceptible to loss or damage if the controlled conditions change.
        6.      "Production machinery" means any machine or apparatus that processes or produces a product
                intended for eventual sale. This includes all component parts of such machine or apparatus and
                any other equipment used exclusively with such machine or apparatus. However, "production
                machinery" does not mean any boiler, or fired or unfired pressure vessel. .
                This term does not appear elsewhere in this endorsement, but may appear in a"schedule."
        7.      "Schedule" means the Equipment Breakdown Coverage Schedule.
        8.      "Vehicle" means, as respects this endorsement only, any machine or apparatus that is used for
                transportation or moves under its own power. "Vehicle" includes, but is not limited to: car, truck,
                bus, trailer, train, aircraft, watercraft, forklift, bulldozer, tractor or harvester.
                However, any property that is stationary, permanently installed at a covered location and that
                receives electrical power from an external power source will not be considered a"vehicle."

The most we will pay for loss, damage or expense under this endorsement arising from any "one accident" is the
applicable Limit of Insurance in the Declarations unless otherwise shown in a"schedule." Coverage provided
under this endorsement does not provide an additional amount of insurance.



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            BUSINESSOWNERS COVERAGE FORM INDEX
This index is provided only as a convenience. It should not be assumed to provide a reference to every provision
that can affect a question, claim or coverage. To determine the full scope of coverage and pertinent restrictions
and, exclusions, the policy (including endorsements) must be read in its entirety. The,features may also be
afPected by related provisions not referenced at all in the index, or noted elsewhere in it. For instance, an
Exclusion feature addresses a specific policy exclusion; but restrictions of coverage and exclusions also appear
within the areas where coverage, covered causes of loss, etc., are described.

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                                                                                                   CYB 00 01 06 19


       THIS ENDORSEMENT PROVIDES INDEPENDENT COVERAGES, TERMS, AND
                    DEFINITIONS. PLEASE READ IT CAREFULLY.
                                       CYBER COVERAGE INSURANCE
THE ENDORSEMENT'S AGGREGATE LIMIT OF LIABILITY WILL BE REDUCED AND MAY BE EXHAUSTED
BY PAYMENT OF DAMAGES, CLAIM EXPENSES, PRIVACY BREACH EXPENSES AND BUSINESS INCOME
                             LOSS AND EXTRA EXPENSES.
                         PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.
Various provisions in this Endorsement restrict coverage. Read the entire Endorsement carefully to determine
rights what is and what is not covered, in additional to rights and duties. .
Throughout this Endorsement the words in bold are defined terms within "Section II, Definitions" section of this
Endorsement. Throughout this Endorsement, the words "you" and "your" refer to the Insured and the words
"we," "us," and "our" refer to the Company providing this insurance as defined in "Section II, Definitions".
                                                   SCHEDULE
                                                                   Limit of Insurance/  Deductible / Waiting
                           Coverage                               Sublimit of Insurance        Period
 A.   Third Party C ber Liability Coverage                         $25,000                   $1,000
        Sublimit for all PCI Fines which is part of and not in
        addition to the Third Party Cyber Liability Coverage Limit. $10,000
 B.   Regulatory Proceeding Covera e                               $25,000                   $1,000
        Sublimit for all Regulatory Fines which is part of and not
        in addition to the Regulatory Proceeding Coverage Limit. $10,000
 C.   First Party Privacy Breach Ex ense Covera e                  $25,000                   $1,000
        Sublimit for all Extortion Threat Expenses for each
        Extortion Threat which is part of and not in addition to
        the First Party Privacy Breach Expense Coverage Limit. $10,000
        Sublimit for all Data Replacement and System
        Restoration Expenses for each System Compromise
        which is part of and not in addition to the First Party
        Privacy Breach Expense Coverage Limit.                  $10,000
 D.   First Party Business Interruption Covera e Aggregate         $0
 E.   C ber Covera e Aggregate                                   1 $25,000

                   Endorsement Premium                             $55.00

 Endorsement Period: From 07/01/2021                      to   07/01/2022
                              At 12:01 A.M. Standard Time at the address of the Named Insured as stated herein

SECTION I — COVERAGES                                              a. Media Wrongful Act;
A. INSURING AGREEMENTS                                             b. Network Security Wrongful Act;
   1. Third Parry Cyber Liability Coverage:                        c. Privacy Wrongful Act;
      We will pay on your behalf those Damages                     d. PCI Fines.
      and Claim Expenses you become legally                     2. Regulatory Proceeding Coverage:
      obligated to pay resulting from any Claim,
      provided such Claim is first discovered by you               We will pay on your behalf those Claim
      during the Endorsement Period or within thirty               Expenses and Regulatory Fines you become
      (30) days after the end of the Endorsement                   legally obligated to pay resulting from any
      Period if this Endorsement is not renewed and                Regulatory Proceeding for a Privacy
      is reported to us in accordance with "Section                Wrongful Act, provided such Regulatory
      V. CONDITIONS C.", for any:                                  Proceeding is first discovered by you during
                                                                   the Endorsement Period or within thirty (30)

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      days after the end of the Endorsement Period            the Waiting Period Deductible indicated in the
      if this Endorsement is not renewed and is               Schedule,if no Network Disruption taken place
      reported to us in accordance with "Section V.           Business Income Loss shall not include any
      CONDITIONS C."                                          contractual penalties.
   3. First Party Privacy Breach Expense Coverage:         C. Claim means:
      We will pay the Named Insured those Privacy             1. A written demand or assertion of a legal right
      Breach Expenses directly incurred in                       for money or services received by you for a
      responding to a Privacy Breach Event,                      Wrongful Act, including service upon you of a
      System Compromise or Extortion Threat,                     lawsuit or arbitration proceeding seeking
      provided such Privacy Breach Event, System                 injunctive relief for a Wrongful Act;
      Compromise or Extortion Threat is first                 2. A PCI Fine Assessmexnt against the Named
      discovered by you during the Endorsement                   Insured.
      Period or within thirty (30) days after the end
      of the Endorsement Period if this                       A Claim does not include a Regulatory
      Endorsement is not renewed and is reported to           Proceeding.
      us in accordance with "Section V.                    D. Claim Expenses means with respect to any
      CONDITIONS C."                                          Claim or Regulatory Proceeding:
   4. First Party Business Interruption Coverage:            1-1. Reasonable and necessary fees, costs and
      We will pay the Named Insured for the                       expenses charged by any lawyer or other
      Business Income Loss and Extra Expense                      vendor designated or approved in writing by us
      the Named Insured sustained ' during a                      directly resulting from the investigation;
      Reconstruction Period directly caused by a                  adjustment, settlement and/or defense of such
      Network Disruption to the Named Insured's                   Claim or Regulatory Proceeding;
      Computer System, provided such Network                 1-2. Reasonable and necessary expenses charged
      Disruption is first discovered by you during                by a vendor designated or approved in writing
      the Endorsement Period or within thirty (30)                by us to investigate an Unauthorized Access
      days after the end of the Endorsement Period                or Unauthorized Use of the Named Insured's
      if this Endorsement is not renewed and is                   Computer System to determine how
      reported to us in accordance with "Section V.               Protected Information was accessed;
      CONDITIONS C."
                                                             1-3. AII interest on the full amount of any covered
B. Our Rights and Duties in the Event of Claims                   judgment that accrues after entry of the
   We have the right and duty to defend, and pay on               judgment and before we have paid, offered to
   your behalf any Claim Expenses resulting from,                 pay, or have deposited into a court of
   any Claim to which this insurance applies, even if             competent jurisdiction that part of the judgment
   the allegations are groundless, false, or fraudulent.          which is within the remaining applicable Limits
   We have the right to investigate, direct the                   of Insurance; and
   defense and/or settle any Claim as we deem                1-4. The premiums for appeal, attachment, or
   expedient.     Our     duty   ends      when      the          similar bonds, but only for bond amounts within
   Endorsement's applicable Limit of Insurance has                the applicable Limits of Insurance. We do not
   been exhausted by our payment of Damages,                      have to furnish these bonds.
   Claim Expenses, Regulatory Fines, Privacy
                                                             Claim Expenses do not include:
   Breach Expenses or Business Income Loss
   and Extra Expense or we have deposited the                2-1. Fees, costs or expenses in responding to a
   Endorsement's remaining applicable Limit of                    PCI Fine Assessment;
   Insurance with a court of competent jurisdiction.         2-2. Salaries,     wages,    fees,    remuneration,
   We have no obligation or duty to defend any                    overhead, benefits or expenses of our or your
   Claim or pay any Claims Expenses for which                     employees or officials;
   coverage is excluded or not otherwise afforded by
   the Endorsement.                                          2-3. Fees, costs, or expenses incurred prior to the
                                                                  time that a Claim or Regulatory Proceeding
SECTION II — DEFINITIONS                                          is reported to us or paid or incurred without
A. Attack means any unauthorized intrusion or denial              our prior written consent, and such unilaterally
   of service, including any Malicious Code or                    incurred fees, costs or expenses shall not
   variant thereof, Network Disruption, System                    reduce any deductible under the Endorsement;
   Compromise,      Unauthorized     Access      or          2-4. Costs to inspect, investigate, withdraw, alter,
   Unauthorized Use into the Named Insured's                      recall, reprocess, restore, replace, retract,
   Computer System.                                               amend, reprint, reproduce, remediate, correct,
B. Business Income Loss means net profit the                      enhance, upgrade or modify Electronic
   Named Insured would have earned before taxes                   Media;
   during the Reconstruction Period, in excess of


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  2-5. Costs and expenses to comply with any                H. Endorsement Period means the period from the
       injunctive or other non-monetary equitable,             inception date stated in the Endorsement
       declaratory, regulatory or administrative relief,       Schedule to the expiration date stated in the
       including specific performance, or any                  Endorsement Schedule, or its earlier cancellation
       agreement to provide such relief;                       date, if any.
  2-6. Costs or expenses incurred to prevent future         I. Exploit means an Attack designed to find, create,
       Unauthorized Access or Unauthorized Use                 or take advantage of vulnerabilities in a Computer
       of the Named Insured's Computer System;                 System.
  2-7. Any fines or penalties assessed as a result of a     J. Extortion Threat means a credible threat or
       Regulatory Proceeding.                                  series of credible threats by a third party who is
E. Computer System means any electronic device,                not an Insured to cause a Privacy Breach Event,
   electronic and paper storage media as well as any           or to cause or perpetuate a Network Disruption
   communications networks owned or operated                   such as through ransomware, unless a money
   exclusively for the benefit of a single owner.              demand is paid by the insured. An Extortion
   Computer System includes outsourced Cloud                   Threat is first discovered by an Insured when it is
   based storage.                                              first received by the Insured.
F. Damages means any monetary amount which                  K. Extra Expenses means reasonable and
   you become legally obligated to pay as the result           necessary expenses the Named Insured incurs
   of a Claim, including judgments, awards,                    after a Network Disruption to reduce the Named
   damages, settlements to which we have                       Insured's Business Incorrie Loss and to resume
   consented in writing, prejudgment and post-                 its normal operations.
   judgment interest awarded which directly arise              Extra Expenses do not include:
   from and correspond to the portion of any                   1. Any contractual penalties;
   judgment attributable to a covered Claim.
                                                               2. Any costs to update or upgrade the Named
   Damages do not include:                                        Insured's Computer System to a level
   1. Any amount for which the Insured is not liable              beyond that which existed prior to the Network
      or legally obligated to pay;                                Disruption.
   2. Punitive   and exemplary damages, liquidated          L. Insured means:
      damages, taxes, fines or penalties, or any               1. AII entities identified in the policy .Declarations
      multiples thereof, other than PCI Fines;                    (all of which are referred to as the "Named
   3: Matters uninsurable under the law applicable                Insured");
      to this Endorsement;                                     2. Employees (not including volunteer workers or
   4. Past, present and future earned and unearned                independent contractors), principals, partners,
      royalties, profits, fees, costs, expenses,                  executive officers or directors of the Named
      commissions, or the return of royalties, profits,           Insured, but solely while acting within their
      fees, costs, expenses, commissions, and                     capacity and the scope of their duties for or on
      profits unjustly held or obtained;                          behalf of the Named Insured;
   5. Costs and expenses required to comply with               3. In the event of death, incapacity, bankruptcy or
      any injunctive or other non-monetary equitable,             insolvency of any person identified in
      declaratory, regulatory or administrative relief,           sub-paragraph "2" above, such person's heirs,
      including specific performance, or any                      estate, executors, administrators and legal
      agreement to provide such relief;                           representative in his or her capacity as such.
   6. Discounts, prizes, awards, coupons, or other          M. Malicious Code means an unauthorized,
       incentives offered to the Named Insured's               unwanted, or harmful program, code, or script,
       clients or customers.                                   including, but not limited to, any virus, Trojan
G. Electronic      Media     means     audio,    digital,      horse, worm, time, logic bomb, spyware, and
   informational or visual material in electronic form         malware or spider ware.
   transmitted over the Internet or other computer          N. Media Wrongful Act means any of the following
   media; provided, however, Electronic Media does             actual or alleged unintentional and unknowing
   not include:                                                conduct by you directly relating to, in connection
   1. Material in print or in any form other than that         with or arising from the creation of Electronic
       transmitted electronically over the Internet or         Media which advertises or promotes the Named
       other computer media;                                   Insured's products or services:
   2. Scripts or fllms for theatrical release; radio or        1. Libel, slander or other defamation;
       television programming, or books, manuals or            2. Invasion or infringement of an individual's right
       other content on disk, e-reader, tablet or                  to privacy or publicity;
       similar device.                                         3. Disparaging a person's or organization's
                                                                   goods, products or services;

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   4. Infringement of copyright, plagiarism or                 safeguard such Protected Information.
       misappropriation of ideas; or                        U. Privacy Breach Expenses mean the following
   S. Infringement of trademark, title, slogan, trade          amounts, if reasonable and necessary and directly
       name, trade dress, service mark or service              incurred by or for the Named Insured in
       name.                                                   responding to a Privacy Breach Event or System
                                                               Compromise or, solely with respect to an
O. Named Malicious Code means an Attack caused
                                                               Extortion Threat, a Network Disruption:
   by a Malicious Code or variant thereof that is
   identified or assigned a name by any United                 1. Notification Expenses:
   States government entity or a computer security or             Notification fees and expenses charged by a
   forensics entity, or anti-virus software vendor,               vendor designated or approved in writing by us
   including but not limited to CrowdStrike, Juniper              to notify a Protected Person of an
   Networks, Mandiant/FireEye, McAfee, Palo Alto                  Unauthorized Access or Unauthorized Use
   Networks, RSA, Seculert/Radware, Symantec, or                  of his or her Protected Information, pursuant
   Verizon.                                                       to applicable Privacy Law requirements or to
P. Network Disruption means a measurable                          minimize Damages otherwise covered under
   interruption, failure, suspension, or delay in the             this Endorsement;
   performance of the Named Insured's Computer                 2. Monitoring Expenses:
   System directly caused by your unintentional
   failure to prevent an Unauthorized Access or                   Fees and expenses 'charged by a vendor
   Unauthorized Use of, the introduction of                       designated or approved in writing by us to
   Malicious Code into, or a denial of service attack             provide monitoring, identity theft, or fraud
   upon, such Computer System.                                    resolution services to a Protected Person
                                                                  affected by a Privacy Breach Event, pursuant
Q. Network Security !lVrongful Act means your                     to applicable Privacy Law requirements or to
   unintentional and unknowing failure to prevent an              minimize Damages otherwise covered under
   Unauthorized Access or Unauthorized Use of                     this Endorsement;
   the Named Insured's Computer System that
    directly results in:                                       3. Extortion Threat Expenses:
   1. The inability of an Insured or authorized third             Expenses, ransom money including interest on
        party user to access the Named Insured's                  any loan necessary to pay a ransom or reward
        Computer System;                                          money paid to any informant, if approved in
                                                                  writing by us to prevent or mitigate an
    2. The inability of an authorized third party user to         Extortion Threat;
        access its computer system or network;
                                                               4. Data Replacement Expenses:
    3. The failure or corruption of a third party's
        computer system or network;                               The reasonable and necessary fees, costs and
                                                                  expenses charged by a vendor designated or
    4. Your transmittal or distribution of Malicious              approved in writing by us to research,
        Code to a third party's computer system or                re-create or replace, from written records or
        network;                                                  partially or fully matching electronic data, any
    5. The perpetuation of a denial of service attack             electronic data on the Named Insured's
        on a third party's computer system or network.            Computer         damaged     by    a    System
                                                                  Compromise;
R. PCI Fine Assessment means the assessment of
    or threat to assess PCI Fines by any bank or a             5. System Restoration Expenses:
    payment card association due to the Named                     The reasonable and necessary fees and costs
    Insured's violation of any Payment Card Industry              of a professional services firm we approve to
    Data      Security    Standards. A PCI Fine                   restore the Named Insured's Computer
    Assessment is first discovered by the Named                   System, if damaged by a System
    Insured when you first discovered the directly                Compromise, to its operating pen`ormance
    related Privacy Breach Event out of which the                 immediately before the System Compromise,
    PCI Fine Assessment arises.                                   including costs to reinstall or replace software
S. PCI Fines means all fines the Named Insured is                 and remove Malicious Code;
    obligated under contract to pay to its acquiring           6. Cyber Investigation Expenses:
    bank or a payment card association due to the
    Named Insured's violation of any Payment Card                 Fees and expenses charged by a vendor
    Industry Data Security Standards that were in                 designated or approved in writing by us to
    effect when you first discovered the directly related         investigate the Unauthorized Access or
    Privacy Breach Event.                                         Unauthorized Use of the Named Insured's
                                                                  Computer System from which Protected
T. Privacy Breach Event means the theft or                        Information has been accessed in order to
    unauthorized disclosure of Protected Information              determine whether the Named Insured has an
    due to the Insured's unintentional failure to                 obligation to provide notice under Privacy
                                                                  Law; and

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   7. Crisis Management Expenses:                             was first interrupted by the Network Disruption or
      a. Fees and expenses charged by a public                the resumption of the Named Insured's
         relations firm, law firm or crisis                   operations to substantially the same level -that
         management firm to perform crisis manage-            existed had the Network Disruption never taken
         ment services to minimize the potential              place provided, however, that the Named Insured
         harm to the Named Insured's business                 must make every effort to resume all or part of its
         from a Privacy Breach Event; and                     operations as quickly as possible.
      b. Fees and expenses charged by a call                AA.Regulatory Fines means any fines or penalties
         center designated or approved in writing by          assessed against a Named Insured as a result of
         us to provide assistance managing                    a Regulatory Proceeding, provided such fines or
         incoming calls in high volume Privacy                penalties are insurable under the applicable law
         Breach Events.                                       most favoring coverage for such fines or penalties.
   Privacy Breach Expenses shall not include:               BB.Regulatory Proceeding means a formal request
                                                              to you for documentation made by, or an
   1. Salaries,     wages,      fees,      remuneration,      investigation or civil proceeding brought by, a
       overhead, benefits or expenses. of our or your         regulatory body or regulator directly arising from
       employees or officials;                                your actual or alleged unintentional breach or
   2. Fees, costs or expenses to restore, replace,            violation of a Privacy Law.
       remediate, repair, correct, enhance, upgrade         CC.Related Claims means Claims based upon,
       or otherwise modify, improve or make changes           arising from, in consequehce of, directly or
       to the Named Insured's Computer System                 indirectly resulting from, or involving in any way
       following or as a result of an actual or                continuous, repeated, the same, related, or
       attempted      Unauthorized         Access     or      substantially      similar    facts,    circumstances,
       Unauthorized Use or Privacy Breach Event,              subjects, situations, decisions, cause, persons,
       including fees, costs or expenses to prevent a         transactions, events, class of persons or events,
       future Unauthorized Access or Unauthorized              or continuous, repeated, the same, related, or a
       Use or Privacy Breach Event.                            substantially similar series of facts, circumstances,
V. Privacy Law means any law or regulation                    subjects,      situations,      decisions,    persons,
   applicable to persons and organizations who                transactions, class of persons or events.
   lawfully and permissibly obtain or possess a             DD.Related Events means Privacy Breach Events,
   Protected Person's Protected Information requ-             System Compromises or Extortion Threats
   iring the posting of privacy policies, the adoption of      based upon, arising from, in consequence of,
   specific privacy or security controls, or the               directly or indirectly resulting from, or involving in
   notification of Protected Persons in the event              any way continuous, repeated, the same, related,
   their Protected Information has potentially been            or substantially similar facts, circumstances,
   accessed or disclosed without authorization.                subjects, situations, decisions, cause, persons,
W. Privacy Wrongful Act means the following                    transactions, event, class of persons or events, or
   unintentional conduct resulting from your                   continuous, repeated, the same, related, or a
   unintentional failure to safeguard Protected                substantially similar series of facts, circumstances,
   Information in the Named Insured's possession               subjects,     situations,      decisions,    persons,
   in the normal course of business:                           transactions, class of persons or events.
   1. Your actual or alleged violation of a Privacy         EE.System Compromise means any Unauthorized
       Law; or                                                 Access or Unauthorized Use of the Named
                                                               Insured's Computer System that materially
   2. Your actual or alleged invasion or infringement
                                                               degraded or damaged the performance of the
       of an individual's right to privacy or publicity.
                                                               Named Insured's Computer System or
X. Protected Information is defined as any personal            corrupted or destroyed any electronic data in the
   information of an individual as defined in Privacy          Named Insured's Computer System.
   Law.
                                                            FF.Unauthorized Access or Unauthorized Use
Y. Protected Person means a person whose                       means:
   Protected Information is protected from                        1. Access to or use of the Named Insured's
   unauthorized disclosure or access by a Privacy
                                                                      Computer System by a person or
   Law.
                                                                      organization not authorized to do so, or the
Z. Reconstruction Period means the period of time:                    access to or use of the Named Insured's
   1. After the application of the waiting period                     Computer System by an authorized
       deductible stated in the Schedule;                             person in an unauthorized manner.
   2. Immediately following a Network Disruption;                  2. A Malware Attack or unauthorized
       and                                                            intrusion which results in access to or use
                                                                      of the - Named Insured's Computer
   3. Ending at the earlier of 120 days after the time                System.
       that the Named Insured's Computer System

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GG.Wrongful Act means a Media Wrongful Act,                       Provided, however, the above sub-parts shall
   Network Security Wrongful Act, or Privacy                      not apply:
   Wrongful Act.                                                      I. . To any Insured who did not intentionally
SECTION III — EXCLUSIONS                                                   and knowingly commit, acquiesce or
                                                                           participate in the conduct that gave rise
A. We shall not be liable to pay, indemnify or
                                                                           to the Claim or Privacy Breach Event;
   reimburse Damages or Claim Expenses or
   Regulatory Fines from any Claim or Regulatory                      ii. In the absence of a final judgment,
   Proceeding, or any Privacy Breach Expenses,                             adjudication or binding arbitration ruling
   Business Income Loss or Extra Expenses,                                 adverse to such Insured.
   based on, resulting from or arising out of:                    Upon        such     final   adverse    judgment,
   1. Any actual or alleged direct creation of                    adjudication, or final arbitration ruling, the
       Malicious Code by you.                                     Insured shall reimburse us for all Damages,
                                                                  Privacy Breach Expenses, and Claim
   2. Any Attack into or of the Named Insured's
                                                                  Eicpenses we have incurred or paid.
       Computer System unless such attack is
       determined to be an Exploit unique to the               9. Any actual electrical or mechanical failures,
       Named Insured's Computer System and                        including power interruption, surge, brownout
       specifically-targeted-at-and-specifically directed         or blackout, or defect of telephone,
       against the Named Insured.                                 telecommunications, or data transmission
   3. Named Malicious Code.                                       lines, services, equipment, or infrastructure.
                              dissemination of any             10.Any Internet System failure, Internet Service
   4. The unsolicited
      communication to actual or prospective                      failure, Internet Service Provider failure, or
                                                                  failure of any device or system that is not
      customers of the Insured or any third party, or
                                                                  owned or leased by you and is operated under
      any actual or alleged violation of the
      Telecommunications Act, the CAN-SPAM Act,                   your control.
      or any other federal, state or local legislation,        11.Any failure or interruption of service of a cloud
      regulation or law protecting a person's or                  provider or other entity providing hardware or
      entity's right of seclusion or privacy.                     software services to you over the Internet,
                                                                  including the provision of software as a
   5. Any seizure, nationalization, confiscation,
      destruction, deietion or expropriation of any               service, infrastructure as a service, platform as
                                                                  a service, or data storage as a service, except
      Protected Information or any Computer
                                                                  that this exclusion shall not appiy to entities
      System held or used by you by order of any
                                                                  hosting hardware or software that you own,
      governmental authority.
                                                                  lease, or control.
   6. Any costs or expenses incurred by you or
                                                               12.Any actual or alleged patent infringement or
      others to inspect, investigate, withdraw, alter,
      recall, reprocess, restore, replace, retract,               theft, copying, misappropriation, display, or
                                                                  publication of any patent, process, confidential
      amend, reprint, reproduce, remediate, correct,
                                                                   or proprietary information, or trade secret.
      enhance, upgrade or otherwise modify any
      product, service or media of or for you, or any          13.The outsourcing of data processing and other
      part of any such product, service or media.                  business functions to a location outside the
      However, this exclusion shall not apply to any               United States, Canada, or European Union
      Data Replacement Expenses or System                          when the outsourced activity involves
      Restoration Expenses that constitute Privacy                 Protected Information in your care, custody,
      Breach Expenses, if the Data Replacement                     or control. However, this exclusion does not
      Expenses or System Restoration Expenses                      apply as respects Cloud• based storage.
      otherwise are covered.                                   14.Any actual or alleged gaining in fact of any
   7. Any actual or alleged unlawful or unauthorized               profit or advantage to which you are not legally
      obtaining, gathering, collecting, acquiring,                 entitled.
      using, distribution or sale by you of any                15. Any actual or alleged:
      information of any type, nature, - or kind,
      including Protected Information.                             a. Bodily injury, sickness, disease or death of
                                                                       any person;
    8. Any actual or alleged:
                                                                   b. Physical injury to, or loss or destruction of,
       a. Dishonest, fraudulent, criminal or malicious,                tangible property, including the loss of use
          act, error or omission by you; or                            thereof, or loss of use of tangible property
       b. Your intentional or knowing Unauthorized                     which has not been physically injured, lost,
          Access or Unauthorized Use, tampering                        damaged or destroyed;
          with, denial of service attack, or otherwise             Provided, however, this exclusion shall not
          limiting or preventing the use of the Named              apply to a Claim for mental injury, mental
          Insured's Computer System or any third                   anguish, or emotional distress directly resulting
          party's computer system or network;

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      from a Privacy Wrongful Act or a Media                  21.Any actual or alleged:
      Wrongful Act.                                              a. Antitrust, restraint of trade, unfair, false or
  16. Any actual or alleged breach of contract,                      deceptive trade practice, or violation of any
      agreement, understanding, warranty including                  federal, state, local or foreign legislation,
      but not limited to product warranty, or other                  regulation or ,law prohibiting any antitrust
      guarantee or promise; provided, however;                       activity, price fixing,, price discrimination,
                                                                     monopoly or monopolization, predatory
      a. With respect to breach of contract only, this
                                                                     pricing, unfair competition, collusion,
          exclusion shall not apply to any liability that
                                                                     conspiracy or unfair, false, misleading or
          would have attached to you in the absence
                                                                     deceptive trade or business practice,
          of such contract;
                                                                     advertising or promotion;
      b. This exclusion shall not apply to fines the
                                                                 b. False, misleading, deceptive, or fraudulent
          Named Insured is obligated under contract
                                                                     statement or representation advertising or
          to pay to its acquiring bank or a payment
                                                                     promoting the products, services, or
          card association due to the Named
                                                                     business of the Insured.
          Insured's violation of Payment . Card
          Industry      Data     Security    Standards        22.Any actual or alleged violation of any federal,
          (PCI-DSS).                                             state, local, or foreign securities-related
                                                                 legislation, regulation, or law.
  17.Any liability or obligation assumed by you
      under any contract, agreement, understanding,            23. Any:
      warranty including but not limited to product               a. Nuclear       reaction,    nuclear    radiation,
      warranty, or other guarantee or promise;                        radioactive     contamination,     radioactive
      provided, however, that this exclusion shall not                 substance, electromagnetic field, electro-
       apply to:                                                      magnetic radiation, or electromagnetism.
       a. Liability that would have attached to you in            b. War, invasion, acts of foreign enemies,
          the absence of any such contract,                           hostilities (whether war is declared or not),
          agreement, understanding, warranty or                        rebellion, revolution, insurrection, war-like
           other guarantee or promise: or                              action, coup, usurped powers -or military
       b. Fines the Named Insured is obligated                         power.
           under contract to pay to its acquiring bank             c. Fire, flood, earthquake, volcanic eruption,
           or a payment card association due to the                    explosion, lightning, wind, hail, tidal wave,
           Named Insured's violation of Payment                        landslide, act of God or other physical
           Card Industry Data Security Standards                       event.
           (PCI-DSS).
                                                               24.The violation of any United States economic or
  18.Any fact, circumstance, subject, decision,                    trade sanction.
       transaction, event or situation:
                                                               25. The presence, discharge, dispersal, release or
       a. Which was the subject of notice prior to the             escape of smoke, vapors, soot, fumes, acids,
           inception of this Endorsement to any other              alkalis, toxic chemicals, liquids or gases, oil or
           insurance carrier under any other policy;               other petroleum substances or derivatives,
     b. Which any principal, partner, or executive                 waste       materials     or    other     irritants,
         officer of the Named Insured was aware                    contaminants, pollutants or any other
         prior to the Effective Date of this                       substances, including asbestos, fungus, mold
         Endorsement issued by Us that such fact,                  and lead, which are or may be injurious to
         circumstance, subject, decision, transaction,             public health, property or the environment
         event or situation could reasonably have                  ("hazardous substances"), including:
         been expected to give rise to a Claim,                    a. The cost of cleanup or removal of
         Regulatory Proceeding, Privacy Breach                         hazardous substances;
         Event or Network Disruption.
                                                                   b. The cost of such actions as may be
  19.Any litigation, proceeding or investigation prior                 necessary to monitor, assess and evaluate,
     to or pending on the Effective Date of this                       the presence, discharge, dispersal, escape,
     Endorsement, or any Claim, Regulatory                             release, or threat of same, of hazardous
     Proceeding, Privacy Breach Event, Related                         substances;
     Event, Related Claim, fact, circumstance,
     subject, decision, transaction, event, situation,             c. The cost of disposal of hazardous
     cause, proceeding or investigation underlying                     substances or the taking of such other
     or alleged therein.                                               action as may be necessary to temporarily
                                                                       or permanently prevent, minimize, or
  20.Any actual or alleged:                                            mitigate damage to the public health or
     a. Discrimination of any kind;                                    welfare or to property or the environment,
     b. Wrongful employment practice of any kind.


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         which may otherwise result; or                    SECTION IV — LIMITS OF INSURANCE AND
      d. Any cost, based upon, arising from, in            DEDUCTIBLE
         consequence of, directly or indirectly            A. The Third Party Cyber Liability Coverage Limit of
         resulting from, or involving in any way any          Insurance specified in "A" of the Schedule and the
         government direction or request that the             rules detailed below fix the maximum amount we
         Insured test for, monitor, clean up, remove,         are obligated to pay for all Damages and Claim
         contain, treat, detoxify or neutralize               Expenses from each Claim or Related Claims
         hazardous substances.                                and all Claims or Related Claims under this
B. We shall not be liable to pay Damages or Claim             Endorsement, as detailed in Insuring Agreement
   Expenses or Regulatory Fines from:                         "A.1".
   1. Any Claim against you that is brought by or on          The Third Party Cyber Liability Coverage Limit of
      behalf of:                                              Insurance shall be part of, and not in addition to,
                                                              the Cyber Coverage Aggregate Limit of Insurance
      a. Any other Insured, other than a Claim by             specified in the Schedule.
         an employee of the Named Insured for a
         Privacy Wrongful Act;                             B. The Regulatory Proceeding Coverage Limit of
                                                              Insurance specified in "B" of the Schedule and the
      b. Any entity which is owned or controlled by,          rules detailed below fix the maximum amount we
         is under common ownership or control with,           are obligated to pay for all Claim Expenses and
         any Insured;                                         Regulatory Fines from each Regulatory
      c. Any person or entity which owns or controls          Proceeding and all Regulatory Proceedings
         any Named Insured;                                   under this Endorsement, as detailed in Insuring
                                                              Agreement "A.2." The Regulatory Proceeding
      d. Any entity of which any Insured is a
                                                              Coverage Limit of Insurance shall be part of, and
         director, officer, partner or principal
                                                              not in addition to, the Cyber Coverage Aggregate
         shareholder; or
                                                              Limit of Insurance specified in the Schedule.
      e. Any independent contractor of an Insured.
                                                           C. The First Party Privacy Breach Expense
   2. Any Claim against you that is brought by or on          Coverage Limit of Insurance specified in "C" of the
      behalf of any federal, state, local or foreign          Schedule and the rules detailed below fix the
      administrative, governmental, or regulatory             maximum amount we are obligated to pay for all
      agency, tribunal, body or similar or equivalent         Privacy Breach Expenses from each Privacy
      entity; however, this exclusion shall not apply if      Breach Event, System Compromise, Extortion
      a Claim is brought by any such entity as a              Threat, or Related Events under this
      client and the Claim is for a Wrongful Act in           Endorsement, as detailed in Insuring Agreement
      connection with the client relationship between         "A.3."
      such entity and the Named Insured; or
                                                              The Privacy Breach Expense Coverage Limit of
   3. Any Claim based on, resulting from or arising           Insurance shall be part of, and not in addition to,
      out of any Media Wrongful Act committed or              the Cyber Coverage Aggregate Limit of Insurance
      which took place in whole or in part before the         specified in the Schedule. ,
      inception date of the earliest policy issued to
      the Named Insured that offered on a                  J3 First Party Business Interruption Coverage
                                                              Aggregate Limit of Insurance specified in "D" of
      continuous basis the same or substantially
                                                              the Schedule and the rules detailed below fix the
      equivalent coverage as the relevant coverage
                                                              maximum amount we are to pay for all Business
      provided under this Endorsement;
                                                              Income Loss and Extra Expense from all Netw-
   4. Any Claim or Regulatory Proceeding based                ork Disruptions under this Endorsement, as deta-
      on, resulting from, arising out of or related to a      iled in Insuring Agreement "A.4". The First Party
      Privacy Breach Event:                                   Business Income Loss and Extra Expense Agg-
      a. That was not timely reported to us under             regate Limit of Insurance shall be part of, and not
          "Section V. CONDITION B."; or                       in addition to, the Cyber Coverage Aggregate Limit
                                                              of Insurance specified in the Schedule.
      b. That was not first discovered by you during
          the Endorsement Period or, if this               E. The Cyber Coverage Aggregate Limit of Insurance
          Endorsement was not renewed, within thirty          specified in "E" of the Schedule shall fix the
          (30) days after the end of the                      maximum amount we shall pay for all Damages
          Endorsement Period; or                              and Claim Expenses from all Claims, all Claim
                                                              Expenses and Regulatory Fines from all Regul-
   5. Any Claim against you or brought by any                 atory Proceedings, all Privacy Breach Expe-
      insurer who may be liable under, any Workers'           nses from all Privacy Breach Events, all System
      Compensation, Unemployment Compensation,                Compromises and all Extortion Threats, all Busi-
      Disability Benefits Law, the Employee
                                                              ness Income Loss and Extra Expense from all
      Retirement Income Security Act of 1974, as
                                                              Network Disruptions and all Related Claims and
      amended, or any similar federal, state, local or
                                                              Related Events covered under this Endorsement.
      foreign legislation, regulation or law.

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F. If any Limit of Insurance is exhausted, the                         Endorsement Period.
   premium for this Endorsement shall be deemed                    f: Notice given by or on behalf of the Insured
   fully earned.                                                       to our authorized agent, with particulars
G. Deductible                                                          sufficient to identify the Insured, shall be
   For any Claim, Regulatory Proceeding Privacy                        considered notice to us.
   Breach Event, System Compromise, or                             g. Subject to the discovery requirements
   Extortion Threat we shall be liable for only the                    under all coverages provided by this
   amount of the Claim Expenses, Damages, and                          Endorsement, failure to give any notice
   Privacy Breach Expenses from such Claim,                            required by this condition within the time
   Regulatory Proceeding, Privacy Breach Event,                        period specified shall not invalidate any
   System Compromise, or Extortion Threat exce-                        claim made by you if it shall be shown not
   eding the Deductible, amount specified in the                       to have been reasonably possible to give
   Schedule. We have no obligation, either to you or                   notice within the prescribed time period and
   to any person or entity, to pay all or any portion of               that notice was given as soon as was
   any Deductible amount for or on your behalf.                        reasonably possible.
   Solely for the purpose of applying the Deductible,              AII Related Claims shall be treated as a single
   a single Deductible amount applies to all Regul-                Claim discovered when the earliest of such
   atory Proceedings, Related Claims, Related                      Related Claims was first ,discovered, or when
   Events based upon, arising from, in consequence                 the earliest of such Related Claims is treated
   of, directly or indirectly resulting from, or involving         as having been first discovered under
   in any way continuous, repeated, the same,                      Condition B. below, whichever is the earliest
   related, or substantially similar thefts or unauth-             date. '
   orized disclosures of Protected Information.
                                                                2. AII Related Events, whsnever occurring; shall
SECTION V — CONDITIONS                                             be deemed to be a single Privacy Breach
A. You agree to use due diligence to prevent and                   Event, regardless of:
   mitigate any Privacy Breach Event, Network                      a. The number of Related Events;
   Disruption, System Compromise, Extortion
   Threat, or Regulatory Proceeding or Claim. This                  b. The number or identity of _Insureds
   includes, but is not limited to, complying with                      involved;
   reasonable protocols for the following:                          c. The number and timing of the Related
   1. Providing and maintaining physical security for                   Events, even if the Related Events
       your premises, as well as your Computer                          comprising such single Privacy Breach
       System;                                                         Event occurred in more than one
                                                                       Endorsement Period.
   2. Providing and maintaining appropriate network
       security for your Computer System;                       AII Related Events shall be treated as a single
                                                                Privacy Breach Event or Extortion Threat first
   3. Providing      and     maintaining    appropriate         discovered when the earliest of such Related
       back-ups, firewalls, and virus scans;                    Events was first discovered.
   4. Providing and maintaining encryption for                  3. AII Regulatory Proceedings and Related
       transactions such as Credit Card, Debit Card,                Claims based upon, arising from, in
       and Check Processing; and                                    consequence of, directly or indirectly resulting
   5. Providing and maintaining appropriate disposal                from, or involving in any way continuous,
       of files containing Protected Information no                 repeated, the same, related, or substantially
       longer needed for use.                                       similar thefts or unauthorized disclosures of
B. RELATED CLAIMS, RELATED EVENTS AND                               Protected Information shall be deemed first
   REGULATORY PROCEEDINGS                                           discovered when the earliest of such Related
                                                                    Claims or Regulatory Proceedings was first
   1. AII Related Claims, whenever discovered,                      discovered, or when the earliest of , such
       shall be deemed to be a single Claim, regar-                 Related Claims or Regulatory Proceedings
       diess of                                                     is treated as having been first discovered
       a. The number of Related Claims;                             under Condition B. below, whichever is the
       b. The number or identity of claimants;                      earliest date.
       c. The number or identity of Insureds involved;       C. NOTICE OF PRIVACY BREACH , EVENTS,
                                                                NETWORK            DISRUPTIONS,           SYSTEM
       d. Whether the Related Claims are asserted               COMPROMISES,          EXTORTION         THREATS,
          in a class action or otherwise; or                    REGULATORY PROCEEDINGS AND CLAIMS
       e. The number and timing of the Related                  1. You shall report to us a Privacy Breach
          Claims, even if the Related Claims                        Event, System Compromise, Extortion
          comprising such single Claim were                         Threat, or Network Disruption for which
          received or discovered in more than one                   coverage is being sought under this

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     Endorsement immediately, but in no event later                deliver to us; or
     than thirty (30) days after you flrst discovered           f. The date you first discovered a Privacy
     such Privacy Breach Event, System                             Breach Event which a Claim or
     Compromise, Extortion Threat, or Network                      Regulatory Proceeding is directly related,
     Disruption. Such reporting must include full                  provided you reported such Privacy
     particulars. Any subsequent PCI Fine                          Breach Event to us in accordance with
     Assessment, Claim for a Privacy Wrongful                      "Condition B.1" above.
     Act or Regulatory Proceeding directly related
     to such Privacy Breach Event shall be treated           4. Insured's Duties in the Event of a Claim,
     as a Claim or Regulatory Proceeding first                  Regulatory Proceeding, Privacy Breach
     discovered at the time you first discovered                Event, System Compromise, Extortion
     such Privacy Breach Event.                                 Threat or Network Disruption.
  2. The Named Insured must give us written                     a. If there is a Claim, Regulatory
     notice of any Claim or Regulatory                             Proceeding, Privacy Breach Event,
     Proceeding as soon as practicable, but in no                  Extortion Threat or Network Disruption,
     event later than thirty (30) days after you first             you must also do the following:
     receive    such     Claim      or   Regulatory                i. Fully assist and cooperate with us in the
     Proceeding. If the Claim is for a Media                            conduct, defense, investigation, negot-
     Wrongful Act or Network Security Wrongful                          iation, and settlement of any Claim,
     Act, the date you first received such Claim                        Regulatory       Proceeding,     Privacy
     shall be deemed the date you first discovered                      Breach Event, System Compromise,
     such Claim.                                                        Extortion Threat, or Network Disru-
  3. If, during the Endorsement Period, you                             ption. At our request, you must: submit
     become aware of any Wrongful Act or                                to an examination under oath; provide
     circumstance which could reasonably be                             us with written statements; attend
     expected to give rise to a Claim, Regulatory                       meetings and negotiations; produce and
     Proceeding or Privacy Breach Event, the                            make available all information, books,
     Named Insured must provide written notice                          records, documents and other materials
     thereof to us as soon as practicable, but in no                    which we deem relevant to the Claim,
     event later than the end of the Endorsement                        Regulatory       Proceeding,     Privacy
     Period. The notice shall contain full particulars,                 Breach Event, System Compromise,
     including but not limited to:                                      Extortion Threat or Network Disr-
                                                                        uption or coverage therefor; attend
     a. The names of the potential claimant and                         hearings, depositions, proceedings,
         the Insureds involved and a time, date,                        trials and appeals; assist us in effecting
         location and description of the specific                       settlements, securing       and     giving
         Wrongful Act which forms the basis of the                      evidence and obtaining the attendance
         potential     Claim       or     Regulatory                    of witnesses, and pursuing or enforcing
         Proceeding;                                                    any right of contribution or indemnity
     b. The nature of the potential Damages                             against a person or entity who may be
        arising from such specific Wrongful Act;                        liable to you.
     c. A description of, the circumstance or                      ii. You must do whatever is necessary to
         Wrongful Act and how you first became                          secure and affect any rights of
         aware of the Wrongful Act or potential                         indemnity, contribution, or appor-
         Privacy Breach Event; and                                      tionment that you may have.
     d. The reason you reasonably believe such                     iii. You shall accept our assignment of
         Wrongful Act or circumstance is likely to                      counsel and shall refrain from
         result in a Claim, Regulatory Proceeding,                      discussing any Claim, Regulatory Pro-
         or Privacy Breach Event. '                                     ceeding, Privacy Breach Event, Sys-
     Any Claim for a Media Wrongful Act or                              tem Compromise, Extortion Threat or
     Network Security Wrongful Act arising out of                       Network Disruption with anyone other
     such reported Wrongful Act shall be treated                        than counsel retained to represent the
     as a Claim or Regulatory Proceeding first                          Insured or our representatives.
     discovered when such written notice was                       iv. With respect to a Privacy Breach
     delivered to 'us.                                                  Event, System Compromise or
     Any Claim for a Privacy Wrongful Act or                            Extortion Threat, you must take all
     Regulatory Proceeding arising out of such                          reasonable steps to protect Computer
     reported Wrongful Act shall be treated as a                        Systems and Protected Information
     Claim or Regulatory Proceeding first                               from further loss or damage, and keep a
     discovered at the earlier of:                                      record of the expenses necessary to
                                                                        protect such Computer Systems and
     e. The date when such written notice was                           Protected Information.

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          v. With respect to a Network Disruption,               d. The Claim is settled in accordance with the
              you must take all reasonable steps and                 terms and conditions of this Endorsement.
              measures to limit or mitigate the                  No individual or entity shall have any right
              Business Income Loss and the                       under this Endorsement to join us as a party to
              incurrence of Extra Expenses.                      any Claim to determine the liability of any
       b. Within six (6) months after the discovery of           insured; nor shall we be impleaded by you or
          any Network Disruption, the Named                      your legal representative in any such Claim.
          Insured must furnish us with written proof             In no event shall any action brought by anyone
          of the Named Insured's claimed loss, duly              be maintained against us unless such action is
          sworn to, with full particulars.                       brought within thirty-six (36) months from the
       c. No Insured will, except at its own cost,               time the right to bring action first became avail-
          voluntarily make a payment, admit liability,           able. With respect to a Network Disruption,
          retain aftorneys, consultants, or vendors,             no legal proceedings for the recovery of any
          assume any, other obligation, or accept or             Business Income Loss or Extra Expense
          reject arbitration without our prior written           may be brought prior to the expiration of sixty
          consent. Any payments, settlements, or                 (60) days after the Named Insured's original
          admissions you make without our prior                  proof of loss is submitted to us.
          written consent will be made at your own          G. ASSIGNMENT OF THE INSURED'S INTEREST
          expense.
                                                               The interest of the Insured under this
D. VALUATION OF BUSINESS INCOME LOSS                           Endorsement is not assignable to any other
   Business Income Loss will be calculated on an               person or organization, except with our prior
   hourly basis based on the actual Business                   written consent.
   Income Loss the Named Insured sustains during            H. TRANSFER OF RIGHTS OF RECOVERY
   the time period in which the Named Insured's                /SUBROGATION
   Computer System is affected by the Network
   Disruption. In determining the amount of net profit         If there is a payment made by us, we shall be
   or loss and expenses covered for the purpose of             subrogated to all of your rights of recovery against
   ascertaining the amount of Business Income                  any person or organization. You will cooperate
   Loss, we will give due consideration to the net             with us and do whatever is necessary to secure
   profit or loss of the Named Insured before the              and recover upon these rights, including but not
   Network Disruption occurred and the probable                limited to executing any documents necessary to
   net profit or loss of the Named Insured if no Net-          enable us to effectively bring suit in your name.
   work Disruption had occurred. However, such                 You shall do nothing that may prejudice our
   net profit or loss calculations shall not include, and      position or potential or actual rights of recovery.
   no coverage shall be provided for, net income that          Your rights and obligations hereunder shall
   would likely have been earned as a result of an             survive the expiration, cancellation, or termination
   increase in the volume of the Named Insured's               of this Endorsement.
   business due to favorable business conditions               With respect to a Claim, any amount recovered
   caused by the impact of any internet, computer, or          upon the exercise of such rights of recovery will be
   network disruption suffered by other businesses.            applied on the following terms: first, to the
E. BANKRUPTCY                                                  repayment of expenses incurred by exercise of "
                                                               such subrogation rights; second, to Damages or
   Bankruptcy or insolvency of the Insured or of the           Claim Expenses paid by the Named Insured in
   Insured's estate will not relieve us of any of our          excess of the Limits of Insurance; third, to
   obligations under this Endorsement.                         Damages or Claim Expenses paid by us; and
F. ACTION AGAINST US                                           finally, to Damages or Claim Expenses paid by
   No action shall be brought against us by., any              the Named Insured toward the Deductible.
   Insured, unless, as a condition precedent thereto:          With respect to any Privacy Breach Event, Sys-
   1. all Insureds have fully complied with all the            tem Compromise or Network Disruption, any
      terms and conditions of this Endorsement; and            amount recovered upon the exercise of such rights
                                                               of recovery will be applied on the following terms:
   2. with respect to a Claim, the amount of                   first, to the repayment of expenses incurred by
      Damages has been fixed or rendered certain:              exercise of such subrogation rights; second, to
      a. By final judgment against the Insured after           amounts paid by the Named Insured in excess of
          trial of the issues; and                             the Limits of Insurance; third, to amounts paid by
      b. The time to appeal such judgment has                  us; and finally, to amounts paid by the Named
          expired without an appeal being taken; and           Insured toward the Deductible.
      c. If appeal is taken, after the appeal has              Notwithstanding the foregoing, we agree to waive
          been determined; and                                 any right of subrogation hereunder against a client
                                                               of the Named Insured, with respect to any pay-
                                                               ment made in connection with a Claim if and to

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   to the extent that, prior to the occurrence of any    P. CHANGE IN RISK
   Wrongful Act or Privacy Breach Event giving              1. If, during the Endorsement Period, the Nam-
   rise to such Claim, the Named Insured had                   ed Insured acquires or creates another entity
   agreed to waive its rights of subrogation against           (other than a joint venture or partnership,
   such client pursuant to a prior written contract or         which is addressed below) whose annual
   agreement.                                                  revenues are more than ten percent (10%) of
I. CANCELLATION                                                the Named Insured's total annual revenues as
   This Endorsement may be canceled or                         set forth in the most recent Application for
   non-renewed as provided iri the terms and                   insurance, or if the Named Insured merges or
   conditions that apply to the policy or Coverage             consolidates with another entity such that the
   Part to which it is attached. The Endorsement               Named Insured is the surviving entity (any
   Period will end at the same time and date that any          such      acquired,      created,    merged      or
   cancellation or nonrenewal of the policy or                 consolidated entity, including a new subsidiary,
   Coverage Part to which it is attached takes effect.         will be identified as the "Acquired Company"),
                                                               then for a period of sixty (60) days after the
J. CHANGES MADE TO THIS ENDORSEMENT                            effective date of the transaction, such Acquired
   The terms and conditions of this Endorsement                Company shall be included as an Named
   cannot be waived or changed except by specific              Insured but only with respect to Network
   written endorsement issued by us and mad.e part             Security Wrongful Acts and Privacy Wron-
   of the Endorsement.                                         gful Acts first committed or allegedly comm-
K. AUDIT                                                       itted after the effective date of such transaction,
                                                               or Privacy Breach Events, Extortion Threats
   We may examine and audit your books and                     or Network Disruptions that first occur after
   records at any time during the Endorsement                  the effective date of such transaction. Upon the
   Period and within three (3) years after the                 expiration of the sixty (60) day period, there will
   expiration or termination date of this Endorsement          be no coverage available under this
   as far as they relate to this Endorsement.                  Endorsement for any Claim, Regulatory Proc-
L. FALSE OR FRAUDULENT CLAIMS                                  eeding, Privacy Breach Event, Extortion
                                                               Threat or Network Disruption based on,
   If an Insured reports any matter knowing it to be
                                                               resulting from, arising out of, in consequence
   false or fraudulent, we will not be liable to make
                                                               of, or in any way in connection with or
   any payments related to that matter.     '
                                                               involving, directly or indirectly, the Acquired
M. TERMS AND CONDITIONS OF ENDORSEMENT                         Company unless within such sixty (60) day
   CONFORMED TO STATUTS                                        period:
   Where necessary, the terms and conditions of this            a. The Named Insured gives us such
   Endorsement will be amended to conform to                       information regarding such transaction as
   applicable law.                                                 we request;      -
N. PREMIUM                                                      b. We have specifically agreed by written
   The premium amount for this Endorsement is                      endorsement to this Endorsement to
   stated in the Schedule and is for coverage for the              provide coverage with respect to such
   Endorsement Period. If during the Endorsement                   Acquired Company and the Named
   Period there is a change in coverage afforded, we               Insured accepts any terms, conditions,
   have the right to adjust the premium as of the date             exclusions or limitations, including payment
   of the change. Any premium adjustment shall be                  of additional premium, as we, in our sole
   made in accordance with our prevailing rules and                discretion, impose in connection with the
   rates.                                                          transaction; and
   Premium shown as advance premium is a                        c. The Named Insured has paid the
   minimum and deposit premium. At the close of                    additional premium, if any, we charge and
   each audit period we will compute the earned                    has agreed to any modifications to this
   premium for that period. Audit premiums are due                 Endorsement.
   and payable by notice to the first Named Insured.        2. If, during the Endorsement Period, the
   If the premium for this Endorsement is a flat               Insured becomes a member of a new joint
   premium, it is not subject to adjustment.                   venture or partner in a new partnership, there
                                                               will be no coverage available under this
O. TERRITORY
                                                               Endorsement for any Claim, Damages, Claim
   This Endorsement applies to Wrongful Acts,                  Expenses, Privacy Breach Event, Extortion
   Privacy Breach Events and Network Disru-                    Threat, Network Disruption or Wrongful Act
   ptions taking place anywhere in the world except            based on, resulting from, arising out of, in
   Countries or States against which the United                consequence of, or in any way in connection
   States has implemented trade or diplomatic                  with or involving, directly or indirectly, such
   sanctions. However, any Claim or Regulatory                 joint venture or partnership, unless:
   Proceeding must be brought in the United States.

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      a. The Named Insured gives us such
         information regarding the new joint venture
         or partnership as we request; and
      b. We      specifically    agree     by    written
         endorsement to this Endorsement to
         provide coverage with respect to such new
         joint venture or partnership, and the Named
         Insured accepts any terms, conditions,
         exclusions,     or    limitations,   including
         payment of additional premium, as we, in
         our sole discretion, impose iri connection
         with such transaction.
   3. If, during the Endorsement Period, any of the
      following events occur:
      a. The Named Insured first identified in the
         policy Declarations is dissolved, sold,
         acquired by, merged into, or consolidated
         with another entity such that such Named
         Insured is not the surviving entity; or
      b. A third party receiver, conservator, trustee,
         liquidator, rehabilitator or any similar official
         is appointed for or with respect to the
         Named Insured first identified in the policy
         Declarations;
      coverage under this Endorsement shall
      continue in full force and effect until the
      Expiration Date or any earlier cancellation or
      termination date, but this Endorsement shall
      only apply to Wrongful Acts first committed or
      allegedly committed before the effective date
      of such event or a Privacy Breach Event,
      Extortion Threat or Network Disruption that
      first occurs before the effective date of such
      event. There will be no coverage available
      under this Endorsement based on, resulting
      from, arising out of, in consequence of, or in
      any way in connection with or involving,
      directly or indirectly any Wrongful Act
      committed or allegedly committed on or after
      the effective date of such event or any Privacy
      Breach Event, Extortion Threat or Network
      Disruption that occurs after the effective date
      of such event.
Q. ENTIRE AGREEMENT
   The Insureds agree that this Endorsement,
   including the application, Schedule and any
   endorsements, constitutes the entire agreement
   between them and the Company or any of its
   agents relating to this insurance.
R. ECONOMIC AND TRADE SANCTIONS OR
   VIOLATIONS OF LAW
   Any Claim, Regulatory Proceeding, Privacy
   Breach Event, Extortion Threat, Network
   Disruption or matter uninsurable under any act,
   statute, rule, regulation, ordinance, common law,
   or other law of the United States of America
   concerning trade or economic sanctions-or export
   control laws is not covered under this
   Endorsement.


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PR98R~'~"~'~`,1                                                        Progressive Advantage Business Program
            !,wHouieAW                                               Underwritten by: Midvale Indemnity Company
                                                                                     A Wisconsin Stock Company




Policy No: BPP1092982                               Payment Plan: Monthly - New Business




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Thank you for enrolling in our automatic payment plan for policy number: BPP1092982. You have authorized
Progressive Advantage Business Program to deduct payment from your checking or savings account, or to
charge your credit or debit card. Your enrollment is complete and we will make payment deductions in the
amounts and on the due dates indicated on your billing statement. Refer to your billing statement for a schedule
of deductions and any applicable service charges. Note that changes to your policy or prerriium may change the
amount debited. Your authorization shall apply to any renewal, reiristated, or amended policy with Progressive
Advantage Business Program unless revoked by you. The charge will appear on your bank or credit card
statement as "Midvale Indemnity Company." Note that Progressive Advantage Business Program has the right to
discontinue your enrollment at any time. Refunds or credits, if any, may be made directly to your card or account.
You can cancel your payment deductions by calling us at 844-306-4926.


Thank you and we appreciate your business.




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    Binghamton, NY 13902

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 100 GLENRORC}UGH aR STE 4?2                                                                    Policy Number        BPPt ti92982
 HOUSTC7N, TK 77+J67-3600                                                                       Polfcyhcsider:       AsFiley Bonds




      July 21, 2022                                                                                                                                                      I
      Dear Cedrick Forrest,
  _M.__.....,__.. ...........--~-_~... :.                    _             .~ .                     _...—.                  _.    _.~... . : ........__...._..... :___
      TP~iis eorresporrtlence is regarding the claitn for Interrtaional. Institute of Aesthetic Arts & Beauty LLC°.

      For purposes of this correspondence, 'you' and "your" refers tQ Internaianal tnstitute iof.Aesthetic Arts & Beauty LLC.

      This letter will acknowiedge completion .of our investigation into the clairn you ₹iled for Theft.

      CJn October 26; 2021 a clatrn was reported fbr a theft with a date ofi loss 6f October 22, 2.021. V6le speke with the
     .insured who advised that there were no signs of forced entry. "N1e received a copy ol' thi: police repolrt which also
      details there were not any signs _of forced entry: 1n addition, there have nQt been any witnesses come forward
      detailing the theft, there is not any security footage showing the theft, and the. Allen Ptilice department have an open
      investigation into the matter.

     'INe, assigned art irivestigator tn ₹urther revieuti the a#aim submitted for theft, t}n Decemver 23, 2021, dciring the
      inirestigation, neither the Poiice Department nor the lnvestiator could find any evidence of any students being
      enrolled at the Beauty,School as stated by Ashley Bonds. In addition, a photo provided of a couch.claimed on the
      inventory of items stolen frorn the husiness was not at the business location in the photo. Also an item claimed on the
      inventory, Norvell Handeid Retail Kit, was found to still be at the insured location when the investigator conducted his
     ,inspeotion.

      Please referto -th epclicy langtiage regarding Limitations-and Misrepreseiitation.

            SECTIC}N 1— E'ROPERTY
            A, Coverage
             INe
,,,.....~..,.... .. u~ill pay for dtrect physica.l loss af or darr~age to Coversed Property at the premises .described
                                                                                                             -.        in the Declarations
                                                                                                                                     . ......~. ~.
            cause~ b~ c~r iresialting frarri ahy Covered Ceuse of Loss.
            4: Limitat3ons
            (3) Property tl~at is missing, where the oniyevidence of the loss or darnage is a shortage discic~sed on taking
            inventory, r~r other instances where there is no physical evidence to show what happerled to the property. This
            ltmitation doss not apply to the C}ptional Coverage for Money and Securities.

      SECTt!dN lii — GOMMC}N Pt3LICY CONDITlQNS (APPLICAI=3LE TO SECTIC7N i— PRC7.PPERTY
      AR1D SECTIC)N €1— LIABIL(TY)
      C. t✓oncealrnent;. CV4isrepresentation Or Fraud
      This'policy is void in any case o€ fraud by you as it relates to this poliey at any tirne. It is also void ifi yaia or ,any other
      fnsured, at any time, intentionally conceals or misrepresents a material fact concernErtg:
      1. 7his policy;
      2. The Covered Property;_
      t. Your interest in the Covered Prciperty; or
      4. A claim under this policy.

      Based crn the policy language referenced abcve, we must respectfully decline coverage for the alleged theft that
      occurred at the insured prerrnses.

                                                                                      Page 1 of 2

              Exhibit B
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                                                          135
Midvale Indemnity Company specifically reserves its ability to assert any and all rights or defenses available to it
under the policy. Nothing In this letter should be construed as a waiver of any such dghts or defenses.

!f you believe this denial of payment is being made in error, or if you have any inforrnation that you feef would warrant
a change in 'this decision, please contact me as soon as possible.

We are required by state law to tell you that pursuant to the terms of your policy and/or'applicable state law, iegal
aotion must be taken withEn two years from the date of loss.

Please contact us if you have any questions about this ciaim. We are glad to help.

Sincerely,




'Petronia Dampier
Claim Senior Adjuster
AFICS on behalf of MIdvale lndemnity Company
 Petronia:Dampier@afics:com                                                -                                 --
Phone: 1-801-559-9254
Fax: 866-585-2786
Mail: P.O. Box 5316, Binghamton, NY 13902




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     Exhibit B
